Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 1 of 217




                      EXHIBIT A
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 2 of 217



                                                                        Page 1

    1                          UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
    2
                             CASE NO.:     0:22-CV-61795-KMM-LFL
    3
    4             KARINA MONASTERIO,
    5                            Plaintiff,
    6             vs.
    7             UBER TECHNOLOGIES, INC., A
                  FOREIGN CORPORATION FOR PROFIT;
    8             RASIER (DC), LLC, A FOREIGN
                  CORPORATION FOR PROFIT; AND
    9             PROGRESSIVE EXPRESS INSURANCE
                  COMPANY, A FOREIGN CORPORATION
   10             FOR PROFIT,
   11
                                 Defendants.
   12             ________________________________/
   13
                                     REMOTE DEPOSITION
   14
                                                 OF
   15
                                     KARINA MONASTERIO
   16
   17                     TAKEN THROUGH A SPANISH INTERPRETER
   18
                                 Tuesday, March 7th, 2023
   19                             10:26 a.m. - 6:11 p.m.
   20                        Location: Coral Gables, Florida
   21                            Via Zoom Remote Platform
   22
   23                   Stenographically Reported Via Zoom By:
                             MaryKay Horvath, RMR, CRR, FPR
   24                         Certified Realtime Reporter
   25             Job No.: 5789818

                                    Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 3 of 217



                                                                        Page 2

    1        APPEARANCES: (all appearing via Zoom)
    2
    3        On behalf of Plaintiff:
    4             ROBERTS & BASNUEVO, P.A.
                  113 Almeria Avenue
    5             Coral Gables, Florida 33134
                  (305)442-1700
    6             BY: JAVIER A. BASNUEVO, ESQ.
                  basnuevo@robertspa.com
    7
    8        On behalf of Defendant Progressive Express Insurance
             Company:
    9
                       MORGAN & AKINS, PLLC
   10                  501 East Las Olas Boulevard
                       Suite 300
   11                  Fort Lauderdale, Florida 33301
                       (773)209-5463
   12                  BY: PATRICK K. DAHL, ESQ.
                       pdahl@morganakins.com
   13
   14
   15        On behalf of Defendant Uber Technologies and Rasier,
             LLC:
   16
                       ROIG LAWYERS
   17                  1255 South Military Trail
                       Suite 100
   18                  Deerfield Beach, Florida 33442
                       (954)462-0330
   19                  BY: VERESA JONES ADAMS, ESQ.
                       vadams@roiglawyers.com
   20
   21
             ALSO PRESENT:
   22        Carlos Rivera Navas, Interpreter
   23        Nohemy Kattan, Interpreter
   24        Lina Arcila, Interpreter in training
   25

                                     Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 4 of 217



                                                                        Page 3

    1                                  I N D E X
    2
    3        Proceedings                                           Page
    4        KARINA MONASTERIO                                        5
    5        Direct              By Mr. Dahl:                         5
             Cross               By Ms. Adams:                      143
    6        Cross               By Mr. Basnuevo:                   148
             Redirect            By Mr. Dahl:                       156
    7        Certificate of Oath                                    170
             Certificate of Oath (Interpreter)                      171
    8        Certificate of Reporter                                172
             Errata Sheet                                           173
    9
   10                             PLAINTIFF EXHIBITS
             No.                                                          Page
   11
             Exhibit 1 Plaintiff's Answers to Interrogatories              12
   12
             Exhibit 2 2020 Tax Return                                     79
   13
             Exhibit 3 2019 Tax Return                                     79
   14
             Exhibit 4 2018 Tax Return                                     79
   15
             Exhibit 5 2017 Tax Return                                     79
   16
             Exhibit 6 Platform Access Agreement updated as                82
   17                  of January 01, 2022, marked
                       Confidential
   18
             Exhibit 7 Complaint and Demand for Jury Trial                 90
   19
   20
   21                       (Stenographer's Note: Exhibits sent to
                       stenographer electronically. A digital exhibit
   22                  sticker was placed on the documents which were
                       marked during the proceeding and attached
   23                  hereto.)
   24
   25

                                    Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 5 of 217



                                                                        Page 4

    1        The following proceedings began at 10:26 a.m.:
    2                       THE STENOGRAPHER:       Please raise your right
    3                  hand.
    4                       Do you swear or affirm that you will
    5                  interpret English into Spanish and Spanish into
    6                  English to the best of your ability?
    7                       THE INTERPRETER:      I do, Carlos Rivera,
    8                  Certified Spanish Interpreter.
    9        Thereupon:
   10                             CARLOS RIVERA NAVAS
   11        was sworn to truly and correctly interpret English
   12        into Spanish and Spanish into English:
   13                       THE STENOGRAPHER:       Please have the
   14                  deponent raise their right hand.
   15                       Do you swear or affirm that the testimony
   16                  you are about to give is true and accurate to
   17                  the best of your ability?
   18                       THE WITNESS (through Interpreter):        Yes, I
   19                  swear.
   20                       THE STENOGRAPHER:       Thank you.
   21
   22
   23
   24
   25

                                     Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 6 of 217



                                                                        Page 5

    1        Thereupon:
    2                               KARINA MONASTERIO
    3        having been first duly sworn, was examined and
    4        testified as follows:
    5
    6                               DIRECT EXAMINATION
    7        BY MR. DAHL:
    8                  Q.   Good morning.
    9                  A.   Good morning.
   10                  Q.   My name is Patrick Dahl, and I'll be
   11        taking your deposition this morning.
   12                  A.   Okay.
   13                  Q.   My first question I hope will be my
   14        easiest:       Have you ever given a deposition before?
   15                  A.   No.
   16                  Q.   Since this is your first time, I'd like to
   17        go through some ground rules so this can go smoothly
   18        and efficiently.
   19                       The first ground rule is because we have
   20        an interpreter translating everything from English
   21        to Spanish and back, please make sure to let me
   22        finish my question and the interpreter translating
   23        it before you answer.
   24                  A.   Okay.
   25                  Q.   The second rule is if you do not

                                      Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 7 of 217



                                                                         Page 6

    1        understand a question, please let me know.
    2                  A.   Okay.
    3                  Q.   If you answer a question, I'm going to
    4        assume that you understood it.              Is that fair?
    5                  A.   Okay.
    6                  Q.   Continuing on, it's very important,
    7        because of the way that we are doing this through an
    8        interpreter, with everybody remotely, that your
    9        responses are out loud and in words as opposed to a
   10        nod of your head or a shrug of your shoulders.
   11                  A.   Okay.
   12                  Q.   So if throughout this deposition I say "is
   13        that a yes," "is that a no," I'm not trying to be
   14        unnecessarily repetitive, I just want to make sure
   15        we get a good written record.
   16                  A.   Okay.
   17                  Q.   If at any time during this deposition you
   18        need to take a break, please let me know.
   19                  A.   Okay.
   20                  Q.   The one thing I would ask, however, is
   21        that if there's a question pending, please answer
   22        the question, and then we'll go on and take a break.
   23                  A.   Okay.
   24                  Q.   Throughout the -- we're going to be
   25        talking about many things today.               I'm going to, to

                                     Veritext Legal Solutions
        800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 8 of 217



                                                                        Page 7

    1        the best of my ability, try to give you an idea of
    2        the general topic areas so we're not getting
    3        confused.       And so for the first example, I want to
    4        talk about what you did to prepare for your
    5        deposition today.
    6                       What, if anything, did you do to prepare
    7        for your deposition today?
    8                       MR. BASNUEVO:     I'm just going to give the
    9                  witness an instruction not to disclose any
   10                  conversations she had with her counsel.
   11                  A.   I spoke to the attorney.
   12        BY MR. DAHL:
   13                  Q.   Besides speaking with your attorney, did
   14        you speak with anyone else in preparation for your
   15        deposition?
   16                  A.   No.
   17                  Q.   When did you have your -- and -- strike
   18        that.
   19                       When did this conversation with your
   20        attorney occur?
   21                  A.   On Friday.
   22                  Q.   And how long did that conversation last?
   23                  A.   I don't recall exactly.
   24                  Q.   I understand that you don't recall the
   25        exact time, but I do think I'm entitled to your best

                                     Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 9 of 217



                                                                        Page 8

    1        estimate.       Was it more or less than an hour?
    2                       THE INTERPRETER:         May the interpreter have
    3                  clarification on the amount of time that
    4                  counsel gave?     Apologies.
    5                       MR. DAHL:     One hour.
    6                  A.   Like an hour.
    7        BY MR. DAHL:
    8                  Q.   During that conversation, was there anyone
    9        else present besides you and your attorney?
   10                  A.   No.
   11                  Q.   Have you, in preparation for your
   12        deposition, reviewed any documents?
   13                  A.   No.
   14                  Q.   Have you, in preparation for your
   15        deposition, gone back through any of the websites or
   16        applications that were accessed in reference and in
   17        connection with this case?
   18                  A.   No.
   19                  Q.   Where are you currently for purposes of
   20        giving this deposition?
   21                  A.   At the attorney's office.
   22                  Q.   Is the attorney in the same room with you?
   23                  A.   Yes.
   24                  Q.   Is there anyone else present in the room
   25        with you and the attorney?

                                        Veritext Legal Solutions
        800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 10 of
                                     217


                                                                           Page 9

   1                  A.   No.
   2                       MR. BASNUEVO:        Here's a 360 view, Pat.
   3                       MR. DAHL:     Very fancy office,
   4                  Mr. Basnuevo.
   5                       MR. BASNUEVO:        Thanks.       It's my one chance
   6                  to show it off, you know?
   7                       MR. DAHL:     You have many leather-bound
   8                  books and your office smells of rich mahogany.
   9                       MR. BASNUEVO:        60 percent of the time it
  10                  works 100 percent of the time.
  11        BY MR. DAHL:
  12                  Q.   Okay.   Back.      Ms. Monasterio, I'm going to
  13        change gears now from kind of the preparation for
  14        the deposition to kind of talking about your
  15        background.
  16                       What is your current address?
  17                       THE INTERPRETER:         The interpreter needs a
  18                  clarification as there was a glitch and the
  19                  interpreter wasn't able to make out some of it.
  20                  A.   6135 Pierce Street, Hollywood, Florida
  21        33024.
  22        BY MR. DAHL:
  23                  Q.   And do you live at that address with
  24        anyone?
  25                  A.   Yes.

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 11 of
                                     217


                                                                     Page 10

   1                  Q.   Who do you live at that address with?
   2                  A.   With my daughter.
   3                  Q.   What is your daughter's name?
   4                  A.   Angelica Rivero -- Angelica Rivero
   5        Monasterio.
   6                  Q.   And how old is Angelica?
   7                  A.   Fourteen.
   8                  Q.   Since May of 2022, has anyone else lived
   9        with you?
  10                  A.   No.
  11                  Q.   Are you currently married?
  12                  A.   Yes.
  13                  Q.   Who are you married to?
  14                  A.   With Wilfredo Colon.
  15                  Q.   Where is -- where does Mr. Colon live?
  16                  A.   Orlando.
  17                  Q.   Are you and Mr. Colon in the process of
  18        separating or divorcing?
  19                  A.   No.
  20                  Q.   Where does Mr. Colon live separate from
  21        you in Orlando with you -- separate from
  22        you -- strike that.
  23                       Why does Mr. Colon live separate from you
  24        and your daughter in Hollywood?
  25                  A.   Because we're separated.

                                       Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 12 of
                                     217


                                                                     Page 11

   1                  Q.   How long have you and your husband been
   2        separated?
   3                  A.   Like, over -- over a year.
   4                  Q.   Had you and your husband already separated
   5        when your May 2022 accident occurred?
   6                  A.   Yes.
   7                  Q.   Is your marriage to Mr. Colon your first
   8        marriage?
   9                  A.   No.
  10                  Q.   Is Mr. Colon Angelica's father?
  11                  A.   No.
  12                  Q.   Who is Angelica's father?
  13                  A.   Darwin Rivero.
  14                  Q.   Were you ever married to Darwin Rivero?
  15                  A.   No.
  16                  Q.   How many times have you been married prior
  17        to marrying Mr. Colon?
  18                  A.   Can you repeat the question, please?
  19                  Q.   How many times have you been married
  20        before marrying Mr. Colon?
  21                  A.   Once.
  22                  Q.   Who were you married to previously?
  23                  A.   With Romer Ipolito.
  24                  Q.   Where were you and Mr. Ipolito married?
  25                  A.   San Antonio, Texas.

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 13 of
                                     217


                                                                      Page 12

   1                  Q.   And where were you and -- how did your
   2        marriage with Mr. Ipolito end?
   3                  A.   We got divorced.
   4                  Q.   Where were the proceedings for that
   5        divorce?       Were they in Texas or in Florida?
   6                  A.   In Texas.
   7                  Q.   Were those divorce proceedings also in the
   8        San Antonio, Texas area?
   9                  A.   Yes.
  10                  Q.   Is your date of birth September 6th, 1988?
  11                       THE INTERPRETER:         Counsel, the interpreter
  12                  may have repetition on the question?
  13        BY MR. DAHL:
  14                  Q.   Is your date of birth September 6th, 1988?
  15                  A.   Yes.
  16                  Q.   From the information --
  17                       MR. DAHL:     I'm going to mark -- this can
  18                  be -- I'm going to mark on my screen what we're
  19                  going to have Plaintiff's Exhibit No. 1.         These
  20                  are plaintiff's answers to interrogatories.
  21                       (Marked for identification as Plaintiff
  22                  Exhibit 1.)
  23        BY MR. DAHL:
  24                  Q.   It is 11 pages, and it has what appears to
  25        be your signature on the 11th page.

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 14 of
                                     217


                                                                     Page 13

   1                  A.   Yes.
   2                  Q.   My first question for you regarding
   3        Exhibit No. 1:        Is that your signature on page 11?
   4                  A.   Yes, it is mine.
   5                  Q.   All of these questions that you are
   6        certifying are written and answered in English,
   7        correct?
   8                  A.   Yes.
   9                  Q.   When you answered these questions, were
  10        you answering -- were the questions translated for
  11        you, or were you able to read them in English and
  12        answer them in English?
  13                  A.   The attorney helped me with all of that.
  14                  Q.   I understand.      And I don't want to get
  15        specifically into what your attorney -- information
  16        was provided or not.         My concern and question just
  17        is only the mechanics of how it went from -- whether
  18        or not you answered it in English or you answered
  19        the questions in Spanish.
  20                  A.   The attorney wrote it down in English, and
  21        he told me everything in Spanish.
  22                  Q.   And that kind of goes to the question that
  23        I'm getting at, is this:           We have an interpreter
  24        here because -- to make you comfortable in your
  25        native tongue.        But I want to get an idea concerning

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 15 of
                                     217


                                                                     Page 14

   1        your comfort level with English.
   2                  A.   I don't speak English.
   3                  Q.   All right.    Do you read English?
   4                  A.   Little.   A little.
   5                  Q.   When you say a little, how would you
   6        personally characterize your level of -- your
   7        ability to read English?
   8                  A.   I try to relate the words to each other,
   9        one to the other.
  10                  Q.   If you have, for example -- or let me ask
  11        you this question:        With respect to the house -- or
  12        with respect to your home in Hollywood, is that a
  13        house or an apartment?
  14                  A.   It's a house.
  15                  Q.   Did you rent it or did you buy it?
  16                  A.   I bought it.
  17                  Q.   When you bought it, you had to sign all
  18        the legal documents when you went through to
  19        purchase the house, correct?
  20                  A.   Yes.
  21                  Q.   Were you able to read all those
  22        documents -- or strike that.
  23                       Were all those documents in English when
  24        you bought the house?
  25                  A.   The realtor and the lender also were

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 16 of
                                     217


                                                                       Page 15

   1        helping.       They helped me out.        They were helping me
   2        with that.
   3                  Q.   But my question is:        Were all those
   4        documents -- regardless of who was helping you, were
   5        all those documents in English or in Spanish?
   6                  A.   They were in English.
   7                  Q.   Were you able to read all of those
   8        documents that you had to sign in connection with
   9        buying your house, and understand them, or did you
  10        rely upon the real estate agent and the broker?
  11                  A.   They translated it for me.
  12                  Q.   Do you require assistance with people
  13        translating documents like that so you can
  14        understand them from English to Spanish?
  15                  A.   Basically, yes.
  16                  Q.   Switching gears somewhat, this house that
  17        you were in -- we'll talk about some other things
  18        some more later -- but with respect to this house,
  19        how long have you lived there?
  20                  A.   I moved in -- I moved in in January of
  21        2022, which is when I bought it.
  22                  Q.   And prior to that -- or strike that.         Let
  23        me ask you this question.
  24                       Were you still with your husband when you
  25        bought the house?

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 17 of
                                     217


                                                                       Page 16

   1                  A.   We were separated, but we were in -- we
   2        were in the process.
   3                  Q.   Understood.
   4                       Prior to living in the current house, from
   5        the records I have, it appears that the entirety of
   6        your time living in the United States was all in
   7        Texas; is that correct?
   8                  A.   Yes.
   9                  Q.   And it looks like you moved to Florida in
  10        2022; is that correct?
  11                  A.   Yes.
  12                  Q.   Why did you move from Texas to Florida in
  13        2022?
  14                  A.   Well, because I wanted a change from the
  15        state, I wanted to move.          I don't have family in
  16        Texas, and so I wanted a change.               I don't have any
  17        family here either, but I have friends and
  18        acquaintances, something I didn't have in Texas.
  19                  Q.   And it shows from the answers to
  20        interrogatories that I have that you were living in
  21        Texas from February 5th, 2016, through August 13th,
  22        2020 -- or strike that.
  23                       The first date that I have, and I'll show
  24        you Exhibit No. 1, of you living in Texas appears to
  25        be February 5, 2016.         Have I represented that

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 18 of
                                     217


                                                                         Page 17

   1        accurately?
   2                  A.    February 5th?
   3                  Q.    Six, sorry.   It's up on the screen.
   4                  A.    I'm sorry, what?      Oh, 20 -- I arrived
   5        to -- I'm sorry, could you repeat the question,
   6        please?        I don't think I'm hearing it right.
   7                  Q.    Certainly.
   8                        The interrogatories that I have suggest
   9        that you lived in Texas beginning on February 5th,
  10        2016.
  11                  A.    I started living in -- it says February.
  12        I started living in Texas -- when I moved to the
  13        United States, I went to Texas.               That's where I went
  14        to live first, when I went to the United States.
  15                  Q.    So let's ask it this way:           When did you
  16        move to the United States?
  17                  A.    I arrived on January 20th of 2016.
  18                  Q.    And where did you arrive from?
  19                  A.    From Venezuela.
  20                  Q.    What is your current residency status in
  21        the United States?
  22                  A.    I have the TPS, as well as asylum.           So a
  23        TPS.
  24                  Q.    If I'm doing -- even though I said there'd
  25        be no math, I'm doing the math now.                 You immigrated

                                     Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 19 of
                                     217


                                                                     Page 18

   1        to the United States from Venezuela when you were 27
   2        years old?
   3                  A.   Yes, I was -- yes, I was 27 years old.
   4                  Q.   I'm just trying to put timing things
   5        together.       Was Angelica born in the United States or
   6        was she born in Venezuela?
   7                  A.   In Venezuela.
   8                  Q.   What is your highest level of education?
   9                  A.   I started to be a flight attendant.
  10                  Q.   Was that starting to be a flight attendant
  11        in Venezuela or once you came to the United States?
  12                  A.   In Venezuela.
  13                  Q.   Aside from your training to become a
  14        flight attendant in Venezuela, do you have any
  15        formal -- what is your highest level of formal
  16        education, for example, high school, university,
  17        things like that?
  18                  A.   I studied accounting at the University
  19        of Venezuela in Carabobo.           I started -- I studied
  20        accounting at UC, the University of Carabobo, in
  21        Venezuela.
  22                  Q.   Did you graduate?
  23                  A.   No.
  24                  Q.   How many years did you spend studying
  25        accounting at U of C?

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 20 of
                                     217


                                                                      Page 19

   1                  A.   Like four and a half years.         I almost
   2        finished my career -- my education there, my degree,
   3        but I didn't.
   4                  Q.   Why didn't you finish your degree?
   5                  A.   Because there were a lot of strikes and
   6        disturbances, political strikes in Venezuela, and
   7        those always delayed the education.
   8                  Q.   Putting aside formal education, do you
   9        have any formal additional continuing education
  10        since you immigrated to the United States?
  11                  A.   No.
  12                  Q.   You currently have a Texas driver's
  13        license, correct?
  14                  A.   Yes.
  15                  Q.   Do you have any other professional
  16        licenses issued by any other governments?
  17                  A.   No.
  18                  Q.   Do you have any training in any area of
  19        medicine such as nursing, doctor, EMT, anything like
  20        that?
  21                  A.   No.
  22                  Q.   You're not a licensed insurance adjuster
  23        by any chance, are you?
  24                  A.   No.
  25                  Q.   Have you ever been a party to -- you were

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 21 of
                                     217


                                                                              Page 20

   1        a party to at least one legal proceeding previously,
   2        that would be at a minimum your divorce proceeding
   3        in Texas, correct?
   4                  A.   A divorce.
   5                  Q.   Aside from your divorce, have you ever
   6        been involved in any other court or judicial
   7        proceedings, whether it be in the United States, in
   8        Texas or Florida, or in Venezuela?
   9                  A.   No.
  10                  Q.   Okay.   I'm going to show you what was
  11        previously marked as Exhibit No. 2 [sic].                   And
  12        specifically, interrogatory No. 22 asks the
  13        following:       Please state if you have ever been a
  14        party, either a plaintiff or a defendant in a
  15        lawsuit, other than the present matter, and if so,
  16        state whether you were plaintiff or defendant.
  17                       MR. DAHL:     You know what?           It's easier for
  18                  me to do this.     Let me strike that question and
  19                  I'll do it the easy way.
  20                       With the parties' stipulations, can I just
  21                  have the interpreter read and interpret No. 22
  22                  for the witness rather than me do it and have
  23                  to try to hope I get it right for the
  24                  interpreter?
  25                       MR. BASNUEVO:        Sure.      But is there a

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 22 of
                                     217


                                                                             Page 21

   1                  question?   Are you asking her, you know, is
   2                  this correct?     I think --
   3                       MR. DAHL:     I'm going to go through it.
   4                  Because she identified the Israel thing and she
   5                  didn't identify it there in her answer, and I
   6                  want to make sure that she understood the
   7                  question and is answering them.
   8                       MR. BASNUEVO:        That's fine.
   9                       MS. ADAMS:      No objection.
  10                       MR. DAHL:     So, Mr. Interpreter, can you
  11                  just -- the question is for you to read 22 and
  12                  then ask her have I read that accurate -- do
  13                  you understand that question.               That's all I
  14                  want to know.
  15                       THE INTERPRETER:         Okay.
  16                  A.   I haven't been, no.
  17        BY MR. DAHL:
  18                  Q.   You haven't been.
  19                       Then, ma'am, if you haven't been, why, in
  20        your answer to 22, did you say:                 Yes, Karina
  21        Monasterio versus Michael Israel, case
  22        No. CACE22-009088 filed in July 2022 in circuit
  23        court for Broward County, Florida?
  24                  A.   Yes, yes.     Yes, I'm sorry.            Yes.   That is
  25        true.       Yes.   Yes.   But that was last year.              I'm

                                       Veritext Legal Solutions
       800-726-7007                                                              305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 23 of
                                     217


                                                                                  Page 22

   1        sorry.         Yes.    I didn't understand.
   2                  Q.     Okay.   Now that you actually understand,
   3        aside from your divorce, which wasn't identified in
   4        the answers to interrogatories, and the lawsuit that
   5        you filed less than a year ago that you forgot about
   6        in the intervening minutes, are there any other
   7        judicial proceedings you've been involved in, in
   8        your life?
   9                         MR. BASNUEVO:        Objection and move to
  10                  strike counsel's colloquy.
  11                         MR. DAHL:     That's fine.             I'd move to
  12                  strike the nonanswer earlier.                  But we got to
  13                  both move on.
  14                  A.     The Uber driver.         But I don't know if that
  15        is -- counts as a lawsuit.                I don't know because
  16        they -- you know, they sent it to my house.                       But,
  17        you know, that issue is something -- I mean, it's in
  18        the past.         And so I don't know if that arises to
  19        that.       I don't know if that's what that means.
  20        BY MR. DAHL:
  21                  Q.     In connection with -- for example, have
  22        you ever -- have you ever sued aside from the
  23        Uber -- aside from the driver?
  24                  A.     No.
  25                  Q.     Have you ever been sued by anyone?

                                         Veritext Legal Solutions
       800-726-7007                                                                  305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 24 of
                                     217


                                                                         Page 23

   1                  A.   No.
   2                  Q.   Have you ever been involved in any
   3        bankruptcy proceedings?
   4                  A.   No.
   5                  Q.   Have you ever been involved in any
   6        eviction or foreclosure proceeding?
   7                  A.   No.
   8                  Q.   Just continuing by way of just background,
   9        do you currently own a car?
  10                  A.   Yes.
  11                  Q.   What type of car do you own?
  12                  A.   It's an Equinox.        An Equinox.
  13                  Q.   How long have you owned that car?
  14                  A.   Less than a year.
  15                       MR. BASNUEVO:       I'm sorry, Mr. Interpreter.
  16                  I object to the interpretation of that.            That's
  17                  not accurate.
  18                       THE INTERPRETER:        Of which -- if the
  19                  interpreter may have a repetition on the
  20                  question or on the answer.
  21                  A.   I have a car.       I have an Equinox.
  22        BY MR. DAHL:
  23                  Q.   How long have you had the Equinox?
  24                  A.   Less than a month.
  25                       MR. BASNUEVO:       Right.      That was my

                                      Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 25 of
                                     217


                                                                               Page 24

   1                  objection.    I think you said --
   2                         THE INTERPRETER:         The interpreter stands
   3                  corrected.    The interpreter stands corrected.
   4                         MR. DAHL:     Don't worry.             Between
   5                  everybody, if we're trying to fix it to get if
   6                  right, we're all fine about it.                  I didn't think
   7                  Javier was going --
   8                         MR. BASNUEVO:        No, and I just want to say,
   9                  Mr. Interpreter, you've been doing an excellent
  10                  job.    Excellent job.
  11                         MR. DAHL:     Nobody cares about your
  12                  opinion, Mr. Basnuevo.            And if you think
  13                  that -- yes, that's intentionally
  14                  tongue-in-cheek.
  15        BY MR. DAHL:
  16                  Q.     When you say you've owned the Equinox for
  17        less than a year --
  18                         MR. BASNUEVO:        Month.
  19                         MR. DAHL:     Now I'm doing it.             Less than a
  20                  month.
  21                         Drag it out, shoot it like Old Yeller, and
  22                  let's start over.
  23        BY MR. DAHL:
  24                  Q.     When you say you've owned the Equinox for
  25        less than a month, where did you purchase the

                                         Veritext Legal Solutions
       800-726-7007                                                               305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 26 of
                                     217


                                                                     Page 25

   1        Equinox from?
   2                  A.   I bought it from some friends who own a
   3        dealership.
   4                  Q.   Did you have to make any modifications or
   5        adjustments to the Equinox in order to operate it?
   6                  A.   No, not yet.    They haven't even delivered
   7        it yet.
   8                  Q.   Are you having them make any changes or
   9        modifications to the vehicle?
  10                  A.   They're painting it currently.
  11                  Q.   Aside from painting it, are you having any
  12        other modifications, changes, or alterations made to
  13        the Chevy Equinox that you purchased less than a
  14        month ago?
  15                  A.   I haven't done anything to it yet.
  16                  Q.   When you say yet, are you planning on
  17        doing anything to it?
  18                  A.   I want to have it first in order to then
  19        get my -- the license for people with -- that have a
  20        handicap.       That have handicap.
  21                  Q.   You purchased the car; when you purchased
  22        it, did you take it for a test drive?
  23                  A.   No, I can't.
  24                  Q.   Did you buy this car new or used?
  25                  A.   Used.

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 27 of
                                     217


                                                                        Page 26

   1                       THE STENOGRAPHER:          I think we lost
   2                  Ms. Adams.
   3                       MR. DAHL:     Is it really a loss?
   4                       THE STENOGRAPHER:          There she is.
   5                       MR. BASNUEVO:        It is a huge loss to the
   6                  community.
   7                       MS. ADAMS:      Okay.      I'm back.
   8                       MR. DAHL:     So you know what you missed,
   9                  they observed that you were lost and I
  10                  admittedly questioned whether or not that was a
  11                  loss.   I am bold enough to say it both to your
  12                  face and potentially on the record.
  13                       MS. ADAMS:      And I'm glad that the nicer
  14                  entities recognized that it would be a loss.
  15                  Thank you, Javier.        I'm going to disregard Pat.
  16                  I caught that as I was coming back.
  17                       MR. DAHL:     Fair enough.
  18                       Ms. Court Reporter and Interpreter, can we
  19                  please repeat the last question and answer that
  20                  I think Ms. Jones Adams missed?
  21                       (Requested portion read back.)
  22        BY MR. DAHL:
  23                  Q.   And with respect to this purchase, what
  24        was the name of the dealer that you purchased this
  25        car from?

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 28 of
                                     217


                                                                        Page 27

   1                  A.   I don't know.      I have to look for it.
   2        Again, it's -- it's a friend's dealership, so it
   3        belongs to some friends.           I'm not -- I don't know
   4        the name.
   5                  Q.   What's the name of your friends whose
   6        dealership it is?
   7                  A.   Flavio Guyagos.
   8                  Q.   From the time of your May accident up
   9        until your purchase a month ago, did you own a car?
  10                  A.   Yes.
  11                  Q.   What type of car did you own?
  12                  A.   Before the accident?          I'm sorry.   Can you
  13        repeat the question, please?              I'm sorry.
  14                  Q.   Certainly.    Let's just ask it:         Before the
  15        accident, did you own a car?
  16                  A.   Yes.
  17                  Q.   What type of car did you own right before
  18        the accident?
  19                  A.   A Honda Acura Sport.
  20                       MR. BASNUEVO:      No, I'm sorry.
  21                  Mr. Interpreter, clarification.           Accord, not
  22                  Acura.
  23                  A.   A Honda Accord Sport.
  24        BY MR. DAHL:
  25                  Q.   Okay.   Did you have insurance on your

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 29 of
                                     217


                                                                        Page 28

   1        Honda Accord Sport?
   2                  A.   Yes.
   3                  Q.   Is that the same insurance that you got --
   4        that you had placed on the Chevy Equinox?
   5                  A.   I haven't insured the Equinox yet.
   6                  Q.   But my understanding, when you have to buy
   7        a car -- in order to buy a car, you have to give
   8        them proof of insurance.          Do you understand that?
   9                  A.   I bought it from the dealership, but they
  10        have to paint it first and get it ready to be able
  11        to deliver it to me, to be able to pass it and
  12        transfer it over to me from the dealership in order
  13        to be able to get it registered and tags and all of
  14        that process, to get it in my name.                That process
  15        still hasn't taken place.
  16                  Q.   Now I understand.
  17                       Now, with respect to the insurance that
  18        you had on the Honda Accord, what insurance company
  19        insured your Honda Accord?
  20                  A.   Oh, let's see.     I have to look at the
  21        insurance here on my -- on my phone here.
  22                       MR. BASNUEVO:     No, no, no.
  23                  A.   I don't remember the name of the company.
  24        I have it here on my phone, but -- but I have it --
  25        but I have it here.       I don't -- but I have it here.

                                    Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 30 of
                                     217


                                                                              Page 29

   1        I have to look it up.
   2                         MR. DAHL:     Why don't we do this --
   3                         MR. BASNUEVO:        On the next break, I'll
   4                  have to look it up.          I just don't want her
   5                  looking through the phone.
   6                         MR. DAHL:     Thank you, Javier.            I
   7                  appreciate it.       Why don't we take a break right
   8                  now.    Go off for ten minutes.               She can look.
   9                  We can use the bathroom.
  10                         I don't like going much more than an hour
  11                  without taking a break.             I think that's cruel
  12                  and unusual punishment.             We've been going about
  13                  an hour.
  14                         MR. BASNUEVO:        I appreciate it.
  15                         THE STENOGRAPHER:          Okay.       Back at, like,
  16                  11:32?
  17                         MR. DAHL:     Yep.
  18                         MS. ADAMS:      Perfect, thanks.
  19                         (Off the record from 11:22 a.m. to 11:38
  20                  a.m.)
  21        BY MR. DAHL:
  22                  Q.     All right.      Ms. Monasterio, before we
  23        broke, you were going to go look and identify who
  24        your insurance carrier was for your Honda Accord.
  25                         Were you able to do that during the break?

                                         Veritext Legal Solutions
       800-726-7007                                                                 305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 31 of
                                     217


                                                                     Page 30

   1                  A.   Yes.
   2                  Q.   What was the name of your insurance
   3        carrier for your Honda Accord?
   4                  A.   Infinity.
   5                  Q.   What type of insurance did you have
   6        through Infinity for your Honda Accord?
   7                  A.   Full coverage.
   8                  Q.   When you say full coverage, what did that
   9        include?
  10                  A.   Damage to third parties, as well as to my
  11        own vehicle.
  12                  Q.   What was the limit of liability for damage
  13        to third parties that you carried?
  14                  A.   No, I don't remember.
  15                  Q.   Did you have uninsured or underinsured
  16        motorist coverage in your policy under Infinity?
  17                  A.   No.    No.
  18                  Q.   Aside from the Honda Accord, prior to the
  19        Honda Accord, did you have any other vehicles since
  20        you've lived in the United States?
  21                  A.   Yes.
  22                  Q.   How many other cars have you owned since
  23        you've lived in the United States?
  24                  A.   Two.
  25                  Q.   Have they all been insured with Infinity?

                                        Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 32 of
                                     217


                                                                     Page 31

   1                  A.   No.
   2                  Q.   When you say that you've had two, was it
   3        two prior to the Accord or two including the Accord?
   4                  A.   Before.
   5                  Q.   Two before.
   6                       With respect -- did you carry insurance on
   7        both of those cars?
   8                  A.   Yes.
   9                  Q.   When you carried insurance on those cars,
  10        did you ever previous -- on either of those -- for
  11        those two cars, for either of them, did you ever
  12        have uninsured or underinsured coverage for either
  13        of those vehicles?
  14                  A.   I don't know, it's insurance for
  15        everything.       I don't know.
  16                  Q.   Do you know what uninsured/underinsured
  17        motorist coverage even is?
  18                  A.   Yes.
  19                  Q.   What is it?
  20                  A.   I'm sorry, can you repeat the question?
  21                  Q.   Sure.
  22                       What is uninsured/underinsured motorist
  23        coverage?
  24                  A.   That's coverage for third parties, if
  25        there's any, you know, damages, as well as taking

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 33 of
                                     217


                                                                     Page 32

   1        care -- you know, covering your own vehicle.             For
   2        instance, if they have any injuries, if they have to
   3        go to the doctor or something.
   4                  Q.   That's liability coverage; you understand
   5        that's different than uninsured/underinsured
   6        coverage, you understand the difference, correct?
   7                       MR. BASNUEVO:     Object to the form of the
   8                  question.
   9        BY MR. DAHL:
  10                  Q.   You can answer, ma'am.
  11                  A.   I don't understand, I guess.        I guess I
  12        just don't understand.
  13                       MR. BASNUEVO:     Yeah, let me explain to her
  14                  what happens when I object to the form of the
  15                  question, just so that she knows.
  16        BY MR. DAHL:
  17                  Q.   Can we go back to make sure there's no
  18        misunderstandings?
  19                       As you sit here, you cannot tell me what
  20        the difference is between liability coverage and
  21        uninsured/underinsured motorist coverage, correct?
  22                       MR. BASNUEVO:     Form.
  23                  A.   No.
  24        BY MR. DAHL:
  25                  Q.   Then what's the difference between

                                    Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 34 of
                                     217


                                                                     Page 33

   1        liability coverage -- strike that.
   2                         If I am incorrect and I misunderstood,
   3        then, ma'am, explain for me what is the difference
   4        between liability coverage and
   5        uninsured/underinsured motorist coverage.
   6                  A.     For low-income people it's to cover their
   7        costs.         It's to cover, you know, whatever costs they
   8        incur.         You know, to cover their medical costs or to
   9        be able to help them because of anything that they
  10        suffered.         Because of an accident, to cover all
  11        those things for them.
  12                  Q.     So according to you,
  13        uninsured/underinsured motorist coverage, the
  14        difference is it's only available to low-income
  15        people?
  16                         MR. BASNUEVO:     Form.
  17                  A.     No.
  18        BY MR. DAHL:
  19                  Q.     How is the insurance you just described
  20        different from mandatory no-fault PIP coverage?
  21                         MR. BASNUEVO:     Form.
  22        BY MR. DAHL:
  23                  Q.     You can answer.
  24                  A.     The insurance is to cover the person -- to
  25        cover you and to cover even if the other person

                                      Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 35 of
                                     217


                                                                     Page 34

   1        doesn't have insurance.          The insurance is there to
   2        cover to -- because it's your responsibility.            It's
   3        by law that you have to have insurance.            So it's --
   4        you know, that insurance is there to cover you, even
   5        if the other person doesn't have insurance.
   6                  Q.   So according to you, the law requires you
   7        to carry uninsured/underinsured motorist coverage,
   8        then, ma'am, why didn't you have it on your Accord
   9        like you answered several moments ago?
  10                       MR. BASNUEVO:     Form.
  11                  A.   I had full coverage.
  12        BY MR. DAHL:
  13                  Q.   But, ma'am, I asked you specifically
  14        whether or not you had -- and your understanding, I
  15        specifically asked you -- trying to remember the
  16        question and answer.
  17                       You say you had full coverage.       But as you
  18        sit here today, can you tell me whether or not you
  19        had uninsured/underinsured motorist coverage for
  20        your Accord?
  21                  A.   Well, there was the -- the insurance for
  22        the Uber, as well as the insurance for my vehicle.
  23                  Q.   I'm just talking about your policy with
  24        Infinity.
  25                       Did you or did you not have

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 36 of
                                     217


                                                                     Page 35

   1        underinsured/uninsured motorist coverage on your
   2        2020 Honda Accord?
   3                  A.   No.
   4                  Q.   But, ma'am, I thought you said you had to
   5        have that coverage earlier.             So my question for you
   6        is:       Ma'am, if you had to have it, why didn't you
   7        get it?
   8                       MR. BASNUEVO:      Form.
   9        BY MR. DAHL:
  10                  Q.   You can answer.
  11                  A.   I don't understand, I guess.
  12                  Q.   Okay.   Ma'am, let's switch gears.
  13                       When you moved to Florida -- or strike
  14        that.
  15                       Are you currently employed?
  16                  A.   No.
  17                  Q.   When was the last time -- have you been
  18        employed since you moved to Florida?
  19                  A.   Yes.
  20                  Q.   When you've been in Florida, where have
  21        you worked?
  22                  A.   In Amazon and Uber.
  23                  Q.   For how long had you been working at
  24        Amazon?
  25                  A.   Five years.

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 37 of
                                     217


                                                                        Page 36

   1                  Q.   Were you working at Amazon in Texas before
   2        you emigrated to Florida?
   3                  A.   Yes.
   4                       MR. BASNUEVO:        Emigrated to Florida?
   5                  We're not a different country, Pat.
   6                       MR. DAHL:     It is, we are a strange land.
   7        BY MR. DAHL:
   8                  Q.   Now, with respect to the work you were
   9        doing in Amazon, what was your job position or
  10        title?
  11                  A.   I worked packing.          Yes.
  12                  Q.   Were you working packing -- was that the
  13        same position you held back when you were in Texas
  14        once you moved to Florida?
  15                  A.   Yes.
  16                  Q.   Were you always making $17.75 an hour
  17        while you were working at Amazon?
  18                  A.   No.
  19                  Q.   When did your salary most recently change?
  20                  A.   I don't remember the exact date.
  21                  Q.   I'm going to show you what's previously
  22        been marked as deposition Exhibit No. 1 just
  23        because -- or strike that.
  24                       When's the last day you worked at Amazon?
  25                  A.   I worked in March, but I don't remember

                                       Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 38 of
                                     217


                                                                     Page 37

   1        the date.       It was March.
   2                  Q.   March of 2022 or March of 2023?
   3                  A.   Of 2022.
   4                  Q.   So you haven't worked --
   5                  A.   No, no, no, no, no, it was in -- in April.
   6        It was in -- in -- it was before having the
   7        accident.       I believe it was April.
   8                  Q.   When you were working at Amazon, did you
   9        have a set schedule or shift that you would work?
  10                  A.   No.
  11                  Q.   How many days a week were you working at
  12        Amazon?
  13                  A.   It varied.
  14                  Q.   Was this a full-time position or a
  15        part-time position?
  16                  A.   Part-time.
  17                  Q.   When you moved to Florida, were you only
  18        working at Amazon in the Opa Locka location?
  19                  A.   Yes.
  20                  Q.   In packing, what specifically were you
  21        required to do?       What were your physical job duties
  22        and responsibilities in packing at Amazon once you
  23        moved to Florida?
  24                  A.   It's just that the job is -- varies and
  25        changes a lot.        So we're always doing different

                                      Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 39 of
                                     217


                                                                     Page 38

   1        things.
   2                  Q.   Well, it's packing, how did it vary --
   3        like, what would you -- is there -- you're in
   4        packing for Amazon.        What specifically would you do
   5        when you would have an actual shift there?
   6                  A.   Well, I mean, there was many things.
   7        That's the thing is that we were in packing, yes.
   8        But, I mean, we'd pack, we'd do some packing.            They
   9        would also have us doing troubleshooting.           They
  10        would have us in the trucks.
  11                       So, I mean, it's just that we worked at
  12        the location there, and there's many different
  13        departments, and they would have us cover many
  14        different things.
  15                  Q.   Okay.   What departments would you be
  16        involved in covering?
  17                  A.   They were always on the trucks, that all
  18        of the -- that all of the pack -- that all of the
  19        packages go -- go to.
  20                  Q.   Would you be responsible for physically
  21        loading the trucks with the packages?
  22                  A.   Yes.
  23                  Q.   Would you have responsibility for -- were
  24        there any physical requirements for your job to work
  25        in Amazon?

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 40 of
                                     217


                                                                     Page 39

   1                  A.    Well, we're talking about just -- it was a
   2        lot of just pure physical activity.
   3                  Q.    For example, were there any requirements
   4        that you lift -- in order to do the job, was there a
   5        requirement at Amazon that you be able to lift more
   6        than 50 pounds?
   7                  A.    Yes.   Yes, I mean, I don't remember the
   8        exact number of pounds, but it was 30 -- 30,
   9        45 pounds.        I don't remember the exact amount.
  10                  Q.    With respect to after the accident, have
  11        you ever gone back and requested a different job or
  12        accommodation with Amazon?
  13                  A.    I'm sorry.     Can you repeat the question,
  14        please?        I didn't really hear it all that clearly.
  15                  Q.    Certainly.
  16                        Since you went back -- or strike that.
  17                        After your accident, have you ever gone
  18        back to Amazon and ask that they make any
  19        accommodation for your present condition?
  20                  A.    No.
  21                  Q.    Why not?
  22                  A.    Because at the current -- present time I'm
  23        not in any condition to -- to go to any particular
  24        job.
  25                  Q.    Have any of your current physicians said

                                       Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 41 of
                                     217


                                                                      Page 40

   1        that you are completely and totally unemployable in
   2        any capacity?
   3                       THE INTERPRETER:         Counsel, can interpreter
   4                  have repetition of the question?
   5                       MR. DAHL:     Certainly.
   6        BY MR. DAHL:
   7                  Q.   Have any of your healthcare providers told
   8        you that you're unemployable in any capacity?
   9                  A.   No.
  10                  Q.   Then if none of your doctors have said
  11        that, why is it that you haven't gone back and asked
  12        whether Amazon could hire you or employ you with
  13        accommodations for your physical condition?
  14                       MR. BASNUEVO:        Form.
  15                  A.   Because I can't sit for long periods of
  16        time or lay down for long periods of time.              My body
  17        is still in the process of adapting to my certain --
  18        my new condition.
  19                       And I cannot, therefore, work in any form
  20        where I have to be in a position -- in a particular
  21        position for any long periods of time because I
  22        can't sit for any long periods of time or lay down
  23        for any long periods of time.
  24        BY MR. DAHL:
  25                  Q.   Have any of your doctors placed

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 42 of
                                     217


                                                                     Page 41

   1        restrictions on your ability to sit for any
   2        particular period of time?
   3                  A.   No.
   4                  Q.   Have any of your doctors placed any
   5        limitations on your ability to lay down for any
   6        particular periods of time?
   7                  A.   No.
   8                  Q.   You didn't attend medical school, correct,
   9        ma'am?
  10                  A.   No.
  11                  Q.   You're not a healthcare provider
  12        specialized in the treatment of people with any
  13        level of spinal injury, correct?
  14                  A.   No.
  15                  Q.   So then basically you just made the choice
  16        based upon your decision-making, regardless of what
  17        any of the other healthcare providers said, you made
  18        the determination that you couldn't do certain
  19        things, correct?
  20                       MR. BASNUEVO:     Object to form.
  21                  A.   The problem isn't that I made a choice to
  22        do any such thing.       I mean, the issue is that I
  23        can't lay down or sit down for long periods of time
  24        because my body won't permit me to do so.           It's not
  25        a choice.       This is not an option I'm taking.       My

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 43 of
                                     217


                                                                            Page 42

   1        body just won't allow me to do it.
   2        BY MR. DAHL:
   3                  Q.   Ma'am --
   4                       MR. BASNUEVO:       Hold on.          Hold on, Pat.
   5                  I'm sorry.   She was continuing with her answer
   6                  and I need you to let her get everything she
   7                  wants to get out.
   8        BY MR. DAHL:
   9                  Q.   Go ahead and finish your answer, ma'am.
  10                  A.   Well, as a matter of fact, in order to
  11        come to this office to do this, I had to bring an
  12        airbag to be able to help me.               Because if I sit for
  13        long periods of time, my ankles swell and they hurt.
  14        They hurt terribly.         At home, I don't sit for more
  15        than two hours or three hours at a time because I
  16        can't.
  17                       I did not study medicine.               How -- I did
  18        not go to medical school.             However, my body's the
  19        one that's telling me and will not allow me to do
  20        certain things.
  21                  Q.   So your body is telling you to do things
  22        but your own doctors aren't placing those same
  23        restrictions on you, right?
  24                       MR. BASNUEVO:       Form.
  25                  A.   It's that I don't spend my time at the

                                      Veritext Legal Solutions
       800-726-7007                                                               305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 44 of
                                     217


                                                                     Page 43

   1        doctors.       You know, I mean -- I think if I were to
   2        ask, they would probably give me the restrictions.
   3        But I don't spend my time with the doctor.            You
   4        know, I spend my time at home.
   5        BY MR. DAHL:
   6                  Q.   Aside from Amazon -- let's just go through
   7        your answers to interrogatories.
   8                       Interrogatory No. 2, you were asked to
   9        list the names, address, dates of employment, and
  10        rates of pay regarding all your employers.
  11                       For Amazon, you said it was from
  12        November 17th, 2017, to present, making 17.75 an
  13        hour, correct?
  14                  A.   Yes.
  15                  Q.   But you answered these interrogatories,
  16        and they were served on us in December of 2022,
  17        right?
  18                  A.   Yes.
  19                  Q.   So when these answers came to us in
  20        December of 2022, you hadn't worked at Amazon for
  21        seven months, correct?
  22                  A.   Yes.
  23                  Q.   Why did you say that you were working for
  24        Amazon from 2017 to the present when you hadn't been
  25        working there for over six months when you answered

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 45 of
                                     217


                                                                       Page 44

   1        these interrogatories?
   2                       MR. BASNUEVO:      Form.
   3                  A.   Because with Amazon, I'm still employed.
   4        They haven't fired me.          So I'm still I guess -- I'm
   5        still with the company.
   6        BY MR. DAHL:
   7                  Q.   Have you received any payment from Amazon
   8        since May of 2022?
   9                  A.   Yes.   Well, they don't pay me, but I'm
  10        still employed by them.           I don't know if I'm
  11        explaining myself.
  12                  Q.   Do you have health insurance or any
  13        benefits still through Amazon?
  14                  A.   No.
  15                  Q.   In addition, you listed Door Dash from
  16        2018 to 2021 on Exhibit No. 2.               Have I identified
  17        that correctly?
  18                  A.   Yes.
  19                  Q.   What were you doing for Door Dash from
  20        2018 to 2021?
  21                  A.   I did deliveries, food deliveries.
  22                  Q.   When you were doing food deliveries, was
  23        that all -- did you do all of your food deliveries
  24        through Door Dash while you were living in Texas?
  25                  A.   Yes.

                                     Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 46 of
                                     217


                                                                     Page 45

   1                  Q.   When you were doing through doing Door
   2        Dash while in Texas, did you ever inquire as to
   3        whether Door Dash was providing you with any
   4        insurance coverage while you were operating your
   5        vehicle?
   6                  A.   Yes.
   7                  Q.   How much liability insurance did Door Dash
   8        afford you while you were driving your car for Door
   9        Dash between 2018 and 2021?
  10                  A.   I don't recall at this point in time.
  11                  Q.   How much uninsured motorist coverage did
  12        Door Dash provide while you were driving in 2018 and
  13        2021 in Texas?
  14                  A.   I don't recall.
  15                  Q.   Do you know whether or not Door Dash even
  16        provided uninsured/under -- strike that.
  17                       Do you know whether, between 2018 and
  18        2021, Door Dash even provided uninsured/underinsured
  19        motorist coverage for drivers in Texas?
  20                  A.   Yes.
  21                  Q.   How do you know that, ma'am?
  22                  A.   Via Internet.
  23                  Q.   So you went on the Internet and
  24        specifically identified and confirmed that Door Dash
  25        carried uninsured/underinsured motorist coverage in

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 47 of
                                     217


                                                                             Page 46

   1        Texas for drivers between 2018 and 2021?
   2                  A.    No, no.
   3                  Q.    Well, then, ma'am, how, then, do you know
   4        that Door Dash provided uninsured/underinsured
   5        motorist coverage for drivers in Texas between 2018
   6        through 2021?
   7                  A.    Through acquaintances, friends.
   8                  Q.    Okay.    What friends or acquaintances told
   9        you that Door Dash provided uninsured/underinsured
  10        motorist coverage for drivers in Texas between 2018
  11        and 2021?
  12                  A.    Friends that I have in Texas.               The same
  13        people that tell you, you know, that -- that you can
  14        do deliveries.
  15                  Q.    Ma'am, maybe there was a disconnect.
  16                        What are their names?
  17                  A.    Hello?    Can you hear me?             Well, these are
  18        friends from work.
  19                  Q.    That's fine.      I want their names.
  20                  A.    Okay.    I mean, these -- these are friends,
  21        but they are -- they're asking me for -- I mean, if
  22        I tell you anything, I don't -- as far as names, I'd
  23        be giving you nicknames, because they're my friends.
  24                        I remember one of them.               His name is Jesus
  25        Bracho.        Jesus Bracho.      And his -- and his wife.

                                       Veritext Legal Solutions
       800-726-7007                                                                305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 48 of
                                     217


                                                                      Page 47

   1        They've been doing Door Dash for a long time.
   2                  Q.   And they're the ones who told you that
   3        Door Dash provided uninsured/underinsured motorist
   4        coverage for drivers in Texas?
   5                  A.   Yes.
   6                  Q.   All right.      They just didn't tell you how
   7        much coverage was provided, correct?
   8                  A.   No.
   9                  Q.   That's not correct, they did tell you how
  10        much coverage was available?
  11                  A.   No.
  12                  Q.   So which is it?         They either told you the
  13        amount or they didn't tell you the amount.
  14                       MR. BASNUEVO:        Form.
  15                  A.   They did not tell me the amount.
  16        BY MR. DAHL:
  17                  Q.   Did you ever learn what the amount of
  18        coverage was for uninsured/underinsured motorist
  19        coverage provided by Door Dash while you were
  20        operating for it in Texas?
  21                       THE INTERPRETER:         Counsel, I may need
  22                  repetition on the question.
  23                       MR. DAHL:     Certainly.
  24        BY MR. DAHL:
  25                  Q.   Did you ever learn the amount of

                                       Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 49 of
                                     217


                                                                       Page 48

   1        uninsured/underinsured motorist coverage that Door
   2        Dash procured while you were driving for it between
   3        2018 and 2021 in Texas?
   4                  A.   Can you repeat the question, please?
   5                  Q.   Did you ever learn the amount of
   6        uninsured/underinsured motorist coverage that Door
   7        Dash had obtained for Texas drivers between 2018 and
   8        2021?
   9                  A.   No, I'm sorry.        My daughter's writing to
  10        me.       I don't know what she's writing about.
  11                       MR. DAHL:     You know, we've been going for
  12                  about another hour.        Why don't we come back at
  13                  12:30.
  14                       MR. BASNUEVO:        Can we take a 40-minute
  15                  break so that I can get something to eat?
  16                       MR. DAHL:     Yeah, that's fine.       Let's come
  17                  back at 1:00.
  18                       (Off the record from 12:21 p.m. to 1:10
  19                  p.m.)
  20                       (Mr. Rivera Navas exited the meeting.)
  21                       (Nohemy Kattan, Spanish interpreter,
  22                  entered the Zoom meeting.)
  23                       THE STENOGRAPHER:          Ms. Kattan, please
  24                  raise your right hand.
  25                       Do you swear or affirm that you will

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 50 of
                                     217


                                                                            Page 49

   1                  interpret English into Spanish and Spanish into
   2                  English to the best of your ability?
   3                       THE INTERPRETER:         I do.
   4        Thereupon:
   5                                NOHEMY KATTAN
   6        was sworn to truly and correctly interpret English
   7        into Spanish and Spanish into English:
   8                       MR. BASNUEVO:        Ms. Kattan, before we
   9                  begin, are you court certified for federal
  10                  court?
  11                       THE INTERPRETER:         No, I am in the process.
  12                  Because of the pandemic there was a backlog.
  13                  If you need a certified I can call a friend of
  14                  mine right away.
  15                       MR. BASNUEVO:        Yes, please.       I --
  16                       THE INTERPRETER:         Yes.      No problem.   Let
  17                  me call her up.      Okay.      Thank you.
  18                       MR. BASNUEVO:        Yeah, Pat, I'm sorry, but I
  19                  can't agree to an interpreter that's not
  20                  certified.
  21                       (Off the record from 1:11 p.m. to 1:27
  22                  p.m.)
  23                       (Mr. Rivera Novas rejoined the meeting and
  24                  Ms. Kattan exited the meeting.)
  25                       MR. DAHL:     Back on the record.

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 51 of
                                     217


                                                                      Page 50

   1                       THE STENOGRAPHER:          Yes, sir.
   2        BY MR. DAHL:
   3                  Q.   Ms. Monasterio, before we broke, we were
   4        talking about whether or not you even knew if Door
   5        Dash provided with uninsured/underinsured motorist
   6        coverage benefits while you were driving using that
   7        application in Texas.
   8                       I'm now going to change gears because,
   9        according to the interrogatory answers I have, you
  10        also drove utilizing the Uber and Uber Eats app from
  11        the period of 2020 through 2022 while you were in
  12        Texas; is that correct?
  13                  A.   Yes.
  14                  Q.   How much UM/UIM coverage was provided
  15        either by you, Uber, or Uber Eats, when you were
  16        driving between 2020 and 2022 in Texas?
  17                  A.   I don't recall how much the coverage was.
  18                  Q.   Did you ever look at it?
  19                  A.   Yes.
  20                       MR. BASNUEVO:        Pat, I'm going to ask --
  21                  when you say "UM" or "UIM," that doesn't
  22                  translate into Spanish well, so I don't want to
  23                  make you say uninsured or underinsured, but so
  24                  it translates to Spanish.
  25                       MR. DAHL:     Reasonable request.      I'm going

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 52 of
                                     217


                                                                         Page 51

   1                  to be guilty of it.          Correct me if I screw it
   2                  up.
   3                         MR. BASNUEVO:        I will.
   4                         MR. DAHL:     I'm going to be guilty just
   5                  because of how I talk, but, no, feel free to
   6                  get me to do it the right way.
   7                         MR. BASNUEVO:        Thanks.
   8        BY MR. DAHL:
   9                  Q.     Did the limits of uninsured/underinsured
  10        coverage change from the period of 2020 through 2022
  11        while you were operating using the Uber and
  12        Uber Eats app in Texas?
  13                  A.     I believe so.
  14                  Q.     What did they change from to what amount?
  15                  A.     I don't recall what the amounts were, but
  16        it is my understanding that they did change based
  17        on -- from state to state coverage for Texas is one
  18        thing.         Coverage for Florida's a different thing.
  19        So according to what the policy says is that based
  20        on the change from state to state.
  21                  Q.     No, ma'am.      I'm not talking about changing
  22        from state to state.             I'm talking solely while you
  23        were working in Texas.              What was the amount of
  24        coverage -- or did the amount of coverage for
  25        uninsured/underinsured motorists change at all just

                                         Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 53 of
                                     217


                                                                           Page 52

   1        while you were in Texas?
   2                  A.   Well, I don't believe so.
   3                  Q.   Okay.   What was the amount -- or did you
   4        have -- or strike that.
   5                       When you were making the decision to use,
   6        whether it's the Uber, the Uber Eats, or the Door
   7        Dash application in Texas, what was the amount of
   8        uninsured/underinsured motorist coverage that you
   9        needed in order for you to be comfortable driving
  10        utilizing those apps?
  11                       MR. BASNUEVO:        Form.
  12                  A.   Well, to be honest with you, I don't
  13        remember amounts.         I just know that there was enough
  14        coverage.       There was ample coverage to be able to
  15        feel comfortable driving for that type of company.
  16        BY MR. DAHL:
  17                  Q.   How did you know there was ample amount of
  18        coverage if you can't tell me right now what any of
  19        those coverage amounts were?
  20                       MR. BASNUEVO:        Objection to the form of
  21                  the question.     Argumentative.
  22                       MR. DAHL:     You know what?           I -- simply
  23                  because you don't like the question doesn't
  24                  make it argumentative.
  25

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 54 of
                                     217


                                                                        Page 53

   1        BY MR. DAHL:
   2                  Q.     Ma'am, you can answer that question.
   3                         MR. BASNUEVO:     Note my objection.
   4                  A.     Well, with Door Dash, like I said, I had
   5        some friends that worked for them for years, and
   6        they told me that it was definitely a company that
   7        you can feel safe driving for.
   8                         And I don't remember amounts.       I don't
   9        remember amounts because I -- I don't remember the
  10        amount that it -- that it was at the time.                I just
  11        don't.         But I do remember that with them, you know,
  12        they told me that it was something where there was
  13        enough coverage to make you feel safe driving for
  14        them should anything happen to you.
  15                         Now, with Uber, Uber's a much bigger
  16        company than Door Dash.            Uber is a much bigger
  17        company, and therefore, I felt even safer with Uber
  18        because a company that size and that well
  19        established would have clearly have had better
  20        coverage than a company like Door Dash.              So
  21        therefore, that's why I felt safer driving even with
  22        them, and that's why I started working with them
  23        even more than I was with Door Dash.
  24                         Because for a driver, it is important to
  25        feel that you're being well protected by the company

                                      Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 55 of
                                     217


                                                                       Page 54

   1        that you're working for, and Uber is a much bigger
   2        company than Door Dash and therefore would have
   3        offered that much more protection for its drivers.
   4        And I felt a lot safer doing so that way.
   5        BY MR. DAHL:
   6                  Q.   Okay.
   7                       MS. ADAMS:      Move to strike as
   8                  nonresponsive.
   9        BY MR. DAHL:
  10                  Q.   Ma'am, when you started driving using the
  11        Uber or Door Dash apps, did you ever look at what
  12        the insurance amounts were that were available when
  13        you started for either of the two entities in Texas?
  14                       THE INTERPRETER:         Counsel, may the
  15                  interpreter have repetition on the question?
  16                  Apologies.
  17                       MR. DAHL:     Certainly.
  18        BY MR. DAHL:
  19                  Q.   When you were driving using the Door Dash,
  20        Uber, and Uber Eats apps in Texas, did you ever look
  21        at what the amounts of any insurance coverage was?
  22                       MR. BASNUEVO:        Form, compound question.
  23                  A.   I did not with Door Dash, but with Uber
  24        Eats, yes.       I got -- I went into their app and
  25        reviewed it.

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 56 of
                                     217


                                                                            Page 55

   1        BY MR. DAHL:
   2                  Q.   All right.     So you said with Uber Eats.
   3        So then you did not with Uber, correct?
   4                       MR. BASNUEVO:       Form.
   5                  A.   Well, with Door Dash, I didn't.               With Uber
   6        Eats, yes.       They're two different -- these are two
   7        different companies.          Door Dash I did not.            Uber
   8        Eats, I did.       With Door Dash I did not because my
   9        friends were the ones who told me.
  10        BY MR. DAHL:
  11                  Q.   But, ma'am, you're talking about three
  12        different companies.          Uber Eats is different from
  13        Uber is different than Door Dash.                    Do you know that?
  14                  A.   Oh, yes.    Yes, yes.        Yes, I do.
  15                  Q.   So regardless of what you looked in with
  16        Uber Eats, did you ever look and see what the
  17        insurance limits -- when you were in Texas, driving
  18        for multiple years, utilizing these apps, did you
  19        ever look at what the insurance was available under
  20        specifically Uber, not Uber Eats?
  21                  A.   For Uber, no.       Not for Uber, because what
  22        I did there was Uber Eats.             I -- so that all I was
  23        paying attention was to Uber Eats.                    I didn't do Uber
  24        while I was in Texas.
  25                  Q.   Okay.   Ma'am, I -- then there's a

                                      Veritext Legal Solutions
       800-726-7007                                                              305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 57 of
                                     217


                                                                        Page 56

   1        fundamental disconnect here or you're a big
   2        Britney Spears fan, and I don't understand which.
   3                       MR. BASNUEVO:       You don't need to answer
   4                  that.   It's not an actual question.
   5        BY MR. DAHL:
   6                  Q.   Because here we go, which is -- here are
   7        the answers to interrogatories No. 2 again.                And it
   8        says, list the businesses, addresses, and dates of
   9        employment and rates of pay for the last ten years,
  10        and you identified both Uber and Uber Eats from 2020
  11        to 2022, ma'am.
  12                       MR. BASNUEVO:       You don't need to answer
  13                  that because there's no actual question
  14                  pending.    Pat --
  15        BY MR. DAHL:
  16                  Q.   So, ma'am, the question is -- so the
  17        question is -- or strike that.                Let me ask you this
  18        first.
  19                       When you signed your answers to
  20        interrogatories, you understood that they were
  21        supposed to be true, correct, accurate, and they
  22        were made under oath, right, ma'am?
  23                  A.   Yes.
  24                  Q.   So, ma'am, which one should I believe when
  25        your statements today are supposed to be under oath,

                                      Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 58 of
                                     217


                                                                         Page 57

   1        and your statements in your response to your answers
   2        to interrogatories are supposed to be under oath,
   3        and you're now saying you've never worked for Uber
   4        in Texas but your sworn answers to interrogatories
   5        say you were?
   6                       MR. BASNUEVO:        Hold on a second.
   7                       I'm going to instruct the witness not to
   8                  answer that question.         You're berating the
   9                  witness.   That's not an accurate interpretation
  10                  of what this document says.
  11                       She says she works for Uber and Uber Eats
  12                  approximately from 2020 to 2022.            It doesn't --
  13                  maybe it should have been clearer, but it
  14                  doesn't mislead and it's not incorrect.
  15                       MR. DAHL:     Good luck with you with that --
  16                       MR. BASNUEVO:        You --
  17                       MR. DAHL:     You can't instruct a witness
  18                  not to answer a question when it's --
  19                       MR. BASNUEVO:        I am letting you know --
  20                  Pat, I'm letting you know --
  21                       (Simultaneous colloquy.)
  22                       MR. DAHL:     Good luck with that one.
  23                       MR. BASNUEVO:        I'm letting you know I'll
  24                  move for a protective order if you continue
  25                  this kind of questioning.

                                       Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 59 of
                                     217


                                                                           Page 58

   1                       MR. DAHL:     Feel --
   2                       (Simultaneous colloquy.)
   3                       THE STENOGRAPHER:          I'm sorry.      Excuse me.
   4                  Excuse me.   One at a time, please.
   5                       MS. ADAMS:      -- what you wrote in the
   6                  interrogatories what she said --
   7                       MR. BASNUEVO:        No, sir.
   8                       MR. DAHL:     Good luck with that.
   9                       MR. BASNUEVO:        No, sir, you're not.
  10                       MR. DAHL:     Okay.
  11                       MR. BASNUEVO:        No, sir, you're not.
  12                       If you want to rephrase the question,
  13                  maybe you can figure out a way to rephrase the
  14                  question.    It's harassing to the witness.            You
  15                  know that and I know that and the Court will
  16                  know that if you make me take it up with the
  17                  Court.
  18                       MR. DAHL:     You know what?           We're going to
  19                  get an answer to the question.
  20        BY MR. DAHL:
  21                  Q.   Ma'am, you said you were working for Uber
  22        and Uber Eats, you aggregated them together,
  23        indicating that you were working for both of those
  24        entities for a two-year period of time beginning in
  25        2020, correct?

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 60 of
                                     217


                                                                       Page 59

   1                       MR. BASNUEVO:     Form.
   2        BY MR. DAHL:
   3                  Q.   You can answer.
   4                  A.   Yeah, but there's some confusion here
   5        because Uber Eats, eats taking food, I did in Texas.
   6        Uber as in passengers for Uber, I did that in Miami.
   7        I only did that in Miami.           I never did that in
   8        Texas.
   9                       In Texas, all I ever did was Uber Eats.
  10        So maybe I put it down wrong.             I didn't -- I didn't
  11        specify when I wrote the answer.               But Uber Eats is
  12        what I did in Texas.        That's all I did in Texas.
  13        Uber, regarding the passengers, actually taking
  14        passengers, all I ever did that was in Miami in
  15        Florida.       I only did that in Florida.
  16                  Q.   So despite your interrogatory answers made
  17        under oath, you're now saying you did not work and
  18        do anything with Uber until you moved to Florida?
  19                       MR. BASNUEVO:     Object to the form of the
  20                  question.
  21                  A.   Yes, that's correct.
  22        BY MR. DAHL:
  23                  Q.   But your answer under oath where you swore
  24        to tell the truth said both Uber and Uber Eats from
  25        2020 to 2022, correct?

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 61 of
                                     217


                                                                      Page 60

   1                       MR. BASNUEVO:     Form.
   2                  A.   Well, and it's because I work for Uber and
   3        Uber Eats during that period of time.              I didn't
   4        realize that I had to specify when I did which for
   5        which one.       Because they're the same company.
   6                       And so when I say that I worked for Uber
   7        and Uber Eats, I worked for the company Uber for a
   8        period of those two years.           Just like if I worked
   9        for Amazon and they have different departments, it's
  10        still Amazon.       Uber and Uber Eats are still Uber,
  11        and so I worked for that company.
  12        BY MR. DAHL:
  13                  Q.   No, they're not.
  14                  A.   I worked for that company for a period of
  15        two years.       I didn't realize I had to specify.
  16                  Q.   You did, and they're different companies.
  17                       MR. BASNUEVO:     Objection and move to
  18                  strike counsel's colloquy.
  19        BY MR. DAHL:
  20                  Q.   So, ma'am --
  21                  A.   I didn't understand.
  22                  Q.   Let's just go through.
  23                       What you were going through with respect
  24        to your earning history, of all the places that you
  25        have worked, let me ask you this question:              Have you

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 62 of
                                     217


                                                                           Page 61

   1        filed taxes for the calendar year 2021?
   2                  A.   Yes.
   3                  Q.   How much money did you earn in 2021,
   4        first?
   5                  A.   I don't recall the exact amount because I
   6        give everything to the accountant, but -- I don't
   7        recall the exact amount, to be honest with you.
   8                  Q.   Why haven't you produced your 2021 tax
   9        return?
  10                       MR. BASNUEVO:      Interpreter, it's 2021, not
  11                  2022.
  12                       THE INTERPRETER:       The interpreter can
  13                  clarify.
  14                  A.   I have the tax returns for 2021.
  15        BY MR. DAHL:
  16                  Q.   I know.   You were asked to produce it, and
  17        you haven't, so my question is:               Why haven't you?
  18                  A.   Oh, sorry.    Then let me -- I guess I just
  19        didn't give them to the attorney.                   I'm sorry, I must
  20        have missed that.        Apologies.
  21                  Q.   Okay.   Well -- so you can't tell me how
  22        much you earned in 2021, and that will be on the tax
  23        return that we don't have that was previously
  24        requested, hasn't been supplemented.
  25                       So then let's go through with the 2022

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 63 of
                                     217


                                                                       Page 62

   1        taxes -- 2020 taxes.
   2                       According to you, you earned wages of
   3        $45,946, correct?
   4                  A.   Yes, that's correct.
   5                       MR. BASNUEVO:     Objection and move to
   6                  strike -- objection and move to strike
   7                  counsel's colloquy.     Those comments are
   8                  improper and they should be stricken from the
   9                  record.
  10        BY MR. DAHL:
  11                  Q.   But, ma'am, that's actually not what you
  12        actually earned because you wrote off $26,030 from
  13        your actual taxable earnings from your other
  14        business, correct?
  15                       MR. BASNUEVO:     Object to form.
  16                  A.   I don't understand.
  17        BY MR. DAHL:
  18                  Q.   Ma'am, it says you have a loss listed at
  19        line 8 on your tax returns of $26,030.               Do you see
  20        that on your screen?
  21                  A.   I give everything to my accountant.          He's
  22        the one who does my tax returns.               He's the one who
  23        prepares it all.       I don't prepare any of it.
  24                  Q.   You sign it before they're filed, though,
  25        right, ma'am?

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 64 of
                                     217


                                                                     Page 63

   1                  A.   I just give everything to the accountant,
   2        yes.       I mean, I give it all to the accountant.
   3                  Q.   But then you sign it and approve it before
   4        it's filed with the federal government, right?
   5                  A.   Yes.
   6                  Q.   So you verify that it's accurate before it
   7        goes and gets filed?
   8                  A.   Yes.
   9                  Q.   So, ma'am, what is the additional business
  10        that you had and were identifying in your 2020 tax
  11        return that lost $26,030 in 2020?
  12                       MR. BASNUEVO:      Form.
  13                  A.   I don't understand.
  14        BY MR. DAHL:
  15                  Q.   Sorry.   Didn't mean to pop that up.
  16                       Ma'am, on your tax return, on your
  17        Schedule 1, there is a line, business income or
  18        loss, attach Schedule C, and next to it there's a
  19        loss that's identified as $26,030.
  20                       Do you see that?
  21                  A.   Yes.
  22                  Q.   What business did you have or were you
  23        involved in that lost $26,030?
  24                       MR. BASNUEVO:      Form.
  25                  A.   I don't know.      No, I don't -- I don't

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 65 of
                                     217


                                                                       Page 64

   1        know.
   2        BY MR. DAHL:
   3                  Q.    So what's the basis for claiming a $26,030
   4        loss on your tax return if you can't identify the
   5        business that lost that amount for which you'd be
   6        entitled to the reduction?
   7                        MR. BASNUEVO:     Form.
   8                  A.    Well, like I said, it's my accountant who
   9        does all this, so I give him all -- everything that
  10        I have.        He's the one who prepares my tax returns.
  11        I try to make sure that he has everything so he can
  12        prepare them all, and I try to get it done right so
  13        I don't have any problems with the government.
  14        BY MR. DAHL:
  15                  Q.    Where are all the sources -- in 2020,
  16        45,000 is a higher number that you had made
  17        previously.        What sources of income did you have in
  18        2020, besides working at Amazon?
  19                  A.    Well, the thing is that in Amazon, I do
  20        extra hours.        I do extra hours.         In -- for Amazon,
  21        when I was in Texas, I didn't work part-time.               I
  22        worked full-time.        And I did overtime on top of
  23        that.       So -- and they paid that at time and a half.
  24        So you add that up with the deliveries, and that's
  25        how much I made.

                                     Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 66 of
                                     217


                                                                         Page 65

   1                  Q.   So did you make money or you lose money
   2        doing the delivery -- what I'm trying to get at is
   3        did you make money or lose money doing deliveries?
   4        Because if that's -- 2020 is -- you're writing it
   5        off -- I'm trying to figure out where the writeoffs
   6        go to $26,030 for 2020.
   7                       MR. BASNUEVO:     Form.
   8                  A.   To be honest with you, I don't know.            I
   9        couldn't tell you.       I don't know what the accountant
  10        did, how he did it.       I don't know.            I could not tell
  11        you.
  12        BY MR. DAHL:
  13                  Q.   Because what I'm really trying to find out
  14        is -- because I think there's something wrong in
  15        reading the tax return.          I'm not trying to be
  16        difficult or problematic.           It is -- I think they
  17        added in your delivery income as the W-2 line and
  18        they claimed all the deductions, but at line 8 --
  19        and they should have offset those.
  20                       Otherwise, the numbers get too big.            It
  21        looks like you're making more money, and then you're
  22        getting a bigger deduction for the writeoffs.                 Line
  23        8 should be really smaller, and line 1.
  24                       But aside from asking you, I don't know
  25        how to figure that out.          And then when you look

                                    Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 67 of
                                     217


                                                                                Page 66

   1        at --
   2                       MR. DAHL:     Oh, go ahead.             I'm sorry.
   3                       MR. BASNUEVO:        Objection.          Move to strike,
   4                  and I instruct the client not to answer because
   5                  it's not an actual question.
   6                       If you have a question, you can ask it,
   7                  but she's not going to be responding to a
   8                  comment.
   9                       MR. DAHL:     That's fine.             If she doesn't
  10                  want to try to explain it.
  11        BY MR. DAHL:
  12                  Q.   Ma'am, let's go through 2019.
  13                       This is your 2019 tax return, correct?
  14                  A.   Yes, correct.
  15                  Q.   It indicates that -- on your wages, it
  16        says a number of $42,830, correct?
  17                  A.   Yes, that's correct.
  18                  Q.   Then there's a negative -- or a deduction
  19        of $20,041, correct?
  20                  A.   Yes, that's correct.
  21                  Q.   Okay.   And that you attached a Schedule C
  22        or a Schedule 1.        And it says you lost $20,041.
  23        Then it goes on and you attach a Schedule C in which
  24        you then have -- you say you made 4,000, you had
  25        20,000 in expenses, so you lost $20,000 driving for

                                       Veritext Legal Solutions
       800-726-7007                                                                305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 68 of
                                     217


                                                                     Page 67

   1        what appears to be Door Dash, correct?
   2                  A.   Yes.
   3                  Q.   Why were you operating a business that
   4        you -- for which you were losing $20,000?
   5                  A.   Because it wasn't -- I wasn't losing
   6        those -- there wasn't losses.             There wasn't -- I
   7        wasn't -- I wasn't losing the money.
   8                       I was -- well, you know, also understand
   9        that whenever you drive, delivery drivers, they have
  10        to take into account wear and tear on the vehicle.
  11        Wear and tear on the vehicle, as well as fuel.             All
  12        of that does add up.        So...
  13                  Q.   Ma'am, does the $20,000 that you paid
  14        include all of your expenses for owning a car for
  15        the entire year in 2019?
  16                  A.   No.
  17                  Q.   Did your -- the line item you have as an
  18        expense, what advertising did you personally do that
  19        cost you $1,300.06?
  20                  A.   Excuse me, I'm sorry, can you repeat the
  21        question, please?       I didn't hear it.
  22                  Q.   Certainly.
  23                       You have -- you claimed on the expenses
  24        for profit or loss of business that you spent
  25        $1,300.06 on advertising.           What advertising did

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 69 of
                                     217


                                                                                Page 68

   1        you -- what advertising did that include?
   2                  A.   I don't recall.
   3                  Q.   You said you had office expense for this
   4        business of $5,638.          Ma'am, where was your office
   5        for your Door Dash business?
   6                  A.   No, I -- I didn't have an office.                I don't
   7        recall.
   8                  Q.   Well, then, ma'am, if you don't -- if you
   9        never had an office, why are you paying 56 -- $5,638
  10        for office expenses?
  11                  A.   I'm sorry.      I don't understand.            The
  12        accountant's the one who did that.                     I don't know why
  13        he included that.
  14                  Q.   Well, ma'am, you're the one who approved
  15        it, based upon your prior answer.                     And so I'm
  16        wondering why this was included, unless this -- if
  17        this is inaccurate -- let me ask you this.
  18                       Now that you know that this is all
  19        inaccurate, do you intend to file an amended tax
  20        return?
  21                       MR. BASNUEVO:        I object to the form of the
  22                  question.   There's been no testimony that this
  23                  is inaccurate.     The testimony has simply been
  24                  that the accountant was the person who filled
  25                  this out, and she does not know what the

                                       Veritext Legal Solutions
       800-726-7007                                                               305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 70 of
                                     217


                                                                      Page 69

   1                  accountant used to include these numbers.         That
   2                  does not mean that it's inaccurate.
   3                       I object to Mr. Dahl's imputation of that
   4                  characteristic to my client and her testimony.
   5                  And this is the second occasion where Mr. Dahl
   6                  has been harassing my client with inaccurate
   7                  accusations.
   8                       MR. DAHL:     Okay.
   9                       MR. BASNUEVO:        If it happens a third time,
  10                  we will seek protection from the Court.
  11                       MR. DAHL:     You can say whatever you want,
  12                  Mr. Basnuevo.
  13        BY MR. DAHL:
  14                  Q.   Ma'am, this is your tax return, right?
  15                       MR. BASNUEVO:        Wait, I'm sorry.
  16                  Mr. Interpreter, Mr. Interpreter, you have to
  17                  interpret everything that's said onto the --
  18                       THE INTERPRETER:         The interpreter can.
  19                       Now, if the interpreter may have a
  20                  repetition on the question?
  21                       MR. DAHL:     Certainly.
  22        BY MR. DAHL:
  23                  Q.   Ma'am, these tax returns that I've been
  24        showing you are your tax returns, right?
  25                  A.   Yes.

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 71 of
                                     217


                                                                     Page 70

   1                  Q.   Ma'am, what insurance, other than health
   2        insurance, did you purchase for your Door Dash
   3        business?
   4                  A.   Besides -- I'm sorry, can you repeat the
   5        question, please?
   6                  Q.   Certainly.
   7                       What insurance, other than health
   8        insurance, did you purchase for your Door Dash
   9        business?
  10                  A.   Well, I used the insurance that the
  11        company has, as well as my own car insurance.
  12                  Q.   Was that your -- was 3,769 the total
  13        amount for your entire premiums for all of 2019?
  14                  A.   Around there, yes.
  15                  Q.   But you used your car for things other
  16        than Door Dash during this time; you were driving to
  17        your job at Amazon, correct?
  18                  A.   I did use it to go to my Amazon job.
  19                  Q.   What was -- why didn't any of that go --
  20        or strike that.
  21                       What supplies are you referring to -- are
  22        included in your 2019 tax return for $6,483?
  23                  A.   I don't understand.
  24                  Q.   All right.   Let's go look at your 2018 tax
  25        return.

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 72 of
                                     217


                                                                         Page 71

   1                       According to your 2018 tax return, you
   2        earned $27,005, correct?
   3                  A.   Yes, that's correct.
   4                  Q.   Of that -- and that's why you were
   5        working -- this is while you're in Texas and were
   6        working for Amazon full-time, correct?
   7                  A.   Yes.
   8                  Q.   And your full-time year, according to your
   9        W-2 in 2018, you earned a full $27,015, correct?
  10                       THE INTERPRETER:         May interpreter have
  11                  repetition on the amount, counsel?
  12                       MR. DAHL:     Certainly.
  13        BY MR. DAHL:
  14                  Q.   $27,015.15 correct?
  15                  A.   Yes.
  16                  Q.   But going through here, we again have a
  17        business loss of $7,872, correct?
  18                  A.   Yes.
  19                  Q.   Ma'am, you had $8,983 in car and truck
  20        expenses.       And your -- oh, go ahead.
  21                       THE INTERPRETER:         Go ahead, counsel.
  22        BY MR. DAHL:
  23                  Q.   I'll just -- strike that, and I'll repeat
  24        it.
  25                       You have car and truck expenses of $8,983,

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 73 of
                                     217


                                                                     Page 72

   1        correct?
   2                  A.   Yes.
   3                  Q.   Is that the entirety of your car payment
   4        for the entire year in 2018?
   5                  A.   I believe so.
   6                  Q.   So you utilized your side hustle to write
   7        off your entire car as a business deduction despite
   8        the fact that you did not -- or strike that.
   9                       You used your entire services profit and
  10        loss for business to be able to write off your
  11        entire car?
  12                       MR. BASNUEVO:      Form.
  13                  A.   I don't recall.       I don't recall that.    No.
  14        BY MR. DAHL:
  15                  Q.   Okay.   Did this side business that you
  16        were doing -- it just says "services" under the
  17        Schedule C.       What services were you providing?         Or
  18        does this refer to Door Dash, Uber Eats, and that
  19        type of work again?
  20                  A.   Well, yes, that's what I did.
  21                  Q.   All right.    Did you ever obtain a separate
  22        tax ID for this business that you were operating?
  23                  A.   No.
  24                  Q.   Did it have a separate bank account?
  25                  A.   No.

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 74 of
                                     217


                                                                            Page 73

   1                  Q.   Did this separate business ever file
   2        separate or independent tax returns?
   3                  A.   No.
   4                  Q.   Okay.   Let's look at 2017.           It says that
   5        you earned $4,631 in wages.             Correct?
   6                  A.   Yes.
   7                  Q.   And it says you earned $5,726 in business
   8        income, correct?
   9                  A.   Yes.
  10                  Q.   What services were you providing -- strike
  11        that.
  12                       It says you were house cleaning as a
  13        different side job.        So my question for you, ma'am,
  14        is:       Who were you house cleaning for?
  15                  A.   A person that I met at church.
  16                  Q.   Okay.   So you were working for --
  17                       MR. BASNUEVO:      I'm sorry.        Object --
  18                  sorry, I have to object to the interpretation.
  19                  Not a person, but people plural.
  20                       THE INTERPRETER:       Oh, the interpreter
  21                  misheard it.   The interpreter may ask for a
  22                  repetition on the reply.
  23                  A.   People from church.
  24        BY MR. DAHL:
  25                  Q.   Okay.   Ma'am, I'm going to show you --

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 75 of
                                     217


                                                                     Page 74

   1        ma'am, what year is it right now?
   2                  A.   In 2017 right there, right?
   3                  Q.   That -- no.    I'm sorry, what year is it
   4        now?
   5                  A.   Oh, we're in 2023.
   6                  Q.   And you answered the interrogatories at
   7        the end of 2022, right?
   8                  A.   I'm sorry.    I can't hear very well.     What
   9        did he say?       Can you repeat that, please?
  10                  Q.   Certainly.
  11                       And you answered the interrogatories in
  12        2022, right, ma'am?
  13                  A.   Yes.
  14                  Q.   So, ma'am, why didn't you identify any of
  15        the people and sources of additional income you had
  16        in 2017, which is within ten years, in your answer
  17        to interrogatory No. 2?
  18                       MR. BASNUEVO:     Form.
  19                  A.   Because I didn't do it like a job, per se.
  20        I mean, there was just a few friends from church.
  21        It was just some people from church that I cleaned
  22        for.
  23        BY MR. DAHL:
  24                  Q.   Ma'am, a few people that you cleaned for
  25        accounted for more than 50 percent of your income in

                                    Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 76 of
                                     217


                                                                     Page 75

   1        2017.
   2                  A.   Because that's what the -- that was done
   3        by the -- I don't know.           I don't understand that.
   4                  Q.   Okay.   But -- so you're literally more
   5        than -- I just want to make sure.
   6                       Basically, you were asked to account
   7        for -- strike that.        Let me just go back this way.
   8                       Ma'am, you're asserting a claim for loss
   9        of income and earning capacity in this case, right?
  10                  A.   Yes.
  11                  Q.   But when we go through and we look at your
  12        income and earnings, you can't explain anything
  13        about it, and when we go through your
  14        interrogatories, there are other employment that we
  15        have apparently identified that you haven't
  16        identified, correct?
  17                       MR. BASNUEVO:      Form.
  18                  A.   Well, I mean, like I said, you know, the
  19        thing with that is that this is something that I
  20        did, this is not -- this was not, like, formal
  21        employment, per se.
  22        BY MR. DAHL:
  23                  Q.   It was formal enough for you to disclose
  24        it on your tax return, though, right, ma'am?
  25                  A.   Because the accountant wanted to include

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 77 of
                                     217


                                                                             Page 76

   1        it, yes.
   2                  Q.     Ma'am, what are you doing for money
   3        currently?
   4                  A.     Right now, nothing.
   5                  Q.     You have zero sources of income to take
   6        care of either yourself or your daughter?
   7                         MR. BASNUEVO:     Form.
   8        BY MR. DAHL:
   9                  Q.     You can answer.
  10                  A.     Do I have to answer?         I mean, because -- I
  11        mean, I'm not working.
  12                  Q.     But you have sources of money, and I'm
  13        entitled in discovery to find out where that is
  14        coming from.         So where are you -- what other sources
  15        of money do you have currently, ma'am?
  16                         MR. BASNUEVO:     Hold on.          I think she's
  17                  concerned because of the confidentiality
  18                  portion to the settlement agreement with GEICO
  19                  and Michael Israel.       But because you guys are
  20                  the UM insurer, we've already disclosed that to
  21                  you.
  22                         So let me just let her know that it's okay
  23                  for her to disclose that here.               Okay?   Because
  24                  I also have permission from GEICO to disclose
  25                  that to you-all.

                                      Veritext Legal Solutions
       800-726-7007                                                              305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 78 of
                                     217


                                                                          Page 77

   1                  A.   Yeah, because I swore that was
   2        confidential.         I didn't know if I could divulge
   3        that.
   4        BY MR. DAHL:
   5                  Q.   I understand.        Let me ask the question
   6        this way.       And I'm not -- please don't let my
   7        silence regarding the suggestion or inference from
   8        Mr. Basnuevo that we are the UM carrier in this
   9        case, his characterization that we would disagree
  10        with, are disagreeing with.
  11                       But putting that aside, I'll re-ask the
  12        question this way.
  13                       Ma'am, is your only current source of any
  14        income or funds the settlement with Mr. Israel?
  15                  A.   Yes.
  16                  Q.   What was the amount of your settlement
  17        with Mr. Israel?
  18                  A.   I was given 305.
  19                  Q.   Is that $305,000?
  20                  A.   Yes.
  21                  Q.   Is that net --
  22                       MR. DAHL:     Javier, trying to ask her this
  23                  is going to be too problematic.             You know what
  24                  I'm going to ask.       Is that the net or the
  25                  gross?

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 79 of
                                     217


                                                                             Page 78

   1                       MR. BASNUEVO:        Yeah, I don't think that
   2                  you are really entitled to get into that.                  I
   3                  don't mind telling you privately and off the
   4                  record.
   5                       MR. DAHL:     No, but it -- what she paid
   6                  you -- or what she paid you.                There's a gross
   7                  sum for which I'm -- regardless, I'm going to
   8                  be entitled to a setoff.           We can do it off the
   9                  record.   I just need to know.
  10                       MR. BASNUEVO:        Yeah, why don't we go off
  11                  the record for a second and I can kind of
  12                  explain what it is.
  13                       MR. DAHL:     Let's go off the record.             I
  14                  don't like to -- let's go off the record, have
  15                  this, and then probably come back at 2:45.
  16                       (Off the record from 2:45 p.m. to 2:51
  17                  p.m.)
  18                       (Lina Arcila joined the meeting.)
  19                       THE STENOGRAPHER:          I admitted Lina, but
  20                  I'm not sure who that is.
  21                       THE INTERPRETER:         That is the interpreter
  22                  that wanted to sit in and observe me work.
  23                       MR. DAHL:     Not a problem.             So long as
  24                  you're cool with somebody watching you work.
  25                       THE INTERPRETER:         I'm great at it.

                                       Veritext Legal Solutions
       800-726-7007                                                                  305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 80 of
                                     217


                                                                       Page 79

   1                       THE STENOGRAPHER:          Can you just tell me
   2                  Lina's full name real quick, please?
   3                       THE INTERPRETER:         Lina Arcila.
   4                       THE STENOGRAPHER:          Thank you.
   5                       MR. DAHL:     Before we broke,
   6                  Ms. Monasterio, we were talking about your tax
   7                  returns.   Just so the transcript's complete,
   8                  I'm going to be marking the 2020 tax return as
   9                  Exhibit 2.
  10                       (Marked for identification as Plaintiff
  11                  Exhibit 2.)
  12                       MR. DAHL:     The 2019 tax return as
  13                  Exhibit 3.
  14                       (Marked for identification as Plaintiff
  15                  Exhibit 3.)
  16                       MR. DAHL:     The 2018 tax return as
  17                  Exhibit 4.
  18                       (Marked for identification as Plaintiff
  19                  Exhibit 4.)
  20                       MR. DAHL:     And the 2017 tax return as
  21                  Exhibit 5.
  22                       (Marked for identification as Plaintiff
  23                  Exhibit 5.)
  24        BY MR. DAHL:
  25                  Q.   Ma'am, in 2022, before this accident

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 81 of
                                     217


                                                                      Page 80

   1        occurred, did you have any sources of income other
   2        than working at Amazon and income generated from
   3        driving your vehicle through the Uber or Uber Eats
   4        app?
   5                  A.   No.
   6                  Q.   Have you filed your income tax return for
   7        2022 yet?
   8                  A.   No.
   9                  Q.   And if I forgot to ask this when we were
  10        talking about the tax returns, I apologize.              Or if I
  11        did and I'm asking a question again, I don't mean
  12        to.       I'm just going through my notes and didn't see
  13        it.
  14                       When you -- in the 2020, 2019, and 2018
  15        tax returns identified profits and loss for a
  16        business, did any of those businesses file separate
  17        tax returns?
  18                  A.   No.
  19                  Q.   Changing gears, I want to talk about when
  20        you started using the Uber app.              When did you first
  21        download the Uber app to use as a partner driver?
  22                  A.   I don't recall exactly, but I believe that
  23        it was between January and February.
  24                  Q.   Would that be January or February of 2022?
  25                  A.   Yes.

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 82 of
                                     217


                                                                     Page 81

   1                  Q.   When you sought to use the Uber app as a
   2        partner driver, were you required to acknowledge or
   3        sign off on any agreements before you were allowed
   4        to operate?
   5                  A.   Yes.
   6                  Q.   Were those agreements that you had to
   7        acknowledge and sign, were they agreements that you
   8        accessed through the Uber app?
   9                  A.   Yes.
  10                  Q.   Were those agreements in English or in
  11        Spanish?
  12                  A.   In English.
  13                  Q.   Did you sign those agreements or execute
  14        them through the application?
  15                  A.   It was through the application -- through
  16        the app.
  17                  Q.   When you were reviewing the agreements and
  18        acknowledgments using the application, did you have
  19        someone translate them for you?
  20                  A.   I did it myself.
  21                  Q.   Okay.
  22                       MR. DAHL:     Ma'am, I'm going to show you
  23                  what we're going to mark as deposition
  24                  Exhibit No. 6.     This is the Platform Access
  25                  Agreement for people seeking to utilize the

                                       Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 83 of
                                     217


                                                                     Page 82

   1                  Uber application as a partner driver that was
   2                  in effect as of January 1, 2022.
   3                       (Marked for identification as Plaintiff
   4                  Exhibit 6.)
   5                       MR. BASNUEVO:        Pat, can you send me that
   6                  in email?   I can't see it on your screen, and
   7                  I'd like to be able to blow it up instead of
   8                  asking you to blow it up.
   9                       MR. DAHL:     I can, but I can't remember
  10                  where I put it.
  11                       MS. ADAMS:      I can send it to you, Javier.
  12                       MR. DAHL:     That would be great.
  13                       MS. ADAMS:      You can keep going.
  14        BY MR. DAHL:
  15                  Q.   This is the agreement that we had been
  16        talking about that you would have had to have
  17        executed before using the Uber app as an Uber
  18        driver, correct?
  19                  A.   Yes.
  20                  Q.   This Platform Access Agreement contains
  21        various terms and conditions, including provisions
  22        regarding insurance, correct?
  23                  A.   Yes.
  24                  Q.   In particular, in paragraph 3.5, it
  25        provides that, "We may, in our sole discretion,

                                       Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 84 of
                                     217


                                                                     Page 83

   1        choose to maintain auto insurance related to your
   2        rides, but we are not required to provide you with
   3        any specific coverage for loss to you or your
   4        vehicle unless we specifically describe it in an
   5        addendum to this PAA.          We can change, reduce, or
   6        cancel insurance that is maintained by us if any --
   7        at any time without notice to you or authorization
   8        from you."
   9                       Correct?
  10                  A.   Yes.
  11                  Q.   The addendum applicable for Florida as of
  12        January 1, 2022, when you started, also addresses
  13        the available insurance coverage, correct?
  14                  A.   I'm sorry.     I did not hear that.    I did
  15        not hear it completely.
  16                  Q.   I'll read it again.
  17                       The addendum that was -- the addendum for
  18        Florida also addressed the amount of insurance, if
  19        any, that would be provided when operating as a Uber
  20        partner driver, correct?
  21                  A.   Yes.
  22                  Q.   And under insurance coverage, specifically
  23        at paragraph 1A and B, it outlines the types of
  24        insurance coverage that are available, correct?
  25                  A.   Yeah, but it doesn't say that -- that it

                                      Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 85 of
                                     217


                                                                     Page 84

   1        had been --
   2                       THE INTERPRETER:        Bear with the
   3                  interpreter just a moment.
   4                  A.   It doesn't say that it's been rejected or
   5        that it's been turned down or anything like that.
   6        BY MR. DAHL:
   7                  Q.   Ma'am, that's not the question I asked.
   8        My question was that this addendum specifically
   9        identifies the coverage types that are available,
  10        correct?
  11                  A.   Yes.
  12                  Q.   And nowhere within the insurance coverage
  13        section of the addendum that you agreed to and
  14        signed in January or February, when you became a
  15        partner driver, is there any suggestion or mention
  16        of the existence of uninsured or underinsured
  17        motorist coverage, correct?
  18                  A.   It says so on the Internet.
  19                  Q.   Ma'am, I didn't ask you what it said on
  20        the Internet.         I asked what it says on the addendum
  21        that you actually agreed to.
  22                       MS. ADAMS:     I want to place an objection,
  23                  move to strike her answer.
  24                  A.   Well, from what I read and from what I
  25        saw, it doesn't say in anywhere there that the

                                      Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 86 of
                                     217


                                                                          Page 85

   1        insurance is being turned down or rejected or that
   2        you're not -- that -- it doesn't say anything like
   3        that.       It just says that you're going to have
   4        coverage.
   5        BY MR. DAHL:
   6                  Q.   Ma'am --
   7                       MR. BASNUEVO:        Pat, let's go through and
   8                  read what it says.
   9                       I'm sorry, can you pause this just one
  10                  second?   I have to hand a check to a contractor
  11                  for my house that came to pick it up.             I'll be
  12                  back in 30 seconds.
  13                       (Off the record briefly at 3:07 p.m.)
  14                       MR. BASNUEVO:        Okay.      I'm back.   You can
  15                  keep going.    Sorry.
  16                       MR. DAHL:     Okay.
  17        BY MR. DAHL:
  18                  Q.   Ma'am, let's just go through.
  19                       Where in this document does it say that
  20        Uber or anyone else is providing uninsured or
  21        underinsured motorist coverage in this document?
  22                  A.   It doesn't say it there specifically, but
  23        it does so online.
  24                  Q.   Okay.    When you say online, the -- you can
  25        go online and I can find people that will say that

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 87 of
                                     217


                                                                      Page 86

   1        the leprechaun is real, Santa Claus exists, and the
   2        Easter Bunny can be found.
   3                       So where, ma'am, online does it say that
   4        there is uninsured motorist coverage for drivers in
   5        Florida in 2022?
   6                  A.   I went directly to the Uber app, to the
   7        Uber website.
   8                  Q.   And so according to you, the Uber website
   9        said there was -- how much uninsured motorist
  10        coverage did it say there was for drivers in
  11        Florida?
  12                  A.   It said that it could cover up to -- well,
  13        okay, I'm not completely sure.              But I believe that
  14        it was up to, like, a million dollars.
  15                  Q.   The million dollars was only for death,
  16        bodily injury and property damage, automobile
  17        liability insurance, correct?
  18                  A.   Yes.
  19                  Q.   And that's different from
  20        uninsured/underinsured motorist coverage, correct?
  21                  A.   Yes.
  22                  Q.   So then based upon your prior answer, you
  23        have never seen, whether it's online or anywhere
  24        else, anything to suggest that there was
  25        uninsured/underinsured motorist coverage for drivers

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 88 of
                                     217


                                                                     Page 87

   1        operating as Uber partner drivers at any time,
   2        correct?
   3                       MR. BASNUEVO:      Form.
   4                  A.   I saw it online.       I mean, because it says
   5        so clearly on there that it does cover for somebody
   6        that ends up with the type of injury that I ended up
   7        with, as severe as I was, it -- you are covered.             I
   8        saw that.       Of course I did.
   9        BY MR. DAHL:
  10                  Q.   Okay.   Just you saw it -- it just doesn't
  11        say it in the agreement you signed, though, right,
  12        ma'am?
  13                  A.   Yes, in the agreement that I signed, maybe
  14        doesn't say it specifically but, as I said before,
  15        it does show -- it does appear online.
  16                  Q.   So it doesn't say specifically?
  17                       MS. ADAMS:    Move to strike.
  18        BY MR. DAHL:
  19                  Q.   Let's go -- where does it generally --
  20        where do the words uninsured and underinsured
  21        motorist coverage appear anywhere within the
  22        agreement and addendum that you signed?
  23                  A.   It doesn't say it specifically in what I
  24        signed.
  25                  Q.   Ma'am, I didn't ask specifically.

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 89 of
                                     217


                                                                        Page 88

   1                  A.   As I said before --
   2                  Q.   I'm talking generally.           It literally could
   3        be -- can you find the words uninsured or
   4        underinsured anywhere within the document that you
   5        signed?
   6                       MR. BASNUEVO:      Objection.
   7                  A.   It doesn't say specifically.
   8        BY MR. DAHL:
   9                  Q.   Okay.   And then let's go up to -- you
  10        specifically, in this same agreement, acknowledged
  11        that you understand that while you are providing P2P
  12        service, your personal automobile insurance policy
  13        may not afford liability, comprehensive collision,
  14        medical payments, personal injury protection,
  15        uninsured/underinsured motorist, or other coverage
  16        for you?
  17                  A.   Yes.
  18                  Q.   You were also advised that if you had any
  19        questions, it was your responsibility to resolve
  20        them with your insurer?
  21                  A.   Yes.
  22                  Q.   Ma'am, did you, at any time after signing
  23        the Platform Access Agreement, ever contact your
  24        insurance agent and raise any questions concerning
  25        the amounts, types, or existence of coverage under

                                     Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 90 of
                                     217


                                                                       Page 89

   1        your policy or that you believed was being provided
   2        by Uber?
   3                  A.   No.
   4                  Q.   And, ma'am, just so I can make sure,
   5        before you could usually use the app, before you
   6        could pick up any rides and make any money, you
   7        actually had to sign this agreement, correct?
   8                  A.   Yes.
   9                  Q.   Now, how many rides -- once you signed
  10        that, you said -- did you also, when you were signed
  11        up, before May 6th, 2022, did you -- according to
  12        you, did you also look up any insurance information
  13        through either the Uber app or something else
  14        regarding the insurance that was available or that
  15        you believed was available?
  16                  A.   Can you repeat the question, please?
  17                  Q.   Certainly.
  18                       Did you go through the Uber app, prior to
  19        May 6th of 2022, to determine what you -- strike
  20        that.
  21                       You said you went online, and I think you
  22        also had said that you looked through the app
  23        regarding insurance information.               Is that correct?
  24                  A.   Yes.
  25                  Q.   Was the insurance information that you saw

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 91 of
                                     217


                                                                     Page 90

   1        the same as what is contained in your complaint?
   2                       MR. DAHL:     Which I will mark as
   3                  Exhibit No.--
   4                       THE STENOGRAPHER:          Seven.
   5                       MR. BASNUEVO:        Seven.
   6                       MR. DAHL:     Thank you.
   7                       (Marked for identification as Plaintiff
   8                  Exhibit 7.)
   9        BY MR. DAHL:
  10                  Q.   Is this the insurance -- or strike that.
  11        This is -- Exhibit No. 7 is the nine-page complaint.
  12        I'm on page 4 of 9 currently with the certificate of
  13        insurance.
  14                       My question for you, ma'am, is the
  15        insurance information that you claim to have seen,
  16        is it this certificate of insurance that is on your
  17        screen currently?
  18                  A.   Yes.
  19                  Q.   Where on this document do the words
  20        uninsured/underinsured motorist appear?
  21                  A.   It doesn't say it specifically.
  22                  Q.   Does it say it unspecifically somewhere?
  23                  A.   That's what I understood.
  24                       My understanding from that is that they
  25        would be able to cover us should anything happen to

                                       Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 92 of
                                     217


                                                                        Page 91

   1        us.
   2                  Q.   Ma'am, my question simply is -- so your
   3        basis for that understanding isn't anything that's
   4        in a document.         It's anything -- strike that.
   5                       Your basis for that understanding isn't
   6        based upon what's contained in a document but rather
   7        it's based upon your general belief and
   8        understanding of what you thought they were doing,
   9        not something they told you they were doing,
  10        correct?
  11                       MR. BASNUEVO:       Form.
  12                  A.   I mean, it doesn't say that it's being
  13        rejected or that -- or that anything is being
  14        rejected or anything like that.                That's why, you
  15        know, I felt more than comfortable with the coverage
  16        that the company was providing that we were going to
  17        be covered.
  18        BY MR. DAHL:
  19                  Q.   Okay.   Ma'am, you've repeated this concept
  20        that it doesn't say rejected.               Why do you believe
  21        that there was an -- strike that.
  22                       Ma'am, do you believe that there was an
  23        obligation to tell you that uninsured/underinsured
  24        motorist coverage was rejected?
  25                       THE INTERPRETER:        Counselor, the

                                      Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 93 of
                                     217


                                                                      Page 92

   1                  interpreter may have repetition on the
   2                  question?
   3                       MR. DAHL:     That's fine.
   4        BY MR. DAHL:
   5                  Q.   Ms. Monasterio, do you believe that
   6        whether it's Uber, Progressive, or anyone else had
   7        to tell you that underinsured/uninsured motorist
   8        coverage had been rejected?
   9                  A.   Yes.
  10                  Q.   What's the basis for that belief, ma'am?
  11                  A.   Excuse me?
  12                  Q.   What's the basis for your belief that that
  13        was required to be told to you?
  14                  A.   Because it doesn't say it's rejected, and
  15        since it doesn't say that it's been rejected, then I
  16        believe that we're going to be covered.
  17                  Q.   But, ma'am, my question isn't -- that
  18        might have been a question -- an answer to a
  19        question that somebody else might ask later, but I
  20        didn't ask that question.              Let's go back to the
  21        question I asked.
  22                       Why do you believe it is required that you
  23        be told that coverage was rejected?
  24                  A.   Because I thought it was included.
  25                  Q.   So you made a mistake reading, they should

                                       Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 94 of
                                     217


                                                                               Page 93

   1        have to tell you -- strike that.
   2                         MR. BASNUEVO:        Yeah -- strike that.
   3        BY MR. DAHL:
   4                  Q.     Because you didn't understand a document
   5        that you signed and agreed to, they should have to
   6        further specify out something that wasn't required
   7        by any statute or anything else, according to you,
   8        ma'am, right?
   9                         MR. BASNUEVO:        Object -- hold on a second.
  10                         Objection to the form of the question.
  11                  That's argumentative.           That's inserting your
  12                  own beliefs about what's required or not
  13                  required by the statute --
  14                         MR. DAHL:     Read 627.7272.           Be done.   Thank
  15                  you.    Goodbye.
  16                         Let's move on and get an actual answer to
  17                  the question.       Because that's a speaking
  18                  question, too.
  19                         MR. BASNUEVO:        Well, you're asking
  20                  improper questions.          You've been doing it all
  21                  day.    Your own commentary about what is
  22                  required and what isn't required is not proper
  23                  in a question.
  24                         MR. DAHL:     No, I'm asking her what she
  25                  thinks is required and she's not answering it,

                                         Veritext Legal Solutions
       800-726-7007                                                              305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 95 of
                                     217


                                                                       Page 94

   1                  so I'm trying to figure out.
   2        BY MR. DAHL:
   3                  Q.   Ma'am --
   4                       MR. BASNUEVO:        She's saying -- you're
   5                  telling her if something is not required by
   6                  statute, who are you to determine whether
   7                  something is or isn't required by statute?
   8                       MR. DAHL:     A lawyer, a member of the Bar,
   9                  just for starters.        But I digress.
  10                       MR. BASNUEVO:        Well, you and I have
  11                  different opinions about what is required by
  12                  the statute.    You're representing an insurance
  13                  company that's denied a claim.
  14        BY MR. DAHL:
  15                  Q.   Ma'am --
  16                       MR. BASNUEVO:        I do think it's improper to
  17                  be commending the way you've been commenting on
  18                  this stuff.    I've asked you multiple times to
  19                  cut it out and you haven't done so.
  20        BY MR. DAHL:
  21                  Q.   Ma'am, let's go back to the question I
  22        asked.
  23                       What is your source or your belief that
  24        there is an obligation anywhere to tell you that
  25        certain coverages have been rejected?

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 96 of
                                     217


                                                                     Page 95

   1                  A.   Well, because if I'm driving for them,
   2        then I -- then I -- they -- I should be covered or
   3        they should tell me that I'm not being covered
   4        because I'm driving for them.
   5        BY MR. DAHL:
   6                  Q.   So that's your assumption?
   7                       MR. BASNUEVO:       Form.
   8                       MS. ADAMS:     Move to strike.
   9        BY MR. DAHL:
  10                  Q.   They told you that they had a million
  11        dollars liability coverage, right?
  12                       MR. BASNUEVO:       Form.
  13                  A.   I read it, yes.
  14        BY MR. DAHL:
  15                  Q.   And you also did not read that there was
  16        any uninsured/underinsured motorist coverage,
  17        correct?
  18                  A.   Because it didn't specify it exactly.
  19                  Q.   Correct.
  20                       So you made an assumption, not based upon
  21        what was anything in the -- the agreement that you
  22        signed or what you went online to see, but you made
  23        an assumption that there was uninsured/underinsured
  24        motorist coverage, correct?
  25                       THE INTERPRETER:        Counselor, the

                                      Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 97 of
                                     217


                                                                      Page 96

   1                  interpreter may have repetition on the
   2                  question?
   3                       MR. DAHL:     Certainly.
   4                       MR. BASNUEVO:        Object to the form.
   5        BY MR. DAHL:
   6                  Q.   You made an assumption that there was
   7        uninsured and underinsured motorist coverage, but
   8        that assumption was not based upon the contents of
   9        any of the documents that you saw or that were
  10        provided to you, correct?
  11                       MR. BASNUEVO:        Form.
  12                  A.   No.
  13        BY MR. DAHL:
  14                  Q.   Okay.   Ma'am, show me a single document
  15        that was provided to you that suggests or implies
  16        that $1 million of uninsured or underinsured
  17        motorist coverage would be provided for you while
  18        driving utilizing the Uber app?
  19                       MR. BASNUEVO:        Form.
  20                       Mr. -- I'm sorry, Mr. Interpreter.         You
  21                  cut out.    We didn't hear the whole beginning of
  22                  your interpretation.
  23                       MR. DAHL:     I'll restart.
  24                       THE INTERPRETER:         If the interpreter can
  25                  begin again.

                                       Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 98 of
                                     217


                                                                     Page 97

   1        BY MR. DAHL:
   2                  Q.   I'll restate the question.
   3                       Ma'am, show me a single document that you
   4        received, that you reviewed, that you read, that
   5        said that you would be covered by $1 million of
   6        uninsured/underinsured motorist coverage while
   7        operating as a partner driver for Uber in Florida.
   8                       MR. BASNUEVO:      Form.
   9                  A.   Well, the document is that one.      The one
  10        that I have.       The ones that -- that's the one
  11        from -- that's online.          The -- that's -- that's
  12        approved there.
  13        BY MR. DAHL:
  14                  Q.   Okay.   So this is the document and the
  15        only document you're referring to, correct?
  16                       MR. BASNUEVO:      Form.
  17                  A.   The one that's -- that's on the Internet,
  18        yes.       Yes.
  19        BY MR. DAHL:
  20                  Q.   Is this the same document that is on the
  21        Internet?
  22                  A.   Yes.
  23                  Q.   You agree with me, ma'am, that there is
  24        nothing in this document that says -- or strike
  25        that -- it says -- this document that you are

                                     Veritext Legal Solutions
       800-726-7007                                                     305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 99 of
                                     217


                                                                            Page 98

   1        relying upon -- or strike that.                 Let me ask you this
   2        question.
   3                       Ma'am, what is inaccurate according to
   4        this document, to you?
   5                  A.   In this document -- this document it
   6        doesn't say that it's rejected.
   7                  Q.   Okay.
   8                  A.   It doesn't say that it's rejected.
   9        However, you know, when I hire an attorney, that
  10        attorney doesn't say -- then that attorney says that
  11        it shows me something else.               And that something else
  12        shows that it's -- that it's rejected.                 But it
  13        doesn't say that here.
  14                  Q.   All right.      So according to you, this
  15        document is inaccurate or contains a
  16        misrepresentation because it doesn't affirmatively
  17        say uninsured/underinsured motorist coverage was
  18        rejected?
  19                       THE INTERPRETER:         Counselor, the
  20                  interpreter may have a repetition?
  21                       MR. DAHL:     Yeah.
  22        BY MR. DAHL:
  23                  Q.   The only inaccuracy -- according to you,
  24        the only inaccuracy within this document is the fact
  25        that it does not specifically say that

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 100 of
                                      217


                                                                       Page 99

   1        uninsured/underinsured motorist coverage was
   2        rejected?
   3                  A.   Yes.
   4                  Q.   And the only reason that you believe -- if
   5        I understand you correctly, the only reason you
   6        believe that they should have said that -- and when
   7        I say -- they should have told you that it was
   8        rejected is because otherwise, you assumed that
   9        there was such coverage?
  10                  A.   Yes.
  11                       MR. BASNUEVO:     Form.
  12        BY MR. DAHL:
  13                  Q.   Ma'am, why did you agree -- when you chose
  14        to drive with Uber in Florida, as an Uber partner
  15        driver, what was the minimum amount of
  16        uninsured/underinsured motorist coverage that you
  17        were comfortable driving in Florida with?
  18                  A.   I don't understand the question.
  19                  Q.   Certainly.
  20                       MS. ADAMS:   Just for purposes of
  21                  clarifying the record, we keep referring to I
  22                  think it's Uber partner driver.          Just to be
  23                  clear, the plaintiff was not an employee of
  24                  Uber and was an independent contractor.
  25                       So I just want make -- I understand, Pat

                                    Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 101 of
                                      217


                                                                           Page 100

   1                  what you're saying was a partner driver, but I
   2                  just want to make sure that we object to any
   3                  type of characterization of her being an
   4                  employee of Uber or Rasier.
   5                         MR. DAHL:     I don't think anybody thought I
   6                  was trying to do that.            I'll explicitly say I'm
   7                  not.
   8        BY MR. DAHL:
   9                  Q.     So let me go back.
  10                         Ma'am, according to you -- so let's just
  11        go back because I want to make sure it's very clear.
  12        And let's go back and pull up the complaint.
  13                         Ma'am, we've covered this.             You have
  14        alleged that paragraph 29 in your complaint, Uber
  15        and Rasier stated in the Uber app that drivers were
  16        protected by uninsured/underinsured motorist
  17        coverage with limits varying by state as noted
  18        above.         The required limits in Florida are
  19        $1 million.
  20                         Correct?
  21                  A.     Yes.
  22                  Q.     Did you independently verify whether or
  23        not UM coverage needed -- verify whether the
  24        required coverage limits were $1 million?
  25                         MR. BASNUEVO:        Form.

                                         Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 102 of
                                      217


                                                                          Page 101

   1                  A.   Yes.
   2        BY MR. DAHL:
   3                  Q.   So -- and according to your complaint, you
   4        relied upon the -- or strike that.
   5                       So you independently verified -- where did
   6        you look to find out that Uber was required to have
   7        $1 million in UM coverage?
   8                       MR. BASNUEVO:      Hold on.          She's getting a
   9                  call on her phone.
  10                  A.   Well, it wasn't that it was -- it
  11        verified, but it was -- I was driving for the
  12        company and I felt sure and confident that they were
  13        protecting me.        I felt sure that I was being
  14        protected, of course.
  15                       No one believes that anything factually
  16        going to happen to them.           But I did feel safe and
  17        comfortable driving because I felt that, you know,
  18        in some form, the company was definitely protecting
  19        you.       That you were being protected.
  20        BY MR. DAHL:
  21                  Q.   So you didn't verify, ma'am, that the
  22        requirement in Florida was $1 million?
  23                       MR. BASNUEVO:      Form.
  24                  A.   I mean, it says online -- it says online
  25        that it's a million dollars.              It says online that

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 103 of
                                      217


                                                                       Page 102

   1        it's a million dollars.
   2                       And so, you know, that's why I said that I
   3        felt comfortable with that kind of protection
   4        because it said that I would be covered up to a
   5        million dollars if anything were to happen.                You
   6        know, if I had some kind of serious injury or, you
   7        know, something serious were to happen, then there
   8        was that kind of coverage.
   9                       You know, it says online that there's a
  10        coverage of a million dollars.
  11        BY MR. DAHL:
  12                  Q.   And when you say online, we're going back
  13        to the certificate of insurance that's up on your
  14        screen right now, correct?
  15                  A.   Yes.
  16                  Q.   And that says $1 million combined single
  17        limit or bodily injury and property damage under the
  18        liability to others coverage section, correct?
  19                  A.   Yes.
  20                  Q.   And this same -- this Internet that you've
  21        referred to, this document further provides that it
  22        is for informational purposes only.                It confers
  23        rights upon the certificate holder.                It does not
  24        change, alter, modify, or extend coverages afforded
  25        by the policies listed below.

                                    Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 104 of
                                      217


                                                                           Page 103

   1                       Have I read that correctly?
   2                       THE INTERPRETER:         Counselor, the
   3                  interpreter asks that either to be amplified or
   4                  if the interpreter --
   5                       MR. DAHL:     Oh, yeah, yeah.          Sorry.
   6                  A.   Yes.
   7        BY MR. DAHL:
   8                  Q.   Further says that the coverage afforded by
   9        the policies listed below are subject to all the
  10        terms, exclusions, limitations, endorsements, and
  11        conditions of these policies.
  12                       Correct?
  13                  A.   Yes.
  14                  Q.   Did you ever ask for -- before you agreed
  15        and signed up, or when you were looking at this, did
  16        you ever ask for copies of the policies to confirm
  17        that your understanding was correct?
  18                       THE INTERPRETER:         Counsel, may the
  19                  interpreter have repetition?
  20                       MR. DAHL:     Certainly.
  21        BY MR. DAHL:
  22                  Q.   At any time, either before you executed
  23        the PAA agreement or at any time before May 6th,
  24        2022, did you ever request copies of the policies so
  25        you could verify whether or not your assumptions

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 105 of
                                      217


                                                                     Page 104

   1        were correct?
   2                       MR. BASNUEVO:        Form.
   3                  A.   No.
   4                       THE INTERPRETER:         Counselor, the
   5                  interpreter may request a brief comfort break.
   6                       MR. DAHL:     Certainly.
   7                       THE INTERPRETER:         Thank you.
   8                       (Off the record from 3:44 p.m. to 3:53
   9                  p.m.)
  10        BY MR. DAHL:
  11                  Q.   Ma'am, before we broke, we were talking
  12        about the representations.
  13                       According to your interrogatory answers,
  14        you suggested that the Uber app stated that UM
  15        coverage was provided with coverage levels varying
  16        by state, but they did not state that there was no
  17        coverage at all in Florida.
  18                       When was that representation made to you?
  19                       THE INTERPRETER:         The interpreter is
  20                  unable to hear the witness.
  21                       MR. DAHL:     Either can I.
  22                       MR. BASNUEVO:        Hello, can you hear us now?
  23                       THE INTERPRETER:         I can, yes.
  24                       If the interpreter can ask for repetition.
  25                       MR. BASNUEVO:        Can you ask the question

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 106 of
                                      217


                                                                    Page 105

   1                  again?   I think there was a problem coming in.
   2                  I also think there was a problem in the
   3                  interpretation.    Mr. Dahl asked when, and
   4                  Mr. Interpreter asked where.
   5        BY MR. DAHL:
   6                  Q.   Start it over.
   7                       THE INTERPRETER:       The interpreter may ask
   8                  for repetition.
   9        BY MR. DAHL:
  10                  Q.   Ma'am, your interrogatory answers suggest
  11        that the Uber app stated that UM coverage was
  12        provided with coverage limits varying by state, but
  13        they did not state that there was no coverage at all
  14        in Florida.
  15                       My question for you, ma'am, is:       When
  16        specifically was that representation made?
  17                  A.   It says so on the Uber website.
  18                  Q.   Ma'am, when did you access the Uber
  19        website?
  20                  A.   In January.    I don't recall exactly, but I
  21        believe it was, like, January or February.
  22                  Q.   So sometime within two months, you went to
  23        a website and specifically were interested in
  24        insurance, but, ma'am, why was it suddenly that you
  25        were interested in insurance when you never worried

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 107 of
                                      217


                                                                          Page 106

   1        about it when you were driving before in Texas?
   2                       MR. BASNUEVO:        Form.
   3                  A.   No, I said that I did review in Texas
   4        the -- for Uber Eats.           What I said was I didn't
   5        remember the amount.
   6        BY MR. DAHL:
   7                  Q.   Ma'am, what was the -- let's go back to
   8        the question.
   9                       What's the amount of uninsured motorist
  10        coverage that you felt was -- that you needed in
  11        order for you to be able to -- that you needed in
  12        order for you to drive?
  13                       MR. BASNUEVO:        Form.
  14                  A.   Well, to be honest with you, I don't -- I
  15        don't have, like, a set amount for that.
  16        BY MR. DAHL:
  17                  Q.   Ma'am, did it have to be at least -- did
  18        it have to be -- strike that.
  19                       So, ma'am, do you know whether or not you
  20        even had -- when you were operating for Door Dash or
  21        Uber Eats -- whether or not when you were driving in
  22        Texas they afforded you with UM coverage?
  23                       MR. BASNUEVO:        Form, asked and answered.
  24                       MR. DAHL:     You know what?           That one's
  25                  right.   I've already asked that question.               I

                                       Veritext Legal Solutions
       800-726-7007                                                                305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 108 of
                                      217


                                                                      Page 107

   1                  can move on.
   2        BY MR. DAHL:
   3                  Q.   Now, ma'am, according to your complaint,
   4        when you first became a TNC driver, so we're talking
   5        in, according to my records, February of 2022, you
   6        relied on the understanding that defendants offered
   7        all insurance coverages required by law.               And you
   8        relied on the understanding that defendants provided
   9        her uninsured and underinsured motorist coverage.
  10                       Hold on.    Let me...
  11                       Paragraph 10.
  12                       MR. BASNUEVO:       The complaint, Interpreter.
  13                  A.   Yes, that's correct.
  14        BY MR. DAHL:
  15                  Q.   Okay.   Ma'am, what -- prior to you signing
  16        and agreeing to be a partner driver, what was your
  17        understanding of what UM -- or strike that.
  18                       What was your understanding of what
  19        insurance coverages, specifically what
  20        uninsured/underinsured motorist coverages, were
  21        required under Florida law?
  22                  A.   That they had to have coverage.
  23                  Q.   Well, ma'am, what was the basis for your
  24        belief that they had to have coverage?               Because you
  25        didn't have coverage on your car.

                                      Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 109 of
                                      217


                                                                        Page 108

   1                       MR. BASNUEVO:        Form.
   2        BY MR. DAHL:
   3                  Q.   You may answer.
   4                  A.   No, because the coverage has to -- because
   5        it's required by law.
   6                  Q.   Ma'am, when did you develop that -- you
   7        requiring -- according to your testimony earlier,
   8        you're supposed to -- required to have UM coverage
   9        by law, right?
  10                       MR. BASNUEVO:        Form.
  11                  A.   Of course, but that's why I was with Uber,
  12        because Uber was protecting me.                 I mean, I was under
  13        the Uber insurance.          Besides my -- on top of my own
  14        insurance.
  15                       MS. ADAMS:      Form.
  16                       MR. DAHL:     Move to strike, nonresponsive.
  17                       MS. ADAMS:      Move to strike.
  18        BY MR. DAHL:
  19                  Q.   Let's go back to the question that I
  20        asked, because that wasn't it.
  21                       Ma'am, what was -- where did you -- you
  22        said, and specifically have alleged, that you relied
  23        on the understanding the defendants offered all
  24        insurance coverages required by law.
  25                       What did you specifically understand was

                                       Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 110 of
                                      217


                                                                            Page 109

   1        required in connection with uninsured and
   2        underinsured motorist coverage?
   3                  A.   That they had to have the coverage.
   4                  Q.   But you keep saying it, and I appreciate
   5        the circular logic, but, ma'am, where did that
   6        belief come from?
   7                  A.   Because it's required by law.                And nowhere
   8        does it say it's been rejected.
   9                  Q.   Ma'am --
  10                  A.   So I'm covered by Uber.                Because they have
  11        the coverage.
  12                       MS. ADAMS:      Move to strike.
  13                       MR. DAHL:     Move to strike.
  14        BY MR. DAHL:
  15                  Q.   Ma'am, when, prior to becoming a TNC
  16        driver in the state of Florida, did you review the
  17        law regarding the insurance obligations for TNC
  18        company?
  19                  A.   Can you repeat the question?
  20                  Q.   Certainly.
  21                       When, before you became a TNC driver in
  22        Florida, did you read the law regarding the
  23        insurance requirement?
  24                       MR. BASNUEVO:        Form.
  25                  A.   This is just general understanding that,

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 111 of
                                      217


                                                                          Page 110

   1        you know, you have to have insurance coverage.
   2        And --
   3        BY MR. DAHL:
   4                  Q.   Okay.
   5                  A.   -- since Uber was providing that, then I
   6        felt comfortable being an Uber driver.
   7                  Q.   Okay.   Ma'am, on May 6th, 2022, were you
   8        involved in an accident?
   9                  A.   Yes.
  10                  Q.   Were you involved in an accident while you
  11        were transporting an Uber rider?
  12                  A.   Yes.
  13                  Q.   When did you start -- when did you log
  14        into the application for the first time on May 6th,
  15        2022?
  16                  A.   I'm sorry.    Can you repeat the question?
  17                  Q.   Certainly.
  18                       When did you log into the application on
  19        May 6th, 2022?
  20                  A.   I don't recall exactly.              I believe it was,
  21        like, my second ride that day.               The first or second.
  22        I don't remember exactly.
  23                  Q.   How long had you been driving that day
  24        before your accident occurred?
  25                  A.   Like, less than an hour.              I don't recall

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 112 of
                                      217


                                                                             Page 111

   1        exactly, but it wasn't very long.                      I mean, I had
   2        basically just left my house.
   3                  Q.    I think you suggested it but I didn't ask
   4        the question, so I'm going to do it this way:                      How
   5        many fare -- how many Uber passengers had you picked
   6        up before picking up the passenger involved -- who
   7        you were transporting at the time of the accident?
   8                  A.    How many passengers had I picked up
   9        before?        That's what I don't remember, to be honest
  10        with you.        I don't remember exactly.
  11                  Q.    Okay.   What was the name of the
  12        passenger --
  13                        MR. BASNUEVO:        There's a fly in here.
  14                        MR. DAHL:     Clean your office, your filthy
  15                  animal.
  16        BY MR. DAHL:
  17                  Q.    What was the name of the passenger who you
  18        had accepted at the time of the accident?
  19                  A.    I don't recall.
  20                  Q.    Where were you picking him up from?
  21                  A.    At the Fort Lauderdale airport.
  22                  Q.    And where were you planning on taking him
  23        to?
  24                  A.    I don't recall exactly what the address
  25        was, but I believe it was Miami because it was about

                                        Veritext Legal Solutions
       800-726-7007                                                                305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 113 of
                                      217


                                                                     Page 112

   1        an hour away.
   2                  Q.   What was the route that you were planning
   3        to take to get from Fort Lauderdale airport to the
   4        ultimate destination in Miami?
   5                  A.   I took I-95, the route which is the one
   6        that the GPS told me to take.
   7                  Q.   And, I'm sorry, I should have asked this
   8        earlier.       Did you get matched up with this
   9        particular fare at Fort Lauderdale airport through
  10        the Uber app?
  11                  A.   The Uber app is the one that assigns
  12        the -- the routes that we get.              The rides that we
  13        get.       We don't -- I mean, we can just accept them or
  14        not, but we don't get to choose them.              It is the app
  15        that gives us and that -- the one that assigns the
  16        rides.
  17                  Q.   Fair enough.
  18                       And you accepted a ride through the Uber
  19        app?
  20                  A.   Yes, that's correct.
  21                  Q.   And I'm -- I should have asked this
  22        earlier, and I apologize for jumping around, but I
  23        want to make sure I get it when I go back so I don't
  24        have to go back.
  25                       When we were talking about the

                                    Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 114 of
                                      217


                                                                          Page 113

   1        representations through the Uber app and online,
   2        when you were asked about the statement the Uber app
   3        stated that the UM coverage was provided with
   4        coverage limits varying by state, but they did not
   5        state that there was no coverage at all in Florida,
   6        that statement was not made by Progressive, correct?
   7                  A.   Yes.
   8                  Q.   Now, you get matched with this individual.
   9        According to the complaint, the individual is
  10        identified as Mr. Cavanaugh.                Does that sound right?
  11                  A.   Yes.
  12                  Q.   Now, where did -- specifically did this
  13        accident occur?       I know you said it's southbound 95,
  14        but it's, like, up in Hollywood, down in -- closer
  15        to Miami?
  16                       MR. BASNUEVO:        I'm sorry.        I object to the
  17                  interpretation.      The question was where did the
  18                  accident occur, not where --
  19                       THE INTERPRETER:         The interpreter will
  20                  need a repetition.        If the interpreter may have
  21                  repetition on the question.
  22                       MR. DAHL:     Certainly.
  23        BY MR. DAHL:
  24                  Q.   Where, ma'am -- I know you said southbound
  25        95, but can you be slightly more specific, whether

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 115 of
                                      217


                                                                     Page 114

   1        it's a city or anywhere else -- where on 95 did the
   2        accident occur?
   3                  A.   It's around the Hollywood exit.         Around
   4        the area where the Hollywood exit is.              I don't know
   5        the number of the exit exactly, but it is around
   6        that area.
   7                       And it's because I have gone by there
   8        several times since.        I don't remember during the
   9        accident where it was.         I don't remember exactly
  10        where it was during the accident, but after the
  11        fact, I've gone by there several times.              And so it
  12        is around the Hollywood exit.
  13                  Q.   And as you're approaching the accident
  14        area, what lane of traffic were you in?
  15                  A.   The one that's -- in the one that is
  16        closest to the -- to the -- what is that, the
  17        concrete barrier, the -- the concrete there --
  18        barrier there.       I was going down the -- the express
  19        lane, the one that's -- that's off to the side, I
  20        was going down the express lane, and it's got two
  21        lanes on the express lane there.
  22                       I was on the one that was closest to the
  23        concrete barrier.
  24                  Q.   So you were in the furthest left lane of
  25        the express lanes in all of 95?

                                    Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 116 of
                                      217


                                                                            Page 115

   1                  A.   Yes.
   2                  Q.   How fast were you driving, ma'am?
   3                  A.   I don't recall, but I always drive safely.
   4                       MR. DAHL:     Move to strike.             I don't think
   5                  even I could get away with bolstering myself
   6                  that way.
   7                       MR. BASNUEVO:        Hold on.          You asked her a
   8                  question.    She said she doesn't recall.
   9                  There's nothing improper about that.
  10                       MR. DAHL:     "I always drive safely" is the
  11                  one you can't get -- Javier, you can't do that.
  12                  You know you can't do that.
  13                       MR. BASNUEVO:        Why not?
  14                       MR. DAHL:     So we're going to allow her to
  15                  proffer her own character and habit evidence
  16                  when there's been no foundation and it hasn't
  17                  been challenged?      Good luck.
  18                       MR. BASNUEVO:        What's your -- yeah.          I
  19                  mean, I --
  20                       MR. DAHL:     You can't offer character and
  21                  habit like that, and you know it.
  22                       MR. BASNUEVO:        That's not a proper motion.
  23                  But let's just keep going.            I won't -- let's
  24                  get done with this.
  25

                                       Veritext Legal Solutions
       800-726-7007                                                               305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 117 of
                                      217


                                                                     Page 116

   1        BY MR. DAHL:
   2                  Q.   So, ma'am, you don't know what speed you
   3        were going, correct?
   4                  A.   No, but I'm certain that I wasn't speeding
   5        because I don't speed.
   6                  Q.   What was the traffic conditions like?
   7        Were there a lot of cars?
   8                  A.   So-so.
   9                  Q.   Did you ever see any of the cars that were
  10        also involved in the accident before being struck?
  11                       THE INTERPRETER:         Counselor, can the
  12                  interpreter have repetition on the question?
  13                       MR. DAHL:     Certainly.
  14        BY MR. DAHL:
  15                  Q.   Did you ever see either of the other two
  16        vehicles that were involved in the accident before
  17        you were struck?
  18                  A.   No.
  19                  Q.   What part of your car came into contact
  20        with what part of any of the other vehicles?
  21                  A.   The front of my car marked the -- the car
  22        that ended up just coming out of nowhere.              I mean,
  23        it was so sudden that it didn't give a chance to do
  24        anything.       That car came over the cones and -- and
  25        just came right into the lane and didn't give an

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 118 of
                                      217


                                                                         Page 117

   1        opportunity to brake or anything.                  It was just
   2        sudden.
   3                  Q.   So, ma'am, a car came -- you said came
   4        over the cones; it came from your right side to your
   5        left, correct?
   6                  A.   Yes.
   7                  Q.   You had one full lane to your right that
   8        was still in the express lanes before the cones,
   9        correct?
  10                  A.   Yes.
  11                  Q.   And it was the front -- when you say the
  12        front of your car, was it the center of your car or
  13        was it -- the impact more to the right front, the
  14        side, what specific part -- strike that.                  Let me ask
  15        it this way:
  16                       Was the impact between your car and the
  17        other vehicle by the front bumper of your car?
  18                  A.   Can you repeat the question, please?
  19                  Q.   Certainly.
  20                       Was the damage -- was the first point of
  21        the impact of your car up by the front bumper in
  22        front of the hood?
  23                  A.   Yes.
  24                  Q.   So a vehicle comes from your right, is in
  25        front of you, crosses the poles and an entire lane

                                    Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 119 of
                                      217


                                                                    Page 118

   1        of traffic, and according to you, there was not
   2        time, it just came out of nowhere, correct?
   3                  A.   That's correct.
   4                  Q.   At any time before impact, did you apply
   5        your brakes?
   6                  A.   I don't remember.
   7                  Q.   At any time before impact, did you make
   8        any steering inputs either to the left or to the
   9        right?
  10                  A.   I don't recall.       It was all so fast.
  11                  Q.   Were there any vehicles -- you're
  12        approaching the point of impact; were there any
  13        vehicles in the right lane or to your right also
  14        heading southbound in the express lane?
  15                  A.   No.
  16                  Q.   Did anything prevent you from seeing the
  17        vehicle that came from your right across the cones,
  18        across an entire lane of traffic, before impact?
  19                  A.   No.   No, the car -- it was a matter of
  20        seconds.       I didn't get an opportunity to brake or
  21        anything.       I don't remember any of that.
  22                  Q.   Do you remember the impact?
  23                  A.   No, nothing.
  24                  Q.   After you struck the other vehicle, what's
  25        the next thing that you remember?

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 120 of
                                      217


                                                                       Page 119

   1                       MR. BASNUEVO:        Form.
   2                  A.   When I wake, I can't feel anything from my
   3        waist down, from the middle of my body down.               I
   4        thought I was going to die at that point in time.
   5        BY MR. DAHL:
   6                  Q.   Where did you wake up?
   7                  A.   I was in the car.
   8                  Q.   I should have asked you this earlier.
   9        Were you wearing your seatbelt?
  10                  A.   Of course, yes.
  11                  Q.   Can you tell me what part of your body, if
  12        any, hit any part of the interior of the car?
  13                  A.   I don't know.
  14                  Q.   Can you tell me how you were specifically
  15        wearing your seatbelt?            Was it properly over your
  16        shoulder into the harness?              Did you have any portion
  17        behind you?
  18                       THE INTERPRETER:         Counsel, may the
  19                  interpreter have repetition of the question?
  20                       MR. DAHL:     Certainly.
  21        BY MR. DAHL:
  22                  Q.   Were you wearing -- how were you -- let me
  23        just rephrase it.
  24                       How were you wearing the seatbelt?
  25                  A.   Like this, how you wear it.

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 121 of
                                      217


                                                                        Page 120

   1                  Q.   Just -- the witness was showing over her
   2        left shoulder attached like one would --
   3                       MR. DAHL:     Mr. Basnuevo, you'd agree the
   4                  standard seatbelt formation, does that work?
   5                       MR. BASNUEVO:        That works.
   6        BY MR. DAHL:
   7                  Q.   You said immediately after the impact, you
   8        felt that there was -- you couldn't feel anything
   9        from your waist -- did you say from your waist down,
  10        or did you say from your chest down?
  11                  A.   I don't know exactly.            I mean, from here
  12        on down.       From here down.         I mean, I would say
  13        that -- yeah, I mean, I would say from here, because
  14        I would do like this, and I wouldn't feel anything
  15        down below.
  16                       I mean, it just felt hollow.            It felt
  17        complete emptiness.          Hollow.
  18                  Q.   Were you treated -- did you have any
  19        conversations with anyone at the scene of the
  20        accident?
  21                  A.   Anyone like whom?          What do you mean, like,
  22        over the phone or to a paramedic.
  23                  Q.   Anybody.     Absolutely anybody.
  24                  A.   I grabbed my phone and I tried calling
  25        several friends to let them know what had happened,

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 122 of
                                      217


                                                                         Page 121

   1        but, no.
   2                  Q.   Okay.   So you've made attempts to call,
   3        but the only people you actually spoke to, if I
   4        understand you correctly, were the paramedics when
   5        they arrived?
   6                  A.   The paramedics hadn't even taken me out of
   7        the vehicle.       They were outside discussing things.
   8        They were -- they -- they weren't helping me.                  I
   9        mean, maybe they thought I was dead.
  10                       MR. DAHL:     Move to strike.          Calls for
  11                  speculation.
  12        BY MR. DAHL:
  13                  Q.   But let's go back.
  14                       Ma'am, at any time -- or were you
  15        eventually removed from the car?
  16                  A.   Yes.
  17                  Q.   Once you were removed from the car, did
  18        you have conversations with anybody aside from the
  19        paramedics?
  20                  A.   I just said I couldn't feel my legs.
  21        Just -- oh, they were asking me for my name.
  22                  Q.   Did you -- did they have to use any
  23        special tools to get you out of the car?
  24                  A.   Yeah, like, this thin, long stretcher-type
  25        device thing.         Because since I couldn't feel my

                                       Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 123 of
                                      217


                                                                    Page 122

   1        legs, then they had to put it -- put it underneath
   2        me to try and pull me out.
   3                  Q.   Have you heard the phrase backboard?
   4                  A.   No.
   5                  Q.   Were you taken to the hospital?
   6                  A.   Yes.
   7                  Q.   What hospital were you taken to?
   8                  A.   Memorial.     The one that's in Hollywood.
   9                  Q.   Were you ever told what was wrong with
  10        you?
  11                  A.   The doctor, just when I got to the
  12        hospital, they made me sign a bunch of forms
  13        telling -- you know, that -- you know, telling me
  14        that they were going to have to do blood
  15        transfusion, asking if I feel my legs, my name,
  16        things like that.       And that they had to do emergency
  17        surgery.
  18                  Q.   Did they tell you why they needed to do
  19        emergency surgery?
  20                  A.   The doctor did -- told me that they had to
  21        do a bunch of tests first, and then they said that
  22        they had to operate because I had a lot of
  23        compression in my back, and so that they had to
  24        operate to see what exactly I had.
  25                  Q.   Were you ever told what caused -- and I'm

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 124 of
                                      217


                                                                         Page 123

   1        not talking just on the day of May 6th, at any time
   2        after -- did you break something?                  Was there -- what
   3        caused the issues that you're experiencing with your
   4        lower extremity?
   5                  A.   Yes.
   6                  Q.   What did they tell you caused the issues
   7        with your lower extremity?
   8                  A.   They told me that I had problems in the
   9        medula of L2 and that -- but there was a lot of
  10        pressure and inflammation, and that I had to wait to
  11        see what the -- what -- how that would progress.
  12                       But it was basically they did say that --
  13        that it was a complete -- that it was a full injury
  14        where I was not going to be able to walk again.
  15                  Q.   You said the injury was at the L2 level?
  16                  A.   L2.
  17                  Q.   They told you that you had sustained any
  18        other injuries to your spine in any other levels
  19        besides the L2 level?
  20                  A.   That there was a lot of compression
  21        happening with the spine, that the discs were not --
  22        that they had all been moved about.                  That the actual
  23        injury was to L2, but that the accident had created
  24        problems all the way from T2 -- T12 all the way to
  25        L1.

                                    Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 125 of
                                      217


                                                                       Page 124

   1                  Q.   Had you ever -- prior to this accident on
   2        May 6th, 2022 -- ever experienced any form of back
   3        problem?
   4                  A.   No.
   5                  Q.   Have you ever -- prior to May 6th, 2022 --
   6        ever previously undergone any form of MRI?
   7                  A.   Can you repeat the question, please?
   8                  Q.   Certainly.
   9                       Had you ever undergone an MRI before
  10        May 6th, 2022?
  11                  A.   Yes.
  12                  Q.   For why had you undergone an MRI prior to
  13        May 6th, 2022?
  14                  A.   Because -- I don't remember the exact
  15        year, but I was riding with a friend, and we had an
  16        accident.
  17                  Q.   When you say don't know exact year, was
  18        that in 2020s, 2010s, when?
  19                  A.   That was, like -- I'd say that was about
  20        ten years ago.        My friend was -- my girlfriend -- my
  21        friend was the one that was driving.                She's the one
  22        who had the accident.
  23                  Q.   But you were in the car?
  24                  A.   Yes, I was the copilot.
  25                  Q.   When you did that, you were injured

                                     Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 126 of
                                      217


                                                                    Page 125

   1        sufficient enough to have to undergo an MRI,
   2        correct?
   3                  A.   I got hit here in the eyebrow, and just
   4        for safety precautions, they did a resonance.
   5                  Q.   Did you -- as a result of being involved
   6        in that accident, did you file any claim for
   7        insurance benefits?
   8                  A.   No.
   9                  Q.   Did you receive any sums in terms of a
  10        settlement, regardless of whether you made a claim?
  11                  A.   No.
  12                  Q.   And I should have asked this earlier.
  13        With respect to this case, have you taken out any
  14        loans or advances against any potential proceeds of
  15        any -- the resolution of this case or your accident
  16        claims?
  17                  A.   No.
  18                  Q.   With respect to -- who was the doctors --
  19        you identified four doctors in response to your
  20        answers to interrogatories.            You say Dr. Buttrick
  21        performed the operation; what operation did
  22        Dr. Buttrick perform?
  23                  A.   The back surgery.
  24                  Q.   When was the last time you've been seen by
  25        Dr. Buttrick?

                                    Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 127 of
                                      217


                                                                          Page 126

   1                  A.   I don't recall exactly, but I believe it
   2        was July.       June or July.
   3                  Q.   Have you been -- June or July of this year
   4        or last -- it has to be last year.                   We haven't
   5        invented time travel.
   6                  A.   Yes.
   7                  Q.   Do you have any plans to see Dr. Buttrick
   8        in the future?
   9                  A.   Yes.
  10                  Q.   Do you have any appointments scheduled
  11        with Dr. Buttrick?
  12                  A.   No, not yet.
  13                  Q.   Okay.   So if I understand it, you last saw
  14        him in June or July, you have not seen him since,
  15        and you have no current appointments, correct?
  16                  A.   Correct.
  17                  Q.   All right.     And then you've identified
  18        Dr. Joanne Marie Delgado-Lebron.                 What type of
  19        doctor is Dr. Lebron?
  20                  A.   She was -- she was at the rehab center
  21        where I was sent after the surgery.                   She was the one
  22        who had me under observation.
  23                  Q.   From when to when were you at the rehab
  24        center?
  25                  A.   One week after the accident up to it.

                                      Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 128 of
                                      217


                                                                          Page 127

   1                       THE INTERPRETER:         The interpreter needs to
   2                  clarify.
   3                  A.   So June 2nd was when I was with her.
   4        BY MR. DAHL:
   5                  Q.   Have you had any subsequent appointments
   6        or evaluations by Dr. Delgado-Lebron since you left
   7        the rehab center on June 2nd?
   8                  A.   No.
   9                  Q.   The next doctor that's identified is
  10        Dr. Dan Jurus, a chiropractor.                 From when to when
  11        were you being seen by Dr. Jurus?
  12                  A.   He saw me in July --
  13                       THE INTERPRETER:         The interpreter needs to
  14                  clarify again.
  15                  A.   In June.     Saw me in June.           And I still see
  16        him.
  17        BY MR. DAHL:
  18                  Q.   You still see him.
  19                       What was the last time that you've been
  20        seen by Dr. Jurus, the chiropractor?
  21                  A.   I believe, like -- I believe two weeks
  22        ago.
  23                  Q.   Okay.   And you're seeing the physical
  24        therapist at Neurofit 360, correct?
  25                  A.   Yes.

                                       Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 129 of
                                      217


                                                                    Page 128

   1                  Q.   Who is the physician -- the doctor, not a
   2        therapist, not a chiropractor -- that is managing
   3        your overall care?
   4                  A.   Well, the only doctor is the one who
   5        operated on me.       He's the one who gives the orders
   6        for me to go to therapy or things like that, but I
   7        don't see him.       It's just by phone.
   8                  Q.   Have you gone back -- have you been
   9        examined by -- whether it's a physician's assistant
  10        in his office or anyone else -- have you been seen
  11        by -- whether it's Dr. Buttrick, a physician's
  12        assistant, anyone -- actually examined you since you
  13        left the hospital with Dr. Buttrick's office?
  14                  A.   In September.     In September I had some --
  15        a bone density exam performed, and then some x-rays.
  16        They -- they had -- he had -- he requested some --
  17        it was a resident -- no, not a resonance.            It was an
  18        x-ray.
  19                       It was an x-ray to see and make sure that
  20        everything with the surgery was still in place, that
  21        nothing had moved or shifted and everything was the
  22        same.       And -- because he's the one that has to see
  23        me in order to order any kind of therapy or anything
  24        like that.       But in order to order those things, to
  25        make sure that -- and determine what moves -- what

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 130 of
                                      217


                                                                    Page 129

   1        all I can move and what all I should be working on
   2        and doing, he's got to see me.
   3                       And the last time, that was in September.
   4                  Q.   So you have not been seen by a medical
   5        doctor since September, correct?
   6                  A.   That's correct.
   7                  Q.   Have any of your physicians given you --
   8        or strike that.
   9                       Have any of your doctors said that you
  10        need to undergo any additional surgical procedures
  11        in the future?
  12                  A.   No.
  13                  Q.   Have any of your doctors told you what you
  14        are -- the ultimate prognosis is for your condition?
  15                  A.   No.
  16                  Q.   Since the time of your initial injury up
  17        until the present, have you had improvements
  18        concerning your lower extremity function?
  19                  A.   Yes.   A little.
  20                  Q.   Can you describe that for me, please?
  21                  A.   I feel like -- it's, like, a map of my
  22        legs.       You know, like, I can -- there's some things
  23        that I can -- you know, like, I can move one foot
  24        but I can't move the other.             Like, I can move some
  25        toes in my right foot but not --

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 131 of
                                      217


                                                                     Page 130

   1                        THE INTERPRETER:      The interpreter needs to
   2                  clarify.
   3                  A.    I can move my toes -- I can move my toes
   4        in my right foot, but nothing on my left foot.
   5        Nothing at all.
   6        BY MR. DAHL:
   7                  Q.    How far -- or strike that.
   8                        Some of the notes that I have suggest that
   9        you have progressed to the point where you can use a
  10        walker.        Is that accurate?
  11                  A.    I mean, I can't do it without any kind of
  12        assistance.        I can't because my legs won't hold
  13        me -- my legs -- my knees, they don't have any
  14        strength and they don't hold me, and they just
  15        completely buckle.
  16                        So in order to be able to do that, I have
  17        to have actual physical help.              So I basically have
  18        to have a brace to be able to lock my knees in
  19        place, and then I also have to have the walker.
  20        Plus actual physical help from somebody.
  21                        So it's three different types of aid to be
  22        able to use a walker, so not something I can
  23        actually use.
  24                  Q.    So you're currently using a -- when you
  25        say -- the issues that you're having in your lower

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 132 of
                                      217


                                                                       Page 131

   1        extremities, do you have full feelings up to your
   2        knees or down to your knees.
   3                       And I'm trying to show from your chest
   4        down to your knees.
   5                  A.   Yes.    Yes, I have, but I feel very
   6        little -- it's limited.            It's very limited.
   7                  Q.   I'm trying to figure out where -- where --
   8        I -- I can't put myself in your body.                I'm trying to
   9        figure out where along your body, from your hips as
  10        you go lower down to your knees and to your ankles,
  11        where does -- where is there a change in sensation
  12        or a -- where do you begin to lose feeling?
  13                  A.   What I feel from my waist to my knees is
  14        very limited sensation.            Very limited feeling,
  15        something that's not normal because it's extremely
  16        limited.       From my knees down to my feet I feel
  17        absolutely nothing.
  18                  Q.   And that's on both sides?
  19                  A.   No.    On my right, I can feel all the way
  20        down to the foot.        I have feeling down to the foot
  21        from my -- from my hip all the way down to the foot,
  22        limited.       On my left side, I have from my hip to my
  23        knee.       From my hip to my knee.
  24                       But from my knee down on my left foot,
  25        nothing.

                                      Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 133 of
                                      217


                                                                          Page 132

   1                  Q.   Okay.   I want to work -- I just want to
   2        understand the differences between the right side
   3        and the left side.
   4                       With the right side, when you say you have
   5        feeling all the way down to your foot, is that
   6        normal feeling all the way down to your foot, or is
   7        that less -- a less than normal feeling from your
   8        hip all the way down to your foot?
   9                  A.   It's very limited.         It's not a -- it's not
  10        a normal feeling that I have.              It's very limited.
  11        Not that you would normally have.                   You know, out of
  12        let's say 100 percent, I would feel I have maybe
  13        30 percent feeling, which is not normal.
  14                  Q.   Is that more or less than you had at the
  15        time of the incident?
  16                  A.   It's more.    I mean, when I had the
  17        accident, it was zero.
  18                  Q.   Would you agree that it's progressing,
  19        albeit slowly?
  20                  A.   Yes.
  21                  Q.   Now changing gears to the left, has there
  22        been -- the entirety from the hip down all the way
  23        to the foot is nothing; do I understand you
  24        correctly?
  25                  A.   That's correct.       And I also can't --

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 134 of
                                      217


                                                                         Page 133

   1                       THE INTERPRETER:       And the interpreter
   2                  needs to clarify.
   3                  A.   I also can't use the -- I also can't go to
   4        the restroom.        I can't do either of them.
   5        BY MR. DAHL:
   6                  Q.   Do you currently have a catheter or a
   7        colostomy bag?
   8                  A.   Yes, I have to use them.             I have no -- no
   9        strength or function.
  10                  Q.   So you have -- you have both a colostomy
  11        bag and a catheter?
  12                  A.   I -- I do my -- I do it myself.             I -- I
  13        insert my own catheter.
  14                  Q.   No, I was just -- you do have a
  15        catheter -- you have a colostomy bag and a catheter?
  16        I'm not saying that somebody else has to place it
  17        for you.
  18                  A.   Yes, that's correct.
  19                  Q.   Have any of your physicians suggested or
  20        implied that that may improve over time to the point
  21        where you may regain that level of function?
  22                  A.   No.   They say that no one knows.
  23                  Q.   Are you currently under the care of any
  24        neurologist?
  25                  A.   No.

                                     Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 135 of
                                      217


                                                                           Page 134

   1                  Q.   Have you been evaluated by a physiatrist
   2        or a life care planner?
   3                  A.   No.
   4                  Q.   Do you currently have any appointments to
   5        be seen or evaluated by either a physiatrist or a
   6        life care planner?
   7                  A.   Not currently, no.
   8                  Q.   Do you currently have any appointments to
   9        be seen by a neurologist?
  10                  A.   No.
  11                  Q.   Aside from the issues that you're
  12        experiencing as a result of your spinal injury in
  13        the lower extremities, the colostomy bag, the
  14        catheter, are there any other injuries for which
  15        you're claiming connection with this lawsuit?
  16                  A.   Well, the insurance thing.
  17                  Q.   No, I'm talking about physical injuries to
  18        your body.        Sorry.
  19                  A.   Well, I mean, just this.               You know, I
  20        can't walk.
  21                       MR. DAHL:     Just briefly off the record.
  22                       (Off the record from 5:03 p.m. to 5:07
  23                  p.m.)
  24        BY MR. DAHL:
  25                  Q.   Ms. Monasterio, before we broke, we were

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 136 of
                                      217


                                                                         Page 135

   1        talking about your medical care and treatment.                  And
   2        I just want to make sure I understand every injury
   3        that you're claiming.
   4                         You have the back and spinal issues that
   5        resulted in a four-level fusion, correct?
   6                  A.     Yes.
   7                  Q.     What were the levels of the fusion?           You
   8        had mentioned L2 earlier, but there has to be more
   9        levels than that.
  10                  A.     It was T12 -- it was from T12 on.           So it
  11        was T12 -- I believe T12, L1, L2, and L3.                  Yes, yes.
  12        Because it was from T12 and all the way down.
  13        Right.         Yes.
  14                  Q.     In addition -- I understand that you had a
  15        hip fracture; is that correct?
  16                  A.     The hip.
  17                         MR. BASNUEVO:       Misspoke.
  18        BY MR. DAHL:
  19                  Q.     Was that the hip or pelvis?
  20                  A.     I mean, the fracture's actually L2.
  21        That's where the fracture was.                  That's the one that
  22        broke.
  23                  Q.     Any other fractures that you're claiming
  24        as a result of this accident?
  25                  A.     I don't know if they're -- I don't know if

                                        Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 137 of
                                      217


                                                                          Page 136

   1        they're fractures or not, but my ribs, my ribs, you
   2        can't touch them even now because they hurt.
   3        Because it's, like, this whole area here with the
   4        ribs.       It was like it was crushed.              It was like it
   5        was crushed.
   6                  Q.   Did your airbag deploy in connection with
   7        the accident?
   8                  A.   Yes.    And it actually broke my eyebrows.
   9                  Q.   Now, just going through and wrapping up
  10        some things, back in Texas, you said you were seen
  11        by OB/GYN doctors, a nurse practitioner, and an
  12        aesthetic doctor.
  13                       The aesthetic doctor, did you undergo any
  14        surgical procedures?
  15                  A.   No.
  16                  Q.   And what were you seeing what you refer to
  17        as aesthetic doctors for?
  18                  A.   Aesthetic doctor, I don't remember.              I
  19        don't remember what that one is.                 I don't remember.
  20                  Q.   Okay.   With respect to some of the other
  21        answers, you included in your answer to
  22        interrogatory No. 2 -- or interrogatory -- strike
  23        that.
  24                       You included in your answer to
  25        interrogatory No. 13 that you were claiming

                                      Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 138 of
                                      217


                                                                      Page 137

   1        estimated lost wages of $45,000 for 31 years.
   2        Correct?
   3                  A.   Yes.
   4                  Q.   But we know from what we covered earlier,
   5        you weren't making $45,000 a year because you were
   6        losing, for example, 26,000 of that every year in a
   7        different business, correct?
   8                       MR. BASNUEVO:        Form.
   9                  A.   No.
  10        BY MR. DAHL:
  11                  Q.   Okay.   So then let's go through this
  12        again.
  13                       MR. BASNUEVO:        No, I object to this as
  14                  harassing the witness.          You know as well as I
  15                  do that income and taxable deductions are two
  16                  different things.       So if you're going to do
  17                  this, you're going to walk into a motion for
  18                  protective order on this issue.
  19                       MR. DAHL:     Then you know what?       So is
  20                  committing -- bringing a claim that is on the
  21                  edge of unsupported and probably would be
  22                  predicated upon -- these aren't -- because
  23                  she's claiming business losses on your personal
  24                  income and your wages in income from other
  25                  sources for a business she's not declaring and

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 139 of
                                      217


                                                                             Page 138

   1                  she's writing it off as a business loss.
   2                         The tax ramifications go both ways,
   3                  Mr. Basnuevo.
   4                         MR. BASNUEVO:        No, they don't.         We're
   5                  talking about what income she can earn.
   6                  Whether she can take a deduction from that
   7                  income doesn't reduce her ability to earn it.
   8                  And medically whether she's able to do it or
   9                  not.
  10                         MR. DAHL:     Mr. Basnuevo, whether or not
  11                  she's formed the calculation predicated upon
  12                  figures that I think are on the edge of
  13                  potentially issues that would at a minimum
  14                  require amending your tax return, because
  15                  that's not income.          That's predicated upon a
  16                  calculation that is on the equivalent of I
  17                  think misleading and potentially fraudulent.
  18                         MR. BASNUEVO:        I, No. 1, would be very
  19                  careful with your words.             No. 2, you're not a
  20                  tax lawyer, from what I know.                 I haven't seen
  21                  that you got a tax LLM anywhere.
  22                         MR. DAHL:     Last time I checked, you don't
  23                  need one to be able to do it because my -- I
  24                  know pretty much tax law on what you can do on
  25                  a Schedule C and it's not that.

                                         Veritext Legal Solutions
       800-726-7007                                                               305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 140 of
                                      217


                                                                         Page 139

   1                       MR. BASNUEVO:        Well, you haven't seen
   2                  any -- you haven't seen any of the underlying
   3                  documents, and you haven't --
   4                       MR. DAHL:     Because you haven't produced
   5                  them, by the way.       Because you haven't produced
   6                  them.
   7                       MR. BASNUEVO:        I don't have them.
   8                       MR. DAHL:     But you are predicating your
   9                  claim on this number.         So you --
  10                       (Simultaneous colloquy.)
  11                       THE STENOGRAPHER:          I'm sorry.     One at a
  12                  time, please.
  13                       MR. DAHL:     I think I'm standing on pretty
  14                  good ground right now.
  15                       MR. BASNUEVO:        Oh, I don't think you're
  16                  standing on good ground at all.             I don't think
  17                  you're standing good ground at all.
  18                       She was earning that amount of money, and
  19                  that amount was taken from her earnings and her
  20                  taxes.   Now, whether or not she had business
  21                  losses and deductions doesn't take way from the
  22                  fact that she was earning that money and she's
  23                  now unable to earn it because she's unable to
  24                  work because she can't walk.
  25                       MR. DAHL:     Okay.

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 141 of
                                      217


                                                                        Page 140

   1                       (Simultaneous colloquy.)
   2                       THE STENOGRAPHER:          Excuse me.    Excuse me.
   3                  Excuse me.   I can't take both of you at the
   4                  same time.
   5                       MR. DAHL:     You haven't produced a W-2.
   6                  She has a prior history of providing all of her
   7                  platform income in both places and double
   8                  dipping.   You know what?          Using 45, and she was
   9                  working part-time for two months, and the last
  10                  calculation you have is in 2020 and she hasn't
  11                  filed or produced 2021 return.
  12                       MR. BASNUEVO:        I've given you everything
  13                  that she gave me.       I'm not holding anything --
  14                       MR. DAHL:     Not --
  15                       (Simultaneous colloquy.)
  16                       THE STENOGRAPHER:          I'm sorry.    You have to
  17                  stop.
  18                       MR. BASNUEVO:        Right.      Before today, I
  19                  gave you everything she gave me.            You never let
  20                  me know that there was any issue, that you
  21                  wanted any additional documents.            So for you to
  22                  come now and say, well, I haven't gotten this,
  23                  I haven't gotten that, well, respectfully,
  24                  Mr. Dahl, you haven't told me that you were
  25                  missing anything or wanted anything additional.

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 142 of
                                      217


                                                                             Page 141

   1                        MR. DAHL:     Not my obligation in federal
   2                  court, Mr. Basnuevo.          Last time I checked,
   3                  there's a duty to supplement.
   4                        MR. BASNUEVO:        There's a duty to
   5                  supplement, if I'm aware there's a need for
   6                  supplementing.
   7                        MR. DAHL:     So you don't think the omission
   8                  of a 2021 tax return --
   9                        MR. BASNUEVO:        No.     I asked her for
  10                  everything she had and this is what I received.
  11                        MR. DAHL:     That's fine.             Let's go through
  12                  it.
  13                        MR. BASNUEVO:        As far as I --
  14        BY MR. DAHL:
  15                  Q.    Ma'am --
  16                        MR. BASNUEVO:        Anyway, I'm not going to
  17                  argue this with you.          I'm telling you don't go
  18                  back over things you've already gone over.
  19                        I think you've already been harassing the
  20                  witness.   You're also on the edge of
  21                  impermissible conduct.           We've been here for
  22                  hours on hours and you only started to get to
  23                  the meat of this case after 3:00.
  24                        MR. DAHL:     I disagree with you because I
  25                  think I got my meat pretty early in this

                                        Veritext Legal Solutions
       800-726-7007                                                              305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 143 of
                                      217


                                                                           Page 142

   1                  mission.    But we'll disagree like we have on
   2                  most things.
   3        BY MR. DAHL:
   4                  Q.   So, ma'am, my question is:             The $45,000
   5        per year you're quoting, the only tax return you've
   6        ever produced that shows $45,000 of earnings is your
   7        2020 tax return, correct?
   8                  A.   Yes.
   9                  Q.   So in 2017, you only earned $10,000,
  10        correct?
  11                  A.   Yes.
  12                  Q.   And in 2018, it was only 27,000, correct?
  13                  A.   Yes.
  14                  Q.   So why didn't you average out in your
  15        calculation the amount of -- or strike that.                   Let me
  16        ask you this:
  17                       Do your W-2s from Amazon for 2019 and 2020
  18        reflect $42,000 in W-2 income from Amazon?
  19                       MR. BASNUEVO:        Form.
  20                  A.   Something like that.            Around there.
  21        Something like that.
  22                       MR. DAHL:     I don't have any further
  23                  questions at this time.
  24                       MR. BASNUEVO:        Veresa?
  25                       MS. ADAMS:      Sure.

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 144 of
                                      217


                                                                       Page 143

   1                              CROSS-EXAMINATION
   2        BY MS. ADAMS:
   3                  Q.   Hi, Ms. Monasterio.          I have a few
   4        questions.       I'm going to try to be very quick here.
   5                       To be clear, you were not an employee of
   6        Uber Technologies or Rasier, its subsidiary, when
   7        you used the app from 2018 to 2022; is that correct?
   8                       THE INTERPRETER:        Counsel, may the
   9                  interpreter have repetition on the question?
  10                  My apologies.
  11                       MS. ADAMS:     Pardon me?
  12                       THE INTERPRETER:        May the interpreter have
  13                  repetition on the question?
  14        BY MS. ADAMS:
  15                  Q.   Ms. Monasterio, were you -- or you were
  16        not, rather, an employee of Uber or its subsidiary
  17        Rasier when you used the app from 2018 to 2022?
  18                  A.   Yes.
  19                  Q.   And you set your hours when you were going
  20        to be using the app or when you were not, correct?
  21                  A.   Yes.
  22                  Q.   You didn't wear a uniform?
  23                  A.   No.
  24                  Q.   And when you worked with Amazon, I believe
  25        you testified that you were full-time; is that

                                      Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 145 of
                                      217


                                                                      Page 144

   1        correct?
   2                  A.   Yes.
   3                  Q.   Was there a time when you were working for
   4        Amazon that you were also using any apps, either
   5        delivery apps or rideshare apps?
   6                  A.   I don't understand.         Can you ask the
   7        question again?
   8                  Q.   Did you work for Amazon -- so let's say in
   9        24 hours a day you did some work with Amazon.                Was
  10        there ever a time that you would come home and
  11        either get on one of the apps to either have
  12        deliveries or pick up rides?              And that's for any
  13        app.
  14                  A.   Yes.
  15                  Q.   And which apps or app did you use when you
  16        were working for Amazon?
  17                  A.   When I was in Texas, I used Uber apps
  18        and -- Uber Eats and Door Dash.               And then when I was
  19        here in Florida, Uber.
  20                  Q.   Got it.   Okay.
  21                       We talked a little bit about your medical
  22        treatment and bills.         Did you -- and I apologize if
  23        Mr. Dahl asked this question, but do you know how
  24        much is outstanding in your medical bills?
  25                  A.   Yes.

                                     Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 146 of
                                      217


                                                                    Page 145

   1                  Q.   And how much is outstanding?
   2                  A.   How much I still owe?
   3                  Q.   Yeah.
   4                  A.   I don't -- I don't know that I owe
   5        anything anymore.
   6                  Q.   How much has been paid?
   7                  A.   I don't recall.
   8                  Q.   Were they paid through any of your
   9        settlement proceeds?
  10                  A.   No.
  11                  Q.   And is it your believe that Mr. Israel, I
  12        believe was his name, was at fault for the May 2020
  13        accident?
  14                  A.   Yes.
  15                  Q.   Did you ever read the insurance policy
  16        before gaining access to Uber's app?
  17                       THE INTERPRETER:      Counselor, may the
  18                  interpreter have repetition on the question
  19                  again?
  20        BY MS. ADAMS:
  21                  Q.   Did you ever read the insurance policy
  22        before gaining access to Uber's app?
  23                  A.   Yes.
  24                  Q.   And when was that?
  25                  A.   Like, in January or February.       I don't

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 147 of
                                      217


                                                                          Page 146

   1        recall the exact date.
   2                  Q.   And that's -- you're saying in January you
   3        actually read the insurance policy, you testified
   4        you got on the website or the app at that time.                   Are
   5        you saying that you read the insurance policy in
   6        January or February?
   7                  A.   No.
   8                  Q.   No what?    I'm sorry.         I don't understand
   9        what you're saying.
  10                  A.   The policy I -- I read it, like, in
  11        January or February at some point.                   I don't remember
  12        exactly when.
  13                  Q.   Okay.
  14                  A.   I -- I don't remember exactly what it was
  15        after I registered to drive for Uber.
  16                  Q.   Okay.   Did you ever make any insurance
  17        payments to Rasier for coverage?
  18                  A.   No.
  19                  Q.   Your interrogatories indicate that you
  20        relied on insurance for coverage required by law.
  21        And I think your response to Mr. Dahl was that they
  22        had to have coverage.
  23                       I understand that you have a general
  24        understanding and your testimony is that there
  25        required some -- you believe there's some

                                      Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 148 of
                                      217


                                                                    Page 147

   1        requirement for UIM -- UI, UIM coverage, but what I
   2        want to know is what is your understanding of the
   3        amount of that coverage?
   4                  A.   Well, I mean, according -- from what I
   5        read online, it covered a million dollars.
   6                  Q.   And is that a million dollars or up to a
   7        million dollars based on what you believe you read
   8        online?
   9                  A.   A million dollars.
  10                  Q.   And when you say what you read online,
  11        we're again talking about the certificate of
  12        insurance that was included in Mr. Dahl's Exhibit 7
  13        that was a part of the complaint?
  14                  A.   Yes.
  15                  Q.   And if I understand your testimony
  16        correctly, your issue is not with the coverage
  17        that's listed in that certificate of insurance but
  18        what's not listed?
  19                  A.   Yes.
  20                  Q.   And that's your belief, despite you
  21        entering into an agreement, the PAA that Mr. Dahl
  22        pulled up earlier, that did not provide for UM/UIM
  23        coverage?
  24                       MR. BASNUEVO:     Form.
  25                  A.   Yes.

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 149 of
                                      217


                                                                            Page 148

   1        BY MS. ADAMS:
   2                  Q.   Did you ever see an insurance policy that
   3        included UM/UIM coverage in Florida?
   4                  A.   Yes.
   5                  Q.   You saw that in an insurance policy?
   6                  A.   Yes, of course.
   7                  Q.   You understand that Uber's not an
   8        insurance carrier, Ms. Monasterio?
   9                  A.   Of course, yes.
  10                       MS. ADAMS:      Okay.      I don't have any other
  11                  questions.   Thank you.
  12                       Mr. Basnuevo.
  13                       MR. BASNUEVO:        Thank you.
  14                               CROSS-EXAMINATION
  15        BY MR. BASNUEVO:
  16                  Q.   Give me a second.          Let me just go through
  17        my notes and streamline this.
  18                       MR. DAHL:     He has no questions.
  19                       MR. BASNUEVO:        I have some.
  20                       MR. DAHL:     I'm kidding.             It's been seven
  21                  hours.
  22                       MR. BASNUEVO:        I have some.
  23                       MR. DAHL:     I know.
  24                       MS. ADAMS:      Javier is out of jokes at
  25                  5:34.    You've had enough.

                                       Veritext Legal Solutions
       800-726-7007                                                             305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 150 of
                                      217


                                                                    Page 149

   1        BY MS. ADAMS:
   2                  Q.   Okay.   Karina, before the collision that
   3        occurred in May of 2022, was it your understanding
   4        that Uber, as a transportation network company, was
   5        required to provide you with uninsured or
   6        underinsured motorist coverage when you were working
   7        as a driver on their app?
   8                  A.   Yes.
   9                  Q.   Okay.   Did you gain that understanding
  10        through the representations made on the Uber app
  11        where they told you that they had UM or UIM coverage
  12        in amounts varying by state?
  13                  A.   Yes.
  14                  Q.   And did you also base that understanding
  15        on the certificate of insurance provided by
  16        Progressive and posted on the Uber website and in
  17        the Uber app which declared that there was a million
  18        dollars of insurance coverage?
  19                       MR. DAHL:     Objection, mischaracterization
  20                  of the documents.
  21                       MS. ADAMS:      Form.      And join.
  22                       MR. BASNUEVO:        Okay.
  23                       You can answer.
  24                  A.   Yes.
  25

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 151 of
                                      217


                                                                        Page 150

   1        BY MR. BASNUEVO:
   2                  Q.   And in that document, which we've talked
   3        about at length, neither Progressive nor Uber ever
   4        discloses to the Uber drivers that Uber had
   5        attempted to reject uninsured or underinsured
   6        motorist coverage in Florida, correct?
   7                       MS. ADAMS:      Form.
   8                  A.   Yes.
   9                       MR. BASNUEVO:        Okay.      And then I don't
  10                  remember, Pat, if you had attached the PAA
  11                  as --
  12                       MR. DAHL:     Yeah, I attached the PAA as 6.
  13        BY MR. BASNUEVO:
  14                  Q.   Okay.   So going back to the PAA, which is
  15        Exhibit 6 that Ms. Jones was asking you about and
  16        Mr. Dahl asked you about earlier, nowhere in this
  17        contract does it disclose to you that Uber had
  18        attempted to reject UM or UIM coverage; isn't that
  19        correct?
  20                       THE INTERPRETER:         Counsel, if the
  21                  interpreter may have repetition on the last
  22                  portion of the question.
  23        BY MR. BASNUEVO:
  24                  Q.   Nowhere does it disclose that UM or UIM
  25        coverage was regained, correct?

                                       Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 152 of
                                      217


                                                                              Page 151

   1                         MS. ADAMS:      Form.
   2                  A.     Correct.
   3                         MR. BASNUEVO:        What's wrong with the form
   4                  of the question?
   5                         MS. ADAMS:      It actually does speak about
   6                  rejection and specifically what coverages are
   7                  available.
   8        BY MR. BASNUEVO:
   9                  Q.     My question was --
  10                         MR. DAHL:     Section 3-5.             She just told
  11                  you.    You're mischaracterizing the document.
  12                         MR. BASNUEVO:        Did you make an objection,
  13                  Pat?
  14                         MR. DAHL:     It -- objection.
  15                  Mischaracterizes the document.                  See section
  16                  3.5.
  17                         MR. BASNUEVO:        Okay.      There was an
  18                  objection, so let's pull the document up on the
  19                  screen.
  20                         Mr. Interpreter, can you --
  21        BY MR. BASNUEVO:
  22                  Q.     Section 3.5 states "Uber maintains
  23        insurance.         We may, in our sole discretion, choose
  24        to maintain auto insurance related to your rides,
  25        but we are not required to provide you with any

                                         Veritext Legal Solutions
       800-726-7007                                                                 305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 153 of
                                      217


                                                                    Page 152

   1        specific coverage for loss to you or your vehicle
   2        unless specifically described in an addendum to PAA.
   3        We can change, reduce, or cancel insurance that is
   4        maintained by us, if any, at any time without notice
   5        to you or authorization from you."
   6                       Does that statement disclose to you that
   7        Uber had attempted to reject uninsured or
   8        underinsured motorist coverage in Florida in 2022?
   9                  A.   No.
  10                  Q.   In the insurance coverage section of the
  11        P2P services only city addendum for Florida, does it
  12        disclose that Uber attempted to reject UM or UIM
  13        coverage in the state of Florida?
  14                       MS. ADAMS:    Form.
  15                  A.   No.
  16        BY MR. BASNUEVO:
  17                  Q.   Does this in fact disclose that the
  18        company maintains a primary automobile liability
  19        insurance in the amount of a million dollars for
  20        death, bodily injury, or property damage?
  21                  A.   Yes.
  22                  Q.   Okay.   Is it your understanding that
  23        uninsured or underinsured motorist coverage is
  24        normally automatically included along with
  25        automobile liability coverage in Florida unless it

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 154 of
                                      217


                                                                      Page 153

   1        is specifically rejected?
   2                       MR. DAHL:     Objection, mischaracterization
   3                  of the obligations under 627.7271 and 2.
   4                       MS. ADAMS:      Join.
   5        BY MR. BASNUEVO:
   6                  Q.   You can answer.
   7                       THE INTERPRETER:         Counsel, if the
   8                  interpreter can show where counsel read it or
   9                  have repetition on the question.
  10                       MR. BASNUEVO:        Sure.
  11        BY MR. BASNUEVO:
  12                  Q.   My question is:         Is it your understanding
  13        that in Florida, uninsured and underinsured motorist
  14        coverage is automatically included in an automobile
  15        liability insurance policy, unless it is
  16        specifically rejected?
  17                       MR. DAHL:     Same objection,
  18                  mischaracterization of the statute.
  19                       MS. ADAMS:      Form.      Join.
  20                  A.   Yes.
  21        BY MR. BASNUEVO:
  22                  Q.   Did you rely on your understanding that
  23        Uber and Progressive had a policy of uninsured and
  24        underinsured motorist coverage to protect the Uber
  25        drivers while they were logged into the app when

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 155 of
                                      217


                                                                        Page 154

   1        deciding to drive for Uber?
   2                       MR. DAHL:     Objection, form.
   3                       MS. ADAMS:      Form.
   4                       MR. DAHL:     And lacks predicate.
   5                  A.   Yes.
   6        BY MR. BASNUEVO:
   7                  Q.   And when -- after the collision in May of
   8        2022, did you learn that both Uber and Progressive
   9        were refusing to provide uninsured and underinsured
  10        motorist coverage to compensate for your losses?
  11                  A.   Yes.
  12                  Q.   Was that position different from the
  13        position that you were led to understand from the
  14        statements made on the Uber app on the Uber website
  15        and in the Progressive certificate of insurance
  16        posted on the Uber app and in the Uber website?
  17                  A.   Yes.
  18                  Q.   The injuries that we're here about today
  19        that you suffered in this collision, were they
  20        caused by the negligence of Michael Israel?
  21                       MR. DAHL:     Objection.         Calls for improper
  22                  legal conclusion by an unqualified lay witness.
  23                  Displaces the province of the jury.            That one
  24                  will never see the light of day in a courtroom.
  25                       MS. ADAMS:      Join.

                                       Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 156 of
                                      217


                                                                         Page 155

   1        BY MR. BASNUEVO:
   2                  Q.   Let me ask the question this way:             Was
   3        Michael Israel operating his motor vehicle in a
   4        reasonable manner when he caused the collision that
   5        led to your injuries?
   6                       MR. DAHL:     Same objection.          Improper form.
   7                  Trying to seek improper expert opinion from a
   8                  lay witness, No. 1.        Trying to displace the
   9                  trier of fact in an ultimate issue from a lay
  10                  witness, No. 2.      Lack of qualification, 3.
  11                       MS. ADAMS:      Join.
  12        BY MR. BASNUEVO:
  13                  Q.   That's fine.       You can ignore that and
  14        answer, ma'am.
  15                  A.   No.
  16                  Q.   Did Mr. Israel's personal automobile
  17        insurance policy have sufficient coverage to pay for
  18        the damages that he caused?
  19                       MS. ADAMS:      Form.
  20                       MR. DAHL:     Objection, personal knowledge.
  21                  Form.   Predicate.
  22                  A.   No.
  23                       MR. BASNUEVO:        Those are all the questions
  24                  I have.
  25                       MR. DAHL:     I've just got a few follow-up.

                                       Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 157 of
                                      217


                                                                     Page 156

   1                             REDIRECT EXAMINATION
   2        BY MR. DAHL:
   3                  Q.   Ma'am, and I'll be brief and go through it
   4        quickly.
   5                       Ma'am, you never saw the vehicle before
   6        coming into contact with it, correct?
   7                  A.   Can you repeat the question, please?
   8                  Q.   According to your testimony earlier,
   9        ma'am, you never saw the vehicle before impact,
  10        correct?
  11                  A.   Correct.
  12                  Q.   So, ma'am, you have then no basis to
  13        determine one way or the other whether or not, as
  14        your counsel phrased it, Mr. Israel was operating
  15        reasonably or unreasonably because you didn't see
  16        what he was doing before impact, correct?
  17                       MR. BASNUEVO:       Object to form.
  18                  A.   But what person reasonably will impact
  19        another vehicle like that?
  20        BY MR. DAHL:
  21                  Q.   Ma'am, there could be multiple different
  22        reasons.       My point is this:         You didn't see it to
  23        know one way or the other what led to it before
  24        impact, correct?
  25                       MR. BASNUEVO:       Form.

                                      Veritext Legal Solutions
       800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 158 of
                                      217


                                                                          Page 157

   1                  A.   Well, that is I can't say for certain what
   2        condition he was in.         But it wasn't normal.
   3        BY MR. DAHL:
   4                  Q.   Ma'am, you've said it wasn't normal.              My
   5        position is simply this:           At no time, according to
   6        you, did you see the other vehicle until immediately
   7        before impact, correct?
   8                  A.   That's correct.
   9                  Q.   Fair enough.
  10                       So you don't know what he was doing,
  11        whether or not it was reasonable or unreasonable
  12        before the split second before impact, correct?
  13                       MR. BASNUEVO:      Form.
  14                  A.   No.
  15        BY MR. DAHL:
  16                  Q.   It's not correct or it is?
  17                  A.   No, it's not correct.          I did not -- I
  18        can't say what condition he was actually in or not
  19        because I didn't see him before.
  20                  Q.   Okay.   Now, you said, according to you,
  21        you know, you understood generally that the amount
  22        of UM and uninsured/underinsured motorist coverage
  23        has to -- is generally required to be equal to the
  24        amount of bodily injury coverage.                   You said that in
  25        response to your attorney's question.

                                     Veritext Legal Solutions
       800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 159 of
                                      217


                                                                    Page 158

   1                       Do you remember that question and that
   2        answer when your attorney asked it?
   3                       MR. BASNUEVO:      Form.
   4                  A.   Yes.
   5        BY MR. DAHL:
   6                  Q.   But -- so, ma'am, but you also knew --
   7        because you did not carry uninsured/underinsured
   8        motorist coverage equal to the amount of bodily
   9        injury coverage under your policy, you knew that it
  10        was not required, correct?
  11                       MR. BASNUEVO:      Form.
  12                  A.   No.
  13        BY MR. DAHL:
  14                  Q.   So you get to be different than the
  15        general understanding, according to you, right,
  16        Ms. Monasterio?
  17                       MR. BASNUEVO:      Form.
  18                  A.   No.
  19        BY MR. DAHL:
  20                  Q.   Okay.   But, ma'am, you wouldn't knowingly
  21        break the law, would you?
  22                       MR. BASNUEVO:      Form.
  23                  A.   No.
  24        BY MR. DAHL:
  25                  Q.   So if -- so then if you didn't carry

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 160 of
                                      217


                                                                      Page 159

   1        uninsured/underinsured motorist coverage in Florida
   2        equal to the bodily limits of the liability policy,
   3        according to your understanding, you would be
   4        breaking the law, then, right, ma'am?
   5                       MR. BASNUEVO:      Form.
   6        BY MR. DAHL:
   7                  Q.   You can answer.
   8                  A.   No.   No, I mean, I'm counting on the fact
   9        that I'm -- I'm counting on the Uber insurance
  10        that's protecting me.
  11                  Q.   Well, why would you expect Uber to have
  12        insurance that is any different than what you had,
  13        ma'am?
  14                  A.   Well, because I was working for Uber.
  15                       MS. ADAMS:    Move to strike.
  16        BY MR. DAHL:
  17                  Q.   All right.    Now, what is your
  18        understanding -- counsel asked you if you understood
  19        that bodily injury generally has -- or
  20        uninsured/under -- strike that.
  21                       In response to your attorney's questions,
  22        you said that you understood that
  23        underinsured/uninsured motorist coverage usually has
  24        to go in the same limits AS bodily injury coverage.
  25        My question for you, ma'am, is:               Where did you get

                                     Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 161 of
                                      217


                                                                    Page 160

   1        that understanding from?
   2                  A.   General understanding, like I said before.
   3                  Q.   Did this insurance -- did Progressive
   4        specifically insure your car, your 2020
   5        Honda Accord?
   6                  A.   No.
   7                  Q.   Do you know whether the insurance
   8        requirements in Florida are different depending on
   9        whether or not the insurance carrier specifically
  10        insures your car versus something like this where it
  11        doesn't specifically insure your car?
  12                  A.   No.
  13                  Q.   Ma'am, you said that you understood -- you
  14        relied in part upon a representation on the Uber app
  15        that said there was uninsured/underinsured motorist
  16        in amounts varying by state.
  17                       Do you recall that question by your
  18        attorney?
  19                  A.   Yes.
  20                  Q.   Did you ever check in the Uber app, when
  21        it says amounts varying by state, check the amounts
  22        offered in the state of Florida before you signed up
  23        in February of 2022?
  24                  A.   Well, it said on the Uber app -- on the
  25        Internet, on the web page for Uber online, it said

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 162 of
                                      217


                                                                    Page 161

   1        that you were going to be covered if something were
   2        to happen.
   3                  Q.   Now, ma'am, that same web page you were
   4        talking about -- and I don't want to rehash it --
   5        that was the certificate of insurance that we
   6        covered, we talked about earlier?
   7                  A.   Yes.    And it didn't say that it was
   8        rejected.
   9                  Q.   Ma'am, in terms of amounts varying by
  10        state, if it said there was only one dollar
  11        available in uninsured/underinsured motorist
  12        coverage in the state of Florida, would you still
  13        have driven for Uber?
  14                       MR. BASNUEVO:       Form.
  15                  A.   No.
  16        BY MR. DAHL:
  17                  Q.   Even if they still give you a million
  18        dollars of bodily injury coverage?
  19                  A.   Yes.
  20                  Q.   Okay.   Ma'am, if you wouldn't do it for a
  21        dollar, what's the minimum amount of
  22        uninsured/underinsured motorist coverage, when it
  23        says amounts varying by state, that you would have
  24        required there to be in order for you to drive under
  25        Uber, Door Dash, anything else?

                                      Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 163 of
                                      217


                                                                          Page 162

   1                       MR. BASNUEVO:        Objection.        This is, like,
   2                  the fifth time this question has been asked and
   3                  answered.
   4                       MR. DAHL:     She's saying she's relying on
   5                  amounts varying by state.            I'm trying to figure
   6                  out what specific amounts she relied upon to
   7                  make that determination.           I think based upon
   8                  your examination --
   9                       MR. BASNUEVO:        I think what she already
  10                  said is she doesn't know, and she said it when
  11                  you asked her the first four times.              This is
  12                  the fifth time, and it's improper to harass and
  13                  badger a witness.
  14                       It's 6:00, she's got back issues, and
  15                  you're just going over the same thing over and
  16                  over and over again because apparently you
  17                  didn't like her answer the first time.
  18                       MR. DAHL:     No, no, it's -- read the
  19                  transcript.   I'm done.
  20        BY MR. DAHL:
  21                  Q.   You can answer the question, ma'am.
  22                       If not a dollar, what's the amount of
  23        money -- because it says amounts varying by state.
  24        You agree with me that when you relied upon that
  25        statement, it didn't say how much there was in

                                       Veritext Legal Solutions
       800-726-7007                                                              305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 164 of
                                      217


                                                                     Page 163

   1        Florida, right, ma'am?
   2                  A.   Yes.
   3                  Q.   What is the amount that you needed to have
   4        there in order for you to drive when you already
   5        knew there wasn't an amount stated -- if there
   6        wasn't an amount stated in the representation you
   7        relied upon, what was the amount you needed for
   8        there to be?
   9                       MR. BASNUEVO:        Form.
  10                  A.   I don't know.        I -- I couldn't tell you.
  11        BY MR. DAHL:
  12                  Q.   All right.      Last area, and it will be
  13        brief, because I think there's some confusion.
  14                       You said in response to Ms. Jones Adams'
  15        questions that you believed all of your medical
  16        bills have been paid.           And I --
  17                       THE INTERPRETER:         Go ahead, Counsel.
  18        BY MR. DAHL:
  19                  Q.   And I think there's a question regarding
  20        whether they've been paid or whether the lien has
  21        been satisfied I think is the outstanding issue.
  22                       MR. BASNUEVO:        I don't know if I can just
  23                  stipulate the lien has not been paid.         There's
  24                  still an outstanding lien from Rawlings.
  25                       MR. DAHL:     Okay.      That's the -- that's

                                       Veritext Legal Solutions
       800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 165 of
                                      217


                                                                            Page 164

   1                  what I'm clarifying, I'm trying to figure out.
   2                       The bills have been paid, and if we do it
   3                  by stipulation, Javier, that's all I'm trying
   4                  to do.    It's -- all the bills are still going.
   5                  Nothing -- everything's going through whoever
   6                  at Rawlings is now administering it for.
   7                       MR. BASNUEVO:        Yeah.
   8                       MR. DAHL:     And none of that lien's been
   9                  paid?
  10                       MR. BASNUEVO:        None of the lien's been
  11                  paid.    They have Amscot now --
  12                       MR. DAHL:     We're not doing payday advance
  13                  loans.
  14                       MR. BASNUEVO:        No, I know.        Sorry.   It's
  15                  late.    What's the name of insurance carrier?
  16                  Give me a second.
  17                       MR. DAHL:     Amsure -- you had it in the
  18                  interrogatories.      I'm not wedding you to it.             I
  19                  just need to know the amount.
  20                       MR. BASNUEVO:        I provided you the latest
  21                  lien that we got in September.              They have paid
  22                  all of the medical bills.            Rawlings, who
  23                  administered their lien, has not been paid for
  24                  the lien.
  25                       MR. DAHL:     Okay.      Because that's the

                                       Veritext Legal Solutions
       800-726-7007                                                            305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 166 of
                                      217


                                                                      Page 165

   1                  disconnect.   You have 397 in bills, and you
   2                  have 141 is the lien at -- 141-62 is the lien
   3                  amount.   Is that reflected -- is that your
   4                  current understanding?
   5                       MR. BASNUEVO:        That --
   6                       MR. DAHL:     Whether or not she knows or
   7                  not, is this a Medicare, Medicaid plan versus
   8                  private health insurance?
   9                       MR. BASNUEVO:        It's not it's an ObamaCare
  10                  plan.
  11                       MR. DAHL:     Okay.      That was it.   I just
  12                  wanted to know the status of --
  13                       MS. ADAMS:      That's my fault.
  14                       MR. DAHL:     No, it's no worries.
  15        BY MR. DAHL:
  16                  Q.   Then the last thing for clarification, is
  17        there an amount set aside on the settlement pending
  18        dissolution of our case?
  19                       MR. BASNUEVO:        We can talk about that off
  20                  the record.
  21                       MR. DAHL:     That's -- that's fine.       It's
  22                  because -- like, if they're blocking off
  23                  something to cover it, because the issue is --
  24                       MR. BASNUEVO:        Want to go off the record?
  25                       MR. DAHL:     I'm going to ask her on the

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 167 of
                                      217


                                                                    Page 166

   1                  record and we'll get the answer, because if
   2                  there is a pool of money -- and this is not to
   3                  have an intellectual answer -- or a fight.
   4                       If there's a pool of money pursuant to a
   5                  settlement that would satisfy that, I would
   6                  have fundamental questions concerning the
   7                  ability to admit them the bills towards money
   8                  that's been segregated to pay.
   9                       And so that -- I'm going to ask her the
  10                  question, then, on the record so we have it.
  11                  Because I think we at least need the record
  12                  developed, right, to present to the Court.
  13                       MR. BASNUEVO:        To be honest, I don't think
  14                  that that's discoverable or -- because that --
  15                  those are issues between me and her and our
  16                  trust account and our closing statements, and
  17                  that's not discoverable here.
  18                       So --
  19                       (Simultaneous colloquy.)
  20                       MR. DAHL:     But, no, it's -- Javier, I just
  21                  need to ask the question under the Eleventh
  22                  Circuit rule to get it done the right way.
  23                       MR. BASNUEVO:        Go ahead.
  24        BY MR. DAHL:
  25                  Q.   Ms. Monasterio, of the 600 --

                                       Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 168 of
                                      217


                                                                         Page 167

   1                       MR. BASNUEVO:        70.
   2        BY MR. DAHL:
   3                  Q.   -- 70,000 thousand dollars you received in
   4        your settlement with Mr. Israel, first, is that
   5        number -- or strike that.
   6                       Of the $670,000 of your settlement with
   7        Mr. Israel, has a portion of that sum been
   8        segregated to resolve outstanding lien claims for
   9        your health care providers?
  10                       MR. BASNUEVO:        I'm going to instruct the
  11                  witness not to answer because that invades on
  12                  attorney-client privilege and the issues
  13                  between attorney and client about management of
  14                  the trust account and settlement proceeds.
  15                       MR. DAHL:     I disagree.          I'll respect the
  16                  instruction.   I'm not going to go through the
  17                  whole understanding and everything else, nor
  18                  will I need it translated because you're not
  19                  even going to let it get there.
  20        BY MR. DAHL:
  21                  Q.   No. 2, is it your understanding that there
  22        are -- has there been any negotiations on your
  23        behalf with Rawlings pursuant to which
  24        representatives on your behalf have advised that it
  25        will be compensated and fully paid out of the

                                       Veritext Legal Solutions
       800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 169 of
                                      217


                                                                            Page 168

   1        proceeds from the settlement with Mr. Israel?
   2                       MR. BASNUEVO:        I'm going to instruct the
   3                  witness not to answer on the basis that that
   4                  is -- reveals attorney-client communications
   5                  between me and her and work that I have done on
   6                  her behalf.
   7                       MR. DAHL:     Fair enough.             I will respect
   8                  that.   With the same understanding we're not
   9                  going to get into a fight that I haven't done
  10                  it the right way, Mr. Basnuevo, do we agree
  11                  we're trying to do this just to make it clean
  12                  and right?
  13                       MR. BASNUEVO:        I hear you.
  14                       MR. DAHL:     Fair enough.
  15                       With that, I have no further questions
  16                  subject to the right -- reserving the right to
  17                  come back to address on the questions that she
  18                  has been instructed not to answer, if
  19                  necessary.
  20                       MR. BASNUEVO:        Sounds good.          We will read.
  21                       THE STENOGRAPHER:          Are you going to order
  22                  the transcript?
  23                       MR. DAHL:     I will.        Can I get it in a
  24                  week?
  25                       THE STENOGRAPHER:          Sure.        So Tuesday the

                                       Veritext Legal Solutions
       800-726-7007                                                                305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 170 of
                                      217


                                                                    Page 169

   1                  14th.
   2                       Would anyone else like to order a copy?
   3                       Okay.   Thank you.
   4                       (Thereupon, the taking of the deposition
   5                  concluded at 6:11 p.m.)
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25

                                     Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 171 of
                                      217


                                                                    Page 170

   1                             CERTIFICATE OF OATH
   2
   3        STATE OF FLORIDA
   4        COUNTY OF ST. LUCIE
   5                         I, MARYKAY HORVATH, RMR, CRR, FPR,
   6             Notary Public, State of Florida, certify that
   7             KARINA MONASTERIO remotely appeared before me on
   8             March 7th, 2023, and was duly sworn.
   9
  10                  Signed this 14th day of March 2023.
  11
  12
  13
  14
               <%29961,Signature%>
  15        ____________________________________________
            MARYKAY HORVATH, RMR, CRR, FPR
  16        Notary Public, State of Florida
            My Commission No. HH 253603
  17        Expires: 5/29/2026
  18
  19
  20
  21
  22
  23
  24
  25

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 172 of
                                      217


                                                                    Page 171

   1                           CERTIFICATE OF OATH
   2
            STATE OF FLORIDA
   3
            COUNTY OF ST. LUCIE
   4
   5
   6                      I, the undersigned authority, certify
   7             that CARLOS RIVERA NAVAS, Spanish interpreter,
   8             remotely appeared before me and was duly sworn on
   9             the 7th day of March 2023.
  10                      Signed this 14th day of March 2023.
  11
  12
  13                               <%29961,Signature%>
                                  ________________________________
  14                              MARYKAY HORVATH, RMR, CRR, FPR
                                  Notary Public, State of Florida
  15                              My Commission No. HH 253603
                                  Expires: 05/29/2026
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25

                                   Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 173 of
                                      217


                                                                    Page 172

   1                         CERTIFICATE OF REPORTER
   2
   3        STATE OF FLORIDA
   4        COUNTY OF ST. LUCIE
   5
   6                      I, MARYKAY HORVATH, RMR, CRR, FPR, do
   7             hereby certify that I was authorized to and did
   8             stenographically report the foregoing deposition
   9             via Zoom of KARINA MONASTERIO; that a review of
  10             the transcript, pages 1 through 169, was
  11             requested; and that the transcript is a true
  12             record of my stenographic notes.
  13                      I FURTHER CERTIFY that I am not a
  14             relative, employee, attorney, or counsel of any
  15             of the parties, nor am I a relative or employee
  16             of any of the parties' attorney or counsel
  17             connected with the action, nor am I financially
  18             interested in the action.
  19                      Dated this 14th day of March, 2023.
  20
  21
  22
  23          <%29961,Signature%>
            _____________________________________________
  24        MARYKAY HORVATH, RMR, CRR, FPR
  25

                                   Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 174 of
                                      217


                                                                    Page 173

   1                                     ERRATA SHEET
   2                         DO NOT WRITE ON THE TRANSCRIPT
                                ENTER CHANGES ON THIS SHEET
   3
                 MONASTERIO V UBER
   4             Deponent:   KARINA MONASTERIO
                 Date of :     March 7th, 2023
   5             Case No.:   0:22-cv-61795-KMM-LFL
   6             PAGE   LINE            REMARKS
   7             ____________________________________________________
   8             ____________________________________________________
   9             ____________________________________________________
  10             ____________________________________________________
  11             ____________________________________________________
  12             ____________________________________________________
  13             ____________________________________________________
  14             ____________________________________________________
  15             ____________________________________________________
  16             ____________________________________________________
  17             ____________________________________________________
  18             ____________________________________________________
  19             ____________________________________________________
  20             ____________________________________________________
  21             Under penalties of perjury, I declare that I have
                 read the foregoing document and that the facts
  22             stated in it are true.
  23             Signature of Witness ____________________________
  24             Dated this _________ day of ___________, __________.
  25             Job No.: 5789818

                                    Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 175 of
                                      217


                                                                     Page 174

   1      JAVIER A. BASNUEVO, ESQ.
          basnuevo@robertspa.com
   2
   3                               March 14th, 2023
   4      RE: Karina Monasterio v. Uber Technologies, Inc., Et Al.
               3/7/2023 - Karina Monasterio - Job# 5789818
   5
   6           The above-referenced transcript is available for
   7      review.
   8           Karina Monasterio should read the testimony to
   9      verify its accuracy. If there are any changes,
  10      Karina Monasterio should note those with the reason
  11      on the attached Errata Sheet.
  12           Karina Monasterio should, please, date and sign the
  13      Errata Sheet and email to the deposing attorney as well as
  14      to Veritext at Transcripts-fl@veritext.com and copies will
  15      be emailed to all ordering parties.
  16           It is suggested that the completed errata be returned 30
  17      days from receipt of testimony, as considered reasonable
  18      under Federal rules*, however, there is no Florida statute
  19      to this regard.
  20           If the witness fails to do so, the transcript may be used
  21      as if signed.
  22                      Yours,
  23                      Veritext Legal Solutions
  24
           *Federal Civil Procedure Rule 30(e)/Florida Civil Procedure
  25        Rule 1.310(e).

                                   Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 176 of
                                      217

     [& - 26,030]                                                           Page 175

              &           12:21 48:18           20,000 66:25,25       61:1,3,8,10,14
      & 2:4,9             12:30 48:13             67:4,13             61:22 140:11
                          13 136:25             20,041 66:19,22       141:8
              0
                          13th 16:21            2010s 124:18        2022 3:17 10:8
      01 3:17             141 165:2             2016 16:21,25         11:5 15:21
      05/29/2026          141-62 165:2            17:10,17            16:10,13 21:22
        171:15            143 3:5               2017 3:15 43:12       37:2,3 43:16,20
      0:22 1:2 173:5      148 3:6                 43:24 73:4 74:2     44:8 50:11,16
              1           14th 169:1              74:16 75:1          51:10 56:11
      1 3:11 12:19,22       170:10 171:10         79:20 142:9         57:12 59:25
        13:3 16:24          172:19 174:3        2018 3:14 44:16       61:11,25 74:7
        36:22 63:17       156 3:6                 44:20 45:9,12       74:12 79:25
        65:23 66:22       169 172:10              45:17 46:1,5,10     80:7,24 82:2
        82:2 83:12        17.75 36:16             48:3,7 70:24        83:12 86:5
        96:16 97:5          43:12                 71:1,9 72:4         89:11,19 103:24
        100:19,24 101:7   170 3:7                 79:16 80:14         107:5 110:7,15
        101:22 102:16     171 3:7                 142:12 143:7,17     110:19 124:2,5
        138:18 155:8      172 3:8               2019 3:13 66:12       124:10,13 143:7
        172:10            173 3:8                 66:13 67:15         143:17 149:3
      1,300.06 67:19      17th 43:12              70:13,22 79:12      152:8 154:8
        67:25             1988 12:10,14           80:14 142:17        160:23
      1.310 174:25        1:00 48:17            2020 3:12 16:22     2023 1:18 37:2
      10 107:11           1:11 49:21              35:2 50:11,16       74:5 170:8,10
      10,000 142:9        1a 83:23                51:10 56:10         171:9,10 172:19
      100 2:17 9:10               2               57:12 58:25         173:4 174:3
        132:12                                    59:25 62:1        209-5463 2:11
                          2 3:12 20:11
      10:26 1:19 4:1                              63:10,11 64:15    20th 17:17
                            43:8 44:16 56:7
      11 12:24 13:3                               64:18 65:4,6      22 20:12,21
                            65:17 71:9
      113 2:4                                     79:8 80:14          21:11,20
                            74:17 79:9,11
      11:22 29:19                                 140:10 142:7,17   24 144:9
                            136:22 138:19
      11:32 29:16                                 145:12 160:4      253603 170:16
                            140:5 142:18
      11th 12:25                                2020s 124:18          171:15
                            153:3 155:10
      12 3:11                                   2021 44:16,20       26,000 137:6
                            167:21
      1255 2:17                                   45:9,13,18 46:1   26,030 62:12,19
                          20 17:4
                                                  46:6,11 48:3,8      63:11,19,23

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 177 of
                                      217

     [26,030 - access]                                                      Page 176

        64:3 65:6         3:07 85:13                    6                   9
      27 18:1,3           3:44 104:8            6 3:16 81:24        9 90:12
      27,000 142:12               4               82:4 150:12,15    90 3:18
      27,005 71:2                               6,483 70:22         95 112:5 113:13
                          4 3:14 79:17,19
      27,015 71:9                               60 9:9                113:25 114:1,25
                            90:12
      27,015.15 71:14                           600 166:25          954 2:18
                          4,000 66:24
      29 100:14                                 6135 9:20
                          4,631 73:5                                        a
      29961 170:14                              61795 1:2 173:5
                          40 48:14                                  a.m. 1:19 4:1
        171:13 172:23                           627.7271 153:3
                          42,000 142:18                               29:19,20
      2:45 78:15,16                             627.7272. 93:14
                          42,830 66:16                              ability 4:6,17
      2nd 127:3,7                               670,000 167:6
                          442-1700 2:5                                7:1 14:7 41:1,5
      2s 142:17                                 6:00 162:14
                          45 39:9 140:8                               49:2 138:7
              3           45,000 64:16          6:11 1:19 169:5
                                                                      166:7
      3 3:13 79:13,15       137:1,5 142:4,6     6th 12:10,14
                                                                    able 9:19 13:11
        155:10            45,946 62:3             89:11,19 103:23
                                                                      14:21 15:7
      3,769 70:12         462-0330 2:18           110:7,14,19
                                                                      28:10,11,13
      3-5 151:10                  5               123:1 124:2,5
                                                                      29:25 33:9 39:5
      3.5 82:24 151:22                            124:10,13
                          5 3:4,5,15 16:25                            42:12 52:14
      3.5. 151:16                                       7             72:10 82:7
                            79:21,23
      3/7/2023 174:4                            7 3:18 90:8,11        90:25 106:11
                          5,638 68:4,9
      30 39:8,8 85:12                             147:12              123:14 130:16
                          5,726 73:7
        132:13 174:16                           7,872 71:17           130:18,22 138:8
                          5/29/2026
        174:24                                  70 167:1              138:23
                            170:17
      300 2:10                                  70,000 167:3        above 100:18
                          50 39:6 74:25
      305 2:5 77:18                             773 2:11              174:6
                          501 2:10
      305,000 77:19                             79 3:12,13,14,15    absolutely
                          56 68:9
      31 137:1                                  7th 1:18 170:8        120:23 131:17
                          5789818 1:25
      33024 9:21                                  171:9 173:4       accept 112:13
                            173:25 174:4
      33134 2:5                                                     accepted 111:18
                          5:03 134:22                   8
      33301 2:11                                                      112:18
                          5:34 148:25           8 62:19 65:18,23
      33442 2:18                                                    access 3:16
                          5th 16:21 17:2,9      8,983 71:19,25
      360 9:2 127:24                                                  81:24 82:20
      397 165:1                                 82 3:16
                                                                      88:23 105:18
      3:00 141:23                                                     145:16,22

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 178 of
                                      217

     [accessed - aggregated]                                                Page 177

      accessed 8:16       accounted             acura 27:19,22      addresses 56:8
        81:8                74:25               adams 2:19 3:5        83:12
      accident 11:5       accounting              21:9 26:2,7,13    adjuster 19:22
        27:8,12,15,18       18:18,20,25           26:20 29:18       adjustments
        33:10 37:7        accuracy 174:9          54:7 58:5 82:11     25:5
        39:10,17 79:25    accurate 4:16           82:13 84:22       administered
        110:8,10,24         21:12 23:17           87:17 95:8          164:23
        111:7,18 113:13     56:21 57:9 63:6       99:20 108:15,17   administering
        113:18 114:2,9      130:10                109:12 142:25       164:6
        114:10,13         accurately 17:1         143:2,11,14       admit 166:7
        116:10,16         accusations             145:20 148:1,10   admitted 78:19
        120:20 123:23       69:7                  148:24 149:1,21   admittedly
        124:1,16,22       acknowledge             150:7 151:1,5       26:10
        125:6,15 126:25     81:2,7                152:14 153:4,19   advance 164:12
        132:17 135:24     acknowledged            154:3,25 155:11   advances
        136:7 145:13        88:10                 155:19 159:15       125:14
      accommodation       acknowledgm...          163:14 165:13     advertising
        39:12,19            81:18               adapting 40:17        67:18,25,25
      accommodati...      acquaintances         add 64:24 67:12       68:1
        40:13               16:18 46:7,8        added 65:17         advised 88:18
      accord 27:21,23     action 172:17         addendum 83:5         167:24
        28:1,18,19          172:18                83:11,17,17       aesthetic 136:12
        29:24 30:3,6,18   activity 39:2           84:8,13,20          136:13,17,18
        30:19 31:3,3      actual 38:5 56:4        87:22 152:2,11    affirm 4:4,15
        34:8,20 35:2        56:13 62:13         addition 44:15        48:25
        160:5               66:5 93:16            135:14            affirmatively
      account 67:10         123:22 130:17       additional 19:9       98:16
        72:24 75:6          130:20                63:9 74:15        afford 45:8
        166:16 167:14     actually 22:2           129:10 140:21       88:13
      accountant 61:6       59:13 62:11,12        140:25            afforded 102:24
        62:21 63:1,2        84:21 89:7          address 9:16,23       103:8 106:22
        64:8 65:9 68:24     121:3 128:12          10:1 43:9         agent 15:10
        69:1 75:25          130:23 135:20         111:24 168:17       88:24
      accountant's          136:8 146:3         addressed 83:18     aggregated
        68:12               151:5 157:18                              58:22

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 179 of
                                      217

     [ago - apologize]                                                      Page 178

      ago 22:5 25:14      allowed 81:3            161:21 162:22       149:23 153:6
        27:9 34:9         almeria 2:4             163:3,5,6,7         155:14 158:2
        124:20 127:22     alter 102:24            164:19 165:3,17     159:7 162:17,21
      agree 49:19         alterations           amounts 51:15         166:1,3 167:11
        97:23 99:13         25:12                 52:13,19 53:8,9     168:3,18
        120:3 132:18      amazon 35:22            54:12,21 88:25    answered 13:6,9
        162:24 168:10       35:24 36:1,9,17       149:12 160:16       13:18,18 34:9
      agreed 84:13,21       36:24 37:8,12         160:21,21 161:9     43:15,25 74:6
        93:5 103:14         37:18,22 38:4         161:23 162:5,6      74:11 106:23
      agreeing 107:16       38:25 39:5,12         162:23              162:3
      agreement 3:16        39:18 40:12         ample 52:14,17      answering
        76:18 81:25         43:6,11,20,24       amplified 103:3       13:10 21:7
        82:15,20 87:11      44:3,7,13 60:9      amscot 164:11         93:25
        87:13,22 88:10      60:10 64:18,19      amsure 164:17       answers 3:11
        88:23 89:7          64:20 70:17,18      angelica 10:4,4       12:20 16:19
        95:21 103:23        71:6 80:2             10:6 18:5           22:4 43:7,19
        147:21              142:17,18           angelica's 11:10      50:9 56:7,19
      agreements            143:24 144:4,8        11:12               57:1,4 59:16
        81:3,6,7,10,13      144:9,16            animal 111:15         104:13 105:10
        81:17             amended 68:19         ankles 42:13          125:20 136:21
      ahead 42:9 66:2     amending                131:10            antonio 11:25
        71:20,21 163:17     138:14              answer 5:23 6:3       12:8
        166:23            amount 8:3 39:9         6:21 13:12 21:5   anybody 100:5
      aid 130:21            47:13,13,15,17        21:20 23:20         120:23,23
      airbag 42:12          47:25 48:5            26:19 32:10         121:18
        136:6               51:14,23,24           33:23 34:16       anymore 145:5
      airport 111:21        52:3,7,17 53:10       35:10 42:5,9      anyway 141:16
        112:3,9             61:5,7 64:5           53:2 56:3,12      apartment
      akins 2:9             70:13 71:11           57:8,18 58:19       14:13
      al 174:4              77:16 83:18           59:3,11,23 66:4   apologies 8:4
      albeit 132:19         99:15 106:5,9         68:15 74:16         54:16 61:20
      alleged 100:14        106:15 139:18         76:9,10 84:23       143:10
        108:22              139:19 142:15         86:22 92:18       apologize 80:10
      allow 42:1,19         147:3 152:19          93:16 108:3         112:22 144:22
        115:14              157:21,24 158:8       136:21,24

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 180 of
                                      217

     [app - automatically]                                                  Page 179

      app 50:10 51:12     apply 118:4             77:11 121:18      asylum 17:22
        54:24 80:4,20     appointments            134:11 165:17     attach 63:18
        80:21 81:1,8,16     126:10,15 127:5     asked 34:13,15        66:23
        82:17 86:6 89:5     134:4,8               40:11 43:8        attached 3:22
        89:13,18,22       appreciate 29:7         61:16 75:6 84:7     66:21 120:2
        96:18 100:15        29:14 109:4           84:20 92:21         150:10,12
        104:14 105:11     approaching             94:18,22 105:3      174:11
        112:10,11,14,19     114:13 118:12         105:4 106:23,25   attempted 150:5
        113:1,2 143:7     approve 63:3            108:20 112:7,21     150:18 152:7,12
        143:17,20         approved 68:14          113:2 115:7       attempts 121:2
        144:13,15           97:12                 119:8 125:12      attend 41:8
        145:16,22 146:4   approximately           141:9 144:23      attendant 18:9
        149:7,10,17         57:12                 150:16 158:2        18:10,14
        153:25 154:14     apps 52:10              159:18 162:2,11   attention 55:23
        154:16 160:14       54:11,20 55:18      asking 21:1         attorney 7:11
        160:20,24           144:4,5,5,11,15       46:21 65:24         7:13,20 8:9,22
      apparently            144:17                80:11 82:8          8:25 13:13,15
        75:15 162:16      april 37:5,7            93:19,24 121:21     13:20 61:19
      appear 87:15,21     arcila 2:24             122:15 150:15       98:9,10,10
        90:20               78:18 79:3          asks 20:12            158:2 160:18
      appearances 2:1     area 12:8 19:18         103:3               167:12,13 168:4
      appeared 170:7        114:4,6,14          asserting 75:8        172:14,16
        171:8               136:3 163:12        assigns 112:11        174:13
      appearing 2:1       areas 7:2               112:15            attorney's 8:21
      appears 12:24       argue 141:17          assistance 15:12      157:25 159:21
        16:5,24 67:1      argumentative           130:12            august 16:21
      applicable            52:21,24 93:11      assistant 128:9     authority 171:6
        83:11             arises 22:18            128:12            authorization
      application 50:7    arrive 17:18          assume 6:4            83:7 152:5
        52:7 81:14,15     arrived 17:4,17       assumed 99:8        authorized
        81:18 82:1          121:5               assumption            172:7
        110:14,18         aside 18:13 19:8        95:6,20,23 96:6   auto 83:1
      applications          20:5 22:3,22,23       96:8                151:24
        8:16                25:11 30:18         assumptions         automatically
                            43:6 65:24            103:25              152:24 153:14

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 181 of
                                      217

     [automobile - behalf]                                                  Page 180

      automobile          background              34:10 35:8 36:4     138:4,10,18
        86:16 88:12        9:15 23:8              40:14 41:20         139:1,7,15
        152:18,25         backlog 49:12           42:4,24 44:2        140:12,18 141:2
        153:14 155:16     badger 162:13           47:14 48:14         141:4,9,13,16
      available 33:14     bag 133:7,11,15         49:8,15,18          142:19,24
        47:10 54:12        134:13                 50:20 51:3,7        147:24 148:12
        55:19 83:13,24    bank 72:24              52:11,20 53:3       148:13,15,19,22
        84:9 89:14,15     bankruptcy              54:22 55:4 56:3     149:22 150:1,9
        151:7 161:11       23:3                   56:12 57:6,16       150:13,23 151:3
        174:6             bar 94:8                57:19,23 58:7,9     151:8,12,17,21
      avenue 2:4          barrier 114:17          58:11 59:1,19       152:16 153:5,10
      average 142:14       114:18,23              60:1,17 61:10       153:11,21 154:6
      aware 141:5         base 149:14             62:5,15 63:12       155:1,12,23
              b           based 41:16             63:24 64:7 65:7     156:17,25
                           51:16,19 68:15         66:3 68:21 69:9     157:13 158:3,11
      b 83:23
                           86:22 91:6,7           69:12,15 72:12      158:17,22 159:5
      back 5:21 8:15
                           95:20 96:8             73:17 74:18         161:14 162:1,9
        9:12 26:7,16,21
                           147:7 162:7            75:17 76:7,16       163:9,22 164:7
        29:15 32:17
                          basically 15:15         77:8 78:1,10        164:10,14,20
        36:13 39:11,16
                           41:15 75:6             82:5 85:7,14        165:5,9,19,24
        39:18 40:11
                           111:2 123:12           87:3 88:6 90:5      166:13,23 167:1
        48:12,17 49:25
                           130:17                 91:11 93:2,9,19     167:10 168:2,10
        75:7 78:15
                          basis 64:3 91:3         94:4,10,16 95:7     168:13,20 174:1
        85:12,14 92:20
                           91:5 92:10,12          95:12 96:4,11       174:1
        94:21 100:9,11
                           107:23 156:12          96:19 97:8,16     bathroom 29:9
        100:12 102:12
                           168:3                  99:11 100:25      beach 2:18
        106:7 108:19
                          basnuevo 2:4,6          101:8,23 104:2    bear 84:2
        112:23,24
                           2:6 3:6 7:8 9:2        104:22,25 106:2   becoming
        121:13 122:23
                           9:4,5,9 20:25          106:13,23           109:15
        124:2 125:23
                           21:8 22:9 23:15        107:12 108:1,10   began 4:1
        128:8 135:4
                           23:25 24:8,12          109:24 111:13     beginning 17:9
        136:10 141:18
                           24:18 26:5             113:16 115:7,13     58:24 96:21
        150:14 162:14
                           27:20 28:22            115:18,22 119:1   behalf 2:3,8,15
        168:17
                           29:3,14 32:7,13        120:3,5 135:17      167:23,24 168:6
      backboard
                           32:22 33:16,21         137:8,13 138:3
        122:3
                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 182 of
                                      217

     [belief - car]                                                         Page 181

      belief 91:7         birth 12:10,14        breaking 159:4      buy 14:15 25:24
        92:10,12 94:23    bit 144:21            brief 104:5           28:6,7
        107:24 109:6      blocking 165:22         156:3 163:13      buying 15:9
        147:20            blood 122:14          briefly 85:13                c
      beliefs 93:12       blow 82:7,8             134:21
                                                                    c 18:25 63:18
      believe 37:7        bodily 86:16          bring 42:11
                                                                      66:21,23 72:17
        51:13 52:2          102:17 152:20       bringing 137:20
                                                                      138:25
        56:24 72:5          157:24 158:8        britney 56:2
                                                                    cace22-009088
        80:22 86:13         159:2,19,24         broke 29:23
                                                                      21:22
        91:20,22 92:5       161:18                50:3 79:5
                                                                    calculation
        92:16,22 99:4,6   body 40:16              104:11 134:25
                                                                      138:11,16
        105:21 110:20       41:24 42:1,21         135:22 136:8
                                                                      140:10 142:15
        111:25 126:1        119:3,11 131:8      broker 15:10
                                                                    calendar 61:1
        127:21,21           131:9 134:18        broward 21:23
                                                                    call 49:13,17
        135:11 143:24     body's 42:18          buckle 130:15
                                                                      101:9 121:2
        145:11,12         bold 26:11            bumper 117:17
                                                                    calling 120:24
        146:25 147:7      bolstering 115:5        117:21
                                                                    calls 121:10
      believed 89:1,15    bone 128:15           bunch 122:12
                                                                      154:21
        163:15            books 9:8               122:21
                                                                    cancel 83:6
      believes 101:15     born 18:5,6           bunny 86:2
                                                                      152:3
      belongs 27:3        bought 14:16,17       business 62:14
                                                                    capacity 40:2,8
      benefits 44:13        14:24 15:21,25        63:9,17,22 64:5
                                                                      75:9
        50:6 125:7          25:2 28:9             67:3,24 68:4,5
                                                                    car 23:9,11,13
      berating 57:8       boulevard 2:10          70:3,9 71:17
                                                                      23:21 25:21,24
      best 4:6,17 7:1     bound 9:7               72:7,10,15,22
                                                                      26:25 27:9,11
        7:25 49:2         brace 130:18            73:1,7 80:16
                                                                      27:15,17 28:7,7
      better 53:19        bracho 46:25,25         137:7,23,25
                                                                      45:8 67:14
      big 56:1 65:20      brake 117:1             138:1 139:20
                                                                      70:11,15 71:19
      bigger 53:15,16       118:20              businesses 56:8
                                                                      71:25 72:3,7,11
        54:1 65:22        brakes 118:5            80:16
                                                                      107:25 116:19
      bills 144:22,24     break 6:18,22         buttrick 125:20
                                                                      116:21,21,24
        163:16 164:2,4      29:3,7,11,25          125:22,25 126:7
                                                                      117:3,12,12,16
        164:22 165:1        48:15 104:5           126:11 128:11
                                                                      117:17,21
        166:7               123:2 158:21        buttrick's
                                                                      118:19 119:7,12
                                                  128:13
                                                                      121:15,17,23
                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 183 of
                                      217

     [car - cleaned]                                                        Page 182

        124:23 160:4,10   cavanaugh             chance 9:5          choose 83:1
        160:11              113:10                19:23 116:23        112:14 151:23
      carabobo 18:19      center 117:12         change 9:13         chose 99:13
        18:20               126:20,24 127:7       16:14,16 36:19    church 73:15,23
      care 32:1 76:6      certain 40:17           50:8 51:10,14       74:20,21
        128:3 133:23        41:18 42:20           51:16,20,25       circuit 21:22
        134:2,6 135:1       94:25 116:4           83:5 102:24         166:22
        167:9               157:1                 131:11 152:3      circular 109:5
      career 19:2         certainly 17:7        changes 25:8,12     city 114:1
      careful 138:19        27:14 39:15           37:25 173:2         152:11
      cares 24:11           40:5 47:23            174:9             civil 174:24,24
      carlos 2:22 4:7       54:17 67:22         changing 51:21      claim 75:8
        4:10 171:7          69:21 70:6            80:19 132:21        90:15 94:13
      carried 30:13         71:12 74:10         character             125:6,10 137:20
        31:9 45:25          89:17 96:3            115:15,20           139:9
      carrier 29:24         99:19 103:20        characteristic      claimed 65:18
        30:3 77:8 148:8     104:6 109:20          69:4                67:23
        160:9 164:15        110:17 113:22       characterization    claiming 64:3
      carry 31:6 34:7       116:13 117:19         77:9 100:3          134:15 135:3,23
        158:7,25            119:20 124:8        characterize          136:25 137:23
      cars 30:22 31:7     certificate 3:7,7       14:6              claims 125:16
        31:9,11 116:7,9     3:8 90:12,16        check 85:10           167:8
      case 1:2 8:17         102:13,23             160:20,21         clarification 8:3
        21:21 75:9 77:9     147:11,17           checked 138:22        9:18 27:21
        125:13,15           149:15 154:15         141:2               165:16
        141:23 165:18       161:5 170:1         cheek 24:14         clarify 61:13
        173:5               171:1 172:1         chest 120:10          127:2,14 130:2
      catheter 133:6      certified 1:24          131:3               133:2
        133:11,13,15,15     4:8 49:9,13,20      chevy 25:13         clarifying 99:21
        134:14            certify 170:6           28:4                164:1
      caught 26:16          171:6 172:7,13      chiropractor        claus 86:1
      caused 122:25       certifying 13:6         127:10,20 128:2   clean 111:14
        123:3,6 154:20    challenged            choice 41:15,21       168:11
        155:4,18            115:17                41:25             cleaned 74:21
                                                                      74:24

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 184 of
                                      217

     [cleaning - considered]                                                Page 183

      cleaning 73:12      comes 117:24            94:13 101:12,18   conclusion
        73:14             comfort 14:1            109:18 149:4        154:22
      clear 99:23           104:5                 152:18            concrete 114:17
        100:11 143:5      comfortable           compensate            114:17,23
      clearer 57:13         13:24 52:9,15         154:10            condition 39:19
      clearly 39:14         91:15 99:17         compensated           39:23 40:13,18
        53:19 87:5          101:17 102:3          167:25              129:14 157:2,18
      client 66:4 69:4      110:6               complaint 3:18      conditions
        69:6 167:12,13    coming 26:16            90:1,11 100:12      82:21 103:11
        168:4               76:14 105:1           100:14 101:3        116:6
      closer 113:14         116:22 156:6          107:3,12 113:9    conduct 141:21
      closest 114:16      commending              147:13            cones 116:24
        114:22              94:17               complete 79:7         117:4,8 118:17
      closing 166:16      comment 66:8            120:17 123:13     confers 102:22
      collision 88:13     commentary            completed           confident
        149:2 154:7,19      93:21                 174:16              101:12
        155:4             commenting            completely 40:1     confidential
      colloquy 22:10        94:17                 83:15 86:13         3:17 77:2
        57:21 58:2        comments 62:7           130:15            confidentiality
        60:18 62:7        commission            compound              76:17
        139:10 140:1,15     170:16 171:15         54:22             confirm 103:16
        166:19            committing            comprehensive       confirmed
      colon 10:14,15        137:20                88:13               45:24
        10:17,20,23       communicatio...       compression         confused 7:3
        11:7,10,17,20       168:4                 122:23 123:20     confusion 59:4
      colostomy 133:7     community 26:6        concept 91:19         163:13
        133:10,15         companies 55:7        concern 13:16       connected
        134:13              55:12 60:16         concerned             172:17
      combined            company 1:9             76:17             connection 8:17
        102:16              2:8 28:18,23        concerning            15:8 22:21
      come 42:11            44:5 52:15 53:6       13:25 88:24         109:1 134:15
        48:12,16 78:15      53:16,17,18,20        129:18 166:6        136:6
        109:6 140:22        53:25 54:2 60:5     concluded           considered
        144:10 168:17       60:7,11,14            169:5               174:17
                            70:11 91:16

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 185 of
                                      217

     [contact - coverage]                                                    Page 184

      contact 88:23           66:14,16,17,19      cost 67:19        cover 33:6,7,8
        116:19 156:6          66:20 67:1          costs 33:7,7,8      33:10,24,25,25
      contained 90:1          70:17 71:2,3,6,9    counsel 7:10 8:4    34:2,4 38:13
        91:6                  71:14,17 72:1         12:11 40:3        86:12 87:5
      contains 82:20          73:5,8 75:16          47:21 54:14       90:25 165:23
        98:15                 82:18,22 83:9         71:11,21 103:18 coverage 30:7,8
      contents 96:8           83:13,20,24           119:18 143:8      30:16 31:12,17
      continue 57:24          84:10,17 86:17        150:20 153:7,8    31:23,24 32:4,6
      continuing 6:6          86:20 87:2 89:7       156:14 159:18     32:20,21 33:1,4
        19:9 23:8 42:5        89:23 91:10           163:17 172:14     33:5,13,20 34:7
      contract 150:17         95:17,19,24           172:16            34:11,17,19
      contractor              96:10 97:15         counsel's 22:10     35:1,5 45:4,11
        85:10 99:24           100:20 102:14         60:18 62:7        45:19,25 46:5
      conversation            102:18 103:12       counselor 91:25     46:10 47:4,7,10
        7:19,22 8:8           103:17 104:1          95:25 98:19       47:18,19 48:1,6
      conversations           107:13 112:20         103:2 104:4       50:6,14,17
        7:10 120:19           113:6 116:3           116:11 145:17     51:10,17,18,24
        121:18                117:5,9 118:2,3     counting 159:8      51:24 52:8,14
      cool 78:24              125:2 126:15,16       159:9             52:14,18,19
      copies 103:16           127:24 129:5,6      country 36:5        53:13,20 54:21
        103:24 174:14         132:25 133:18       counts 22:15        83:3,13,22,24
      copilot 124:24          135:5,15 137:2      county 21:23        84:9,12,17 85:4
      copy 169:2              137:7 142:7,10        170:4 171:3       85:21 86:4,10
      coral 1:20 2:5          142:12 143:7,20       172:4             86:20,25 87:21
      corporation 1:7         144:1 150:6,19      course 87:8         88:15,25 91:15
        1:8,9                 150:25 151:2          101:14 108:11     91:24 92:8,23
      correct 13:7            156:6,10,11,16        119:10 148:6,9    95:11,16,24
        14:19 16:7,10         156:24 157:7,8      court 1:1 20:6      96:7,17 97:6
        19:13 20:3 21:2       157:12,16,17          21:23 26:18       98:17 99:1,9,16
        32:6,21 41:8,13       158:10                49:9,10 58:15     100:17,23,24
        41:19 43:13,21      corrected 24:3,3        58:17 69:10       101:7 102:8,10
        47:7,9 50:12        correctly 4:11          141:2 166:12      102:18 103:8
        51:1 55:3 56:21       44:17 49:6 99:5     courtroom           104:15,15,17
        58:25 59:21,25        103:1 121:4           154:24            105:11,12,13
        62:3,4,14 66:13       132:24 147:16                           106:10,22 107:9

                                     Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 186 of
                                      217

     [coverage - dahl]                                                     Page 185

        107:22,24,25      cruel 29:11             52:16,22 53:1      108:18 109:13
        108:4,8 109:2,3   crushed 136:4,5         54:5,9,17,18       109:14 110:3
        109:11 110:1      current 9:16            55:1,10 56:5,15    111:14,16
        113:3,4,5           16:4 17:20            57:15,17,22        113:22,23 115:4
        146:17,20,22        39:22,25 77:13        58:1,8,10,18,20    115:10,14,20
        147:1,3,16,23       126:15 165:4          59:2,22 60:12      116:1,13,14
        148:3 149:6,11    currently 8:19          60:19 61:15        119:5,20,21
        149:18 150:6,18     10:11 19:12           62:10,17 63:14     120:3,6 121:10
        150:25 152:1,8      23:9 25:10            64:2,14 65:12      121:12 127:4,17
        152:10,13,23,25     35:15 76:3,15         66:2,9,11 69:5,8   130:6 133:5
        153:14,24           90:12,17 130:24       69:11,13,21,22     134:21,24
        154:10 155:17       133:6,23 134:4        71:12,13,22        135:18 137:10
        157:22,24 158:8     134:7,8               72:14 73:24        137:19 138:10
        158:9 159:1,23    cut 94:19 96:21         74:23 75:22        138:22 139:4,8
        159:24 161:12     cv 1:2 173:5            76:8 77:4,22       139:13,25 140:5
        161:18,22                  d              78:5,13,23 79:5    140:14,24 141:1
      coverages 94:25                             79:12,16,20,24     141:7,11,14,24
                          d 3:1
        102:24 107:7,19                           81:22 82:9,12      142:3,22 144:23
                          dahl 2:12 3:5,6
        107:20 108:24                             82:14 84:6 85:5    146:21 147:21
                            5:7,10 7:12 8:5
        151:6                                     85:16,17 87:9      148:18,20,23
                            8:7 9:3,7,11,22
      covered 87:7                                87:18 88:8 90:2    149:19 150:12
                            12:13,17,23
        91:17 92:16                               90:6,9 91:18       150:16 151:10
                            20:17 21:3,10
        95:2,3 97:5                               92:3,4 93:3,14     151:14 153:2,17
                            21:17 22:11,20
        100:13 102:4                              93:24 94:2,8,14    154:2,4,21
                            23:22 24:4,11
        109:10 137:4                              94:20 95:5,9,14    155:6,20,25
                            24:15,19,23
        147:5 161:1,6                             96:3,5,13,23       156:2,20 157:3
                            26:3,8,17,22
      covering 32:1                               97:1,13,19         157:15 158:5,13
                            27:24 29:2,6,17
        38:16                                     98:21,22 99:12     158:19,24 159:6
                            29:21 32:9,16
      created 123:23                              100:5,8 101:2      159:16 161:16
                            32:24 33:18,22
      cross 3:5,6                                 101:20 102:11      162:4,18,20
                            34:12 35:9 36:6
        143:1 148:14                              103:5,7,20,21      163:11,18,25
                            36:7 40:5,6,24
      crosses 117:25                              104:6,10,21        164:8,12,17,25
                            42:2,8 43:5 44:6
      crr 1:23 170:5                              105:3,5,9 106:6    165:6,11,14,15
                            47:16,23,24
        170:15 171:14                             106:16,24 107:2    165:21,25
                            48:11,16 49:25
        172:6,24                                  107:14 108:2,16    166:20,24 167:2
                            50:2,25 51:4,8
                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 187 of
                                      217

     [dahl - dipping]                                                        Page 186

       167:15,20 168:7    day 36:24 93:21       definitely 53:6      despite 59:16
       168:14,23            110:21,23 123:1       101:18               72:7 147:20
      dahl's 69:3           144:9 154:24        degree 19:2,4        destination
       147:12               170:10 171:9,10     delayed 19:7           112:4
      damage 30:10          172:19 173:24       delgado 126:18       determination
       30:12 86:16        days 37:11              127:6                41:18 162:7
       102:17 117:20        174:17              deliver 28:11        determine 89:19
       152:20             dc 1:8                delivered 25:6         94:6 128:25
      damages 31:25       dead 121:9            deliveries 44:21       156:13
       155:18             dealer 26:24            44:21,22,23        develop 108:6
      dan 127:10          dealership 25:3         46:14 64:24        developed
      darwin 11:13,14       27:2,6 28:9,12        65:3 144:12          166:12
      dash 44:15,19       death 86:15           delivery 65:2,17     device 121:25
       44:24 45:2,3,7,9     152:20                67:9 144:5         die 119:4
       45:12,15,18,24     december 43:16        demand 3:18          difference 32:6
       46:4,9 47:1,3,19     43:20               denied 94:13           32:20,25 33:3
       48:2,7 50:5 52:7   deciding 154:1        density 128:15         33:14
       53:4,16,20,23      decision 41:16        departments          differences
       54:2,11,19,23        52:5                  38:13,15 60:9        132:2
       55:5,7,8,13 67:1   declare 173:21        depending            different 32:5
       68:5 70:2,8,16     declared 149:17         160:8                33:20 36:5
       72:18 106:20       declaring             deploy 136:6           37:25 38:12,14
       144:18 161:25        137:25              deponent 4:14          39:11 51:18
      date 12:10,14       deduction 65:22         173:4                55:6,7,12,12,13
       16:23 36:20          66:18 72:7          deposing 174:13        60:9,16 73:13
       37:1 146:1           138:6               deposition 1:13        86:19 94:11
       173:4 174:12       deductions              5:11,14 6:12,17      130:21 137:7,16
      dated 172:19          65:18 137:15          7:5,7,15 8:12,15     154:12 156:21
       173:24               139:21                8:20 9:14 36:22      158:14 159:12
      dates 43:9 56:8     deerfield 2:18          81:23 169:4          160:8
      daughter 10:2       defendant 2:8           172:8              difficult 65:16
       10:24 76:6           2:15 20:14,16       describe 83:4        digital 3:21
      daughter's 10:3     defendants 1:11         129:20             digress 94:9
       48:9                 107:6,8 108:23      described 33:19      dipping 140:8
                                                  152:2

                                   Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 188 of
                                      217

     [direct - duty]                                                         Page 187

      direct 3:5 5:6      divorced 12:3           44:19,22 45:1,1      154:1 161:24
      directly 86:6       divorcing 10:18         47:1 54:4 65:2,3     163:4
      disagree 77:9       divulge 77:2            72:16 76:2 91:8    driven 161:13
        141:24 142:1      doctor 19:19            91:9 93:20         driver 22:14,23
        167:15              32:3 43:3             129:2 156:16         53:24 80:21
      disagreeing           122:11,20             157:10 164:12        81:2 82:1,18
        77:10               126:19 127:9        dollar 161:10,21       83:20 84:15
      disclose 7:9          128:1,4 129:5         162:22               97:7 99:15,22
        75:23 76:23,24      136:12,13,18        dollars 86:14,15       100:1 107:4,16
        150:17,24 152:6   doctors 40:10           95:11 101:25         109:16,21 110:6
        152:12,17           40:25 41:4            102:1,5,10           149:7
      disclosed 76:20       42:22 43:1            147:5,6,7,9        driver's 19:12
      discloses 150:4       125:18,19 129:9       149:18 152:19      drivers 45:19
      disconnect            129:13 136:11         161:18 167:3         46:1,5,10 47:4
        46:15 56:1          136:17              door 44:15,19          48:7 54:3 67:9
        165:1             document 57:10          44:24 45:1,3,7,8     86:4,10,25 87:1
      discoverable          85:19,21 88:4         45:12,15,18,24       100:15 150:4
        166:14,17           90:19 91:4,6          46:4,9 47:1,3,19     153:25
      discovery 76:13       93:4 96:14 97:3       48:1,6 50:4 52:6   driving 45:8,12
      discretion 82:25      97:9,14,15,20         53:4,16,20,23        48:2 50:6,16
        151:23              97:24,25 98:4,5       54:2,11,19,23        52:9,15 53:7,13
      discs 123:21          98:5,15,24            55:5,7,8,13 67:1     53:21 54:10,19
      discussing            102:21 150:2          68:5 70:2,8,16       55:17 66:25
        121:7               151:11,15,18          72:18 106:20         70:16 80:3 95:1
      displace 155:8        173:21                144:18 161:25        95:4 96:18
      displaces           documents 3:22        double 140:7           99:17 101:11,17
        154:23              8:12 14:18,22       download 80:21         106:1,21 110:23
      disregard 26:15       14:23 15:4,5,8      dr 125:20,22,25        115:2 124:21
      dissolution           15:13 96:9            126:7,11,18,19     drove 50:10
        165:18              139:3 140:21          127:6,10,11,20     duly 5:3 170:8
      district 1:1,1        149:20                128:11,13            171:8
      disturbances        doing 6:7 17:24       drag 24:21           duties 37:21
        19:6                17:25 24:9,19       drive 25:22 67:9     duty 141:3,4
      divorce 12:5,7        25:17 36:9            99:14 106:12
        20:2,4,5 22:3       37:25 38:9            115:3,10 146:15

                                   Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 189 of
                                      217

     [e - exactly]                                                           Page 188

               e            144:18              employment             24:16,24 25:1,5
      e 3:1 174:24,25     edge 137:21             43:9 56:9 75:14      25:13 28:4,5
      earlier 22:12         138:12 141:20         75:21              equivalent
        35:5 108:7        education 18:8        emptiness              138:16
        112:8,22 119:8      18:16 19:2,7,8,9      120:17             errata 3:8 173:1
        125:12 135:8      effect 82:2           emt 19:19              174:11,13,16
        137:4 147:22      efficiently 5:18      ended 87:6           esq 2:6,12,19
        150:16 156:8      either 16:17            116:22               174:1
        161:6               20:14 31:10,11      endorsements         established
      early 141:25          31:12 47:12           103:10               53:19
      earn 61:3 138:5       50:15 54:13         ends 87:6            estate 15:10
        138:7 139:23        76:6 89:13          english 4:5,6,11     estimate 8:1
      earned 61:22          103:3,22 104:21       4:12 5:20 13:6     estimated 137:1
        62:2,12 71:2,9      116:15 118:8          13:11,12,18,20     et 174:4
        73:5,7 142:9        133:4 134:5           14:1,2,3,7,23      evaluated 134:1
      earning 60:24         144:4,11,11           15:5,6,14 49:1,2     134:5
        75:9 139:18,22    electronically          49:6,7 81:10,12    evaluations
      earnings 62:13        3:21                enter 173:2            127:6
        75:12 139:19      eleventh 166:21       entered 48:22        eventually
        142:6             email 82:6            entering 147:21        121:15
      easier 20:17          174:13              entire 67:15         everybody 6:8
      easiest 5:14        emailed 174:15          70:13 72:4,7,9       24:5
      east 2:10           emergency               72:11 117:25       everything's
      easter 86:2           122:16,19             118:18               164:5
      easy 20:19          emigrated 36:2        entirety 16:5        eviction 23:6
      eat 48:15             36:4                  72:3 132:22        evidence 115:15
      eats 50:10,15       employ 40:12          entities 26:14       exact 7:25 36:20
        51:12 52:6        employed 35:15          54:13 58:24          39:8,9 61:5,7
        54:20,24 55:2,6     35:18 44:3,10       entitled 7:25          124:14,17 146:1
        55:8,12,16,20     employee 99:23          64:6 76:13 78:2    exactly 7:23
        55:22,23 56:10      100:4 143:5,16        78:8                 80:22 95:18
        57:11 58:22         172:14,15           equal 157:23           105:20 110:20
        59:5,5,9,11,24    employers               158:8 159:2          110:22 111:1,10
        60:3,7,10 72:18     43:10               equinox 23:12          111:24 114:5,9
        80:3 106:4,21                             23:12,21,23          120:11 122:24

                                   Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 190 of
                                      217

     [exactly - filled]                                                      Page 189

        126:1 146:12,14   exists 86:1           eyebrow 125:3       feel 51:5 52:15
      exam 128:15         exit 114:3,4,5,12     eyebrows 136:8         53:7,13,25 58:1
      examination 5:6     exited 48:20                   f             101:16 119:2
        143:1 148:14        49:24                                      120:8,14 121:20
                                                face 26:12
        156:1 162:8       expect 159:11                                121:25 122:15
                                                fact 42:10 72:8
      examined 5:3        expense 67:18                                129:21 131:5,13
                                                  98:24 114:11
        128:9,12            68:3                                       131:16,19
                                                  139:22 152:17
      example 7:3         expenses 66:25                               132:12
                                                  155:9 159:8
        14:10 18:16         67:14,23 68:10                          feeling 131:12
                                                facts 173:21
        22:21 39:3          71:20,25                                   131:14,20 132:5
                                                factually 101:15
        137:6             experienced                                  132:6,7,10,13
                                                fails 174:20
      excellent 24:9        124:2                                   feelings 131:1
                                                fair 6:4 26:17
        24:10             experiencing                              feet 131:16
                                                  112:17 157:9
      exclusions            123:3 134:12                            felt 53:17,21
                                                  168:7,14
        103:10            expert 155:7                                 54:4 91:15
                                                family 16:15,17
      excuse 58:3,4       expires 170:17                               101:12,13,17
                                                fan 56:2
        67:20 92:11         171:15                                     102:3 106:10
                                                fancy 9:3
        140:2,2,3         explain 32:13                                110:6 120:8,16
                                                far 46:22 130:7
      execute 81:13         33:3 66:10                                 120:16
                                                  141:13
      executed 82:17        75:12 78:12                             fifth 162:2,12
                                                fare 111:5 112:9
        103:22            explaining                                fight 166:3
                                                fast 115:2
      exhibit 3:11,12       44:11                                      168:9
                                                  118:10
        3:13,14,15,16     explicitly 100:6                          figure 58:13
                                                father 11:10,12
        3:18,21 12:19     express 1:9 2:8                              65:5,25 94:1
                                                fault 33:20
        12:22 13:3          114:18,20,21,25                            131:7,9 162:5
                                                  145:12 165:13
        16:24 20:11         117:8 118:14                               164:1
                                                february 16:21
        36:22 44:16       extend 102:24                             figures 138:12
                                                  16:25 17:2,9,11
        79:9,11,13,15     extra 64:20,20                            file 68:19 73:1
                                                  80:23,24 84:14
        79:17,19,21,23    extremely                                    80:16 125:6
                                                  105:21 107:5
        81:24 82:4 90:3     131:15                                  filed 21:22 22:5
                                                  145:25 146:6,11
        90:8,11 147:12    extremities                                  61:1 62:24 63:4
                                                  160:23
        150:15              131:1 134:13                               63:7 80:6
                                                federal 49:9
      exhibits 3:10,21    extremity 123:4                              140:11
                                                  63:4 141:1
      existence 84:16       123:7 129:18                            filled 68:24
                                                  174:18,24
        88:25

                                   Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 191 of
                                      217

     [filthy - full]                                                          Page 190

      filthy 111:14          37:23 59:15,15        41:20 42:24       found 86:2
      financially            59:18 83:11,18        44:2 47:14        foundation
         172:17              86:5,11 97:7          52:11,20 54:22      115:16
      find 65:13 76:13       99:14,17 100:18       55:4 59:1,19      four 19:1
         85:25 88:3          101:22 104:17         60:1 62:15          125:19 135:5
         101:6               105:14 107:21         63:12,24 64:7       162:11
      fine 21:8 22:11        109:16,22 113:5       65:7 68:21        fourteen 10:7
         24:6 46:19          144:19 148:3          72:12 74:18       fpr 1:23 170:5
         48:16 66:9 92:3     150:6 152:8,11        75:17 76:7 87:3     170:15 171:14
         141:11 155:13       152:13,25             91:11 93:10         172:6,24
         165:21              153:13 159:1          95:7,12 96:4,11   fracture 135:15
      finish 5:22 19:4       160:8,22 161:12       96:19 97:8,16       135:21
         42:9                163:1 170:3,6         99:11 100:25      fracture's
      finished 19:2          170:16 171:2,14       101:18,23 104:2     135:20
      fired 44:4             172:3 174:18,24       106:2,13,23       fractures
      first 5:3,13,16      florida's 51:18         108:1,10,15         135:23 136:1
         5:19 7:3 11:7     fly 111:13              109:24 119:1      fraudulent
         13:2 16:23        follow 155:25           124:2,6 137:8       138:17
         17:14 25:18       following 4:1           142:19 147:24     free 51:5
         28:10 56:18         20:13                 149:21 150:7      friday 7:21
         61:4 80:20        follows 5:4             151:1,3 152:14    friend 49:13
         107:4 110:14,21   food 44:21,22           153:19 154:2,3      124:15,20,21
         117:20 122:21       44:23 59:5            155:6,19,21       friend's 27:2
         162:11,17 167:4   foot 129:23,25          156:17,25         friends 16:17
      five 35:25             130:4,4 131:20        157:13 158:3,11     25:2 27:3,5 46:7
      fix 24:5               131:20,21,24          158:17,22 159:5     46:8,12,18,20
      fl 174:14              132:5,6,8,23          161:14 163:9        46:23 53:5 55:9
      flavio 27:7          foreclosure 23:6      formal 18:15,15       74:20 120:25
      flight 18:9,10,14    foregoing 172:8         19:8,9 75:20,23   front 116:21
      florida 1:1,20         173:21              formation 120:4       117:11,12,13,17
         2:5,11,18 9:20    foreign 1:7,8,9       formed 138:11         117:21,22,25
         12:5 16:9,12      forgot 22:5 80:9      forms 122:12        fuel 67:11
         20:8 21:23        form 32:7,14,22       fort 2:11 111:21    full 30:7,8 34:11
         35:13,18,20         33:16,21 34:10        112:3,9             34:17 37:14
         36:2,4,14 37:17     35:8 40:14,19                             64:22 71:6,8,9

                                    Veritext Legal Solutions
      800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 192 of
                                      217

     [full - hand]                                                         Page 191

        79:2 117:7          101:8             112:24 121:13         167:10,16,19
        123:13 131:1      girlfriend          128:6 131:10          168:2,9,21
        143:25              124:20            133:3 137:11        good 5:8,9 6:15
      fully 167:25        give 4:16 7:1,8     138:2 141:11,17       57:15,22 58:8
      function 129:18       28:7 43:2 61:6    148:16 156:3          115:17 139:14
        133:9,21            61:19 62:21       159:24 163:17         139:16,17
      fundamental           63:1,2 64:9       165:24 166:23         168:20
        56:1 166:6          116:23,25         167:16              goodbye 93:15
      funds 77:14           148:16 161:17   goes 13:22 63:7       gotten 140:22
      further 93:6          164:16            66:23                 140:23
        102:21 103:8      given 5:14 77:18 going 6:3,24,25        government
        142:22 168:15       129:7 140:12      7:8 9:12 12:17        63:4 64:13
        172:13            gives 112:15        12:18,19 20:10      governments
      furthest 114:24       128:5             21:3 24:7 26:15       19:16
      fusion 135:5,7      giving 8:20         29:10,12,23         gps 112:6
      future 126:8          46:23             36:21 48:11         grabbed 120:24
        129:11            glad 26:13          50:8,20,25 51:4     graduate 18:22
              g           glitch 9:18         57:7 58:18          great 78:25
                          go 5:17,17 6:22     60:23 66:7            82:12
      gables 1:20 2:5
                            21:3 29:8,23      71:16 73:25         gross 77:25 78:6
      gain 149:9
                            32:3,17 38:19     77:23,24 78:7       ground 5:17,19
      gaining 145:16
                            38:19 39:23       79:8 80:12            139:14,16,17
        145:22
                            42:9,18 43:6      81:22,23 82:13      guess 32:11,11
      gears 9:13 15:16
                            56:6 60:22        85:3,15 91:16         35:11 44:4
        35:12 50:8
                            61:25 65:6 66:2   92:16 101:16          61:18
        80:19 132:21
                            66:12 70:18,19    102:12 111:4        guilty 51:1,4
      geico 76:18,24
                            70:24 71:20,21    114:18,20           guyagos 27:7
      general 7:2 91:7
                            75:7,11,13        115:14,23 116:3     guys 76:19
        109:25 146:23
                            78:10,13,14       119:4 122:14        gyn 136:11
        158:15 160:2
                            85:7,18,25        123:14 136:9                h
      generally 87:19
                            87:19 88:9        137:16,17
        88:2 157:21,23                                            habit 115:15,21
                            89:18 92:20       141:16 143:4,19
        159:19                                                    half 19:1 64:23
                            94:21 100:9,11    150:14 161:1
      generated 80:2                                              hand 4:3,14
                            100:12 106:7      162:15 164:4,5
      getting 7:2                                                   48:24 85:10
                            108:19 112:23     165:25 166:9
        13:23 65:22
                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 193 of
                                      217

     [handicap - implied]                                                    Page 192

      handicap 25:20        helped 13:13          honda 27:19,23     hustle 72:6
        25:20                 15:1                 28:1,18,19                 i
      happen 53:14          helping 15:1,1,4       29:24 30:3,6,18
                                                                     idea 7:1 13:25
        90:25 101:16          121:8                30:19 35:2
                                                                     identification
        102:5,7 161:2       hereto 3:23            160:5
                                                                       12:21 79:10,14
      happened              hh 170:16             honest 52:12
                                                                       79:18,22 82:3
        120:25                171:15               61:7 65:8
                                                                       90:7
      happening             hi 143:3               106:14 111:9
                                                                     identified 21:4
        123:21              high 18:16             166:13
                                                                       22:3 44:16
      happens 32:14         higher 64:16          hood 117:22
                                                                       45:24 56:10
        69:9                highest 18:8,15       hope 5:13 20:23
                                                                       63:19 75:15,16
      harass 162:12         hip 131:21,22         horvath 1:23
                                                                       80:15 113:10
      harassing 58:14         131:23 132:8,22      170:5,15 171:14
                                                                       125:19 126:17
        69:6 137:14           135:15,16,19         172:6,24
                                                                       127:9
        141:19              hips 131:9            hospital 122:5,7
                                                                     identifies 84:9
      harness 119:16        hire 40:12 98:9        122:12 128:13
                                                                     identify 21:5
      head 6:10             history 60:24         hour 8:1,5,6
                                                                       29:23 64:4
      heading 118:14          140:6                29:10,13 36:16
                                                                       74:14
      health 44:12          hit 119:12 125:3       43:13 48:12
                                                                     identifying
        70:1,7 165:8        hold 42:4,4 57:6       110:25 112:1
                                                                       63:10
        167:9                 76:16 93:9          hours 42:15,15
                                                                     ignore 155:13
      healthcare 40:7         101:8 107:10         64:20,20 141:22
                                                                     immediately
        41:11,17              115:7 130:12,14      141:22 143:19
                                                                       120:7 157:6
      hear 39:14            holder 102:23          144:9 148:21
                                                                     immigrated
        46:17 67:21         holding 140:13        house 14:11,13
                                                                       17:25 19:10
        74:8 83:14,15       hollow 120:16          14:14,19,24
                                                                     impact 117:13
        96:21 104:20,22       120:17               15:9,16,18,25
                                                                       117:16,21 118:4
        168:13              hollywood 9:20         16:4 22:16
                                                                       118:7,12,18,22
      heard 122:3             10:24 14:12          73:12,14 85:11
                                                                       120:7 156:9,16
      hearing 17:6            113:14 114:3,4       111:2
                                                                       156:18,24 157:7
      held 36:13              114:12 122:8        huge 26:5
                                                                       157:12
      hello 46:17           home 14:12            hurt 42:13,14
                                                                     impermissible
        104:22                42:14 43:4           136:2
                                                                       141:21
      help 33:9 42:12         144:10              husband 11:1,4
                                                                     implied 133:20
        130:17,20                                  15:24

                                     Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 194 of
                                      217

     [implies - internet]                                                     Page 193

      implies 96:15           140:7 142:18         135:2 152:20         107:19 108:13
      important 6:6         incorrect 33:2         157:24 158:9         108:14,24
        53:24                 57:14                159:19,24            109:17,23 110:1
      improper 62:8         incur 33:8             161:18               125:7 134:16
        93:20 94:16         independent          inputs 118:8           145:15,21 146:3
        115:9 154:21          73:2 99:24         inquire 45:2           146:5,16,20
        155:6,7 162:12      independently        insert 133:13          147:12,17 148:2
      improve 133:20          100:22 101:5       inserting 93:11        148:5,8 149:15
      improvements          indicate 146:19      instance 32:2          149:18 151:23
        129:17              indicates 66:15      instruct 57:7,17       151:24 152:3,10
      imputation 69:3       indicating 58:23       66:4 167:10          152:19 153:15
      inaccuracy            individual             168:2                154:15 155:17
        98:23,24              113:8,9            instructed             159:9,12 160:3
      inaccurate            inference 77:7         168:18               160:7,9 161:5
        68:17,19,23         infinity 30:4,6      instruction 7:9        164:15 165:8
        69:2,6 98:3,15        30:16,25 34:24       167:16             insure 160:4,11
      incident 132:15       inflammation         insurance 1:9        insured 28:5,19
      include 30:9            123:10               2:8 19:22 27:25      30:25
        67:14 68:1 69:1     information            28:3,8,17,18,21    insurer 76:20
        75:25                 12:16 13:15          29:24 30:2,5         88:20
      included 68:13          89:12,23,25          31:6,9,14 33:19    insures 160:10
        68:16 70:22           90:15                33:24 34:1,1,3,4   intellectual
        92:24 136:21,24     informational          34:5,21,22           166:3
        147:12 148:3          102:22               44:12 45:4,7       intend 68:19
        152:24 153:14       initial 129:16         54:12,21 55:17     intentionally
      including 31:3        injured 124:25         55:19 70:1,2,7,8     24:13
        82:21               injuries 32:2          70:10,11 82:22     interested
      income 33:6,14          123:18 134:14        83:1,6,13,18,22      105:23,25
        63:17 64:17           134:17 154:18        83:24 84:12          172:18
        65:17 73:8            155:5                85:1 86:17         interior 119:12
        74:15,25 75:9       injury 41:13           88:12,24 89:12     internet 45:22
        75:12 76:5            86:16 87:6           89:14,23,25          45:23 84:18,20
        77:14 80:1,2,6        88:14 102:6,17       90:10,13,15,16       97:17,21 102:20
        137:15,24,24          123:13,15,23         94:12 102:13         160:25
        138:5,7,15            129:16 134:12        105:24,25 107:7

                                    Veritext Legal Solutions
      800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 195 of
                                      217

     [interpret - kattan]                                                    Page 194

      interpret 4:5,11        113:19,19,20        israel 21:4,21     job 1:25 24:10
        20:21 49:1,6          116:11,12             76:19 77:14,17     24:10 36:9
        69:17                 119:18,19 127:1       145:11 154:20      37:21,24 38:24
      interpretation          127:1,13,13           155:3 156:14       39:4,11,24
        23:16 57:9            130:1,1 133:1,1       167:4,7 168:1      70:17,18 73:13
        73:18 96:22           143:8,9,12,12       israel's 155:16      74:19 173:25
        105:3 113:17          145:17,18           issue 22:17          174:4
      interpreter 1:17        150:20,21             41:22 137:18     join 149:21
        2:22,23,24 3:7        151:20 153:7,8        140:20 147:16      153:4,19 154:25
        4:7,8,18 5:20,22      163:17 171:7          155:9 163:21       155:11
        6:8 8:2,2 9:17      interrogatories         165:23           joined 78:18
        9:17,19 12:11         3:11 12:20          issued 19:16       jokes 148:24
        12:11 13:23           16:20 17:8 22:4     issues 123:3,6     jones 2:19 26:20
        20:21,24 21:10        43:7,15 44:1          130:25 134:11      150:15 163:14
        21:15 23:15,18        56:7,20 57:2,4        135:4 138:13     judicial 20:6
        23:19 24:2,2,3,9      58:6 74:6,11          162:14 166:15      22:7
        26:18 27:21           75:14 125:20          167:12           july 21:22 126:2
        40:3,3 47:21          146:19 164:18       item 67:17           126:2,3,14
        48:21 49:3,11       interrogatory                  j           127:12
        49:16,19 54:14        20:12 43:8 50:9                        jumping 112:22
                                                  january 3:17
        54:15 61:10,12        59:16 74:17                            june 126:2,3,14
                                                    15:20 17:17
        61:12 69:16,16        104:13 105:10                            127:3,7,15,15
                                                    80:23,24 82:2
        69:18,18,19           136:22,22,25                           jurus 127:10,11
                                                    83:12 84:14
        71:10,10,21         intervening                                127:20
                                                    105:20,21
        73:20,20,21           22:6                                   jury 3:18
                                                    145:25 146:2,6
        78:21,21,25         invades 167:11                             154:23
                                                    146:11
        79:3 84:2,3         invented 126:5                                    k
                                                  javier 2:6 24:7
        91:25 92:1          involved 20:6
                                                    26:15 29:6       k 2:12
        95:25 96:1,20         22:7 23:2,5
                                                    77:22 82:11      karina 1:4,15
        96:24,24 98:19        38:16 63:23
                                                    115:11 148:24      3:4 5:2 21:20
        98:20 103:2,3,4       110:8,10 111:6
                                                    164:3 166:20       149:2 170:7
        103:18,19 104:4       116:10,16 125:5
                                                    174:1              172:9 173:4
        104:5,7,19,19       ipolito 11:23,24
                                                  jesus 46:24,25       174:4,4,8,10,12
        104:23,24 105:4       12:2
                                                  joanne 126:18      kattan 2:23
        105:7,7 107:12
                                                                       48:21,23 49:5,8
                                     Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 196 of
                                      217

     [kattan - license]                                                       Page 195

        49:24                75:3,18 76:22       l3 135:11           led 154:13 155:5
      keep 82:13             77:2,23 78:9        lack 155:10            156:23
        85:15 99:21          91:15 98:9          lacks 154:4         left 111:2
        109:4 115:23         101:17 102:2,6      land 36:6              114:24 117:5
      kidding 148:20         102:7,9 106:19      lane 114:14,19         118:8 120:2
      kind 9:13,14           106:24 110:1          114:20,21,24         127:6 128:13
        13:22 57:25          113:13,24 114:4       116:25 117:7,25      130:4 131:22,24
        78:11 102:3,6,8      115:12,21 116:2       118:13,14,18         132:3,21
        128:23 130:11        119:13 120:11       lanes 114:21,25     legal 14:18 20:1
      kmm 1:2 173:5          120:25 122:13         117:8                154:22 174:23
      knee 131:23,23         122:13 124:17       las 2:10            legs 121:20
        131:24               129:22,23           late 164:15            122:1,15 129:22
      knees 130:13,18        132:11 134:19       latest 164:20          130:12,13
        131:2,2,4,10,13      135:25,25 137:4     lauderdale 2:11     lender 14:25
        131:16               137:14,19             111:21 112:3,9    length 150:3
      knew 50:4 158:6        138:20,24 140:8     law 34:3,6 107:7    leprechaun 86:1
        158:9 163:5          140:20 144:23         107:21 108:5,9    letting 57:19,20
      know 6:1,18 9:6        145:4 147:2           108:24 109:7,17      57:23
        20:17 21:1,14        148:23 156:23         109:22 138:24     level 14:1,6 18:8
        22:14,15,16,17       157:10,21 160:7       146:20 158:21        18:15 41:13
        22:18,19 26:8        162:10 163:10         159:4                123:15,19
        27:1,3 31:14,15      163:22 164:14       lawsuit 20:15          133:21 135:5
        31:16,25 32:1        164:19 165:12         22:4,15 134:15    levels 104:15
        33:7,8 34:4 43:1   knowingly             lawyer 94:8            123:18 135:7,9
        43:4 44:10           158:20                138:20            lfl 1:2 173:5
        45:15,17,21        knowledge             lawyers 2:16        liability 30:12
        46:3,13 48:10        155:20              lay 40:16,22           32:4,20 33:1,4
        48:11 52:13,17     knows 32:15             41:5,23 154:22       45:7 86:17
        52:22 53:11          133:22 165:6          155:8,9              88:13 95:11
        55:13 57:19,20              l            learn 47:17,25         102:18 152:18
        57:23 58:15,15                             48:5 154:8           152:25 153:15
                           l1 123:25 135:11
        58:16,18 61:16                           leather 9:7            159:2
                           l2 123:9,15,16
        63:25 64:1 65:8                          lebron 126:18       license 19:13
                             123:19,23 135:8
        65:9,10,24 67:8                            126:19 127:6         25:19
                             135:11,20
        68:12,18,25

                                    Veritext Legal Solutions
      800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 197 of
                                      217

     [licensed - ma'am]                                                    Page 196

      licensed 19:22          144:21             looked 55:15             m
      licenses 19:16       live 9:23 10:1,15       89:22           ma'am 21:19
      lien 163:20,23          10:20,23 17:14     looking 29:5       32:10 33:3 34:8
         163:24 164:21     lived 10:8 15:19        103:15           34:13 35:4,6,12
         164:23,24 165:2      17:9 30:20,23      looks 16:9 65:21   41:9 42:3,9
         165:2 167:8       living 16:4,6,20      lose 65:1,3        45:21 46:3,15
      lien's 164:8,10         16:24 17:11,12       131:12           51:21 53:2
      life 22:8 134:2,6       44:24              losing 67:4,5,7    54:10 55:11,25
      lift 39:4,5          llc 1:8 2:15            137:6            56:11,16,22,24
      light 154:24         llm 138:21            loss 26:3,5,11,14  58:21 60:20
      limit 30:12          loading 38:21           62:18 63:18,19   62:11,18,25
         102:17            loans 125:14            64:4 67:24       63:9,16 66:12
      limitations 41:5        164:13               71:17 72:10      67:13 68:4,8,14
         103:10            location 1:20           75:8 80:15 83:3  69:14,23 70:1
      limited 131:6,6         37:18 38:12          138:1 152:1      71:19 73:13,25
         131:14,14,16,22   lock 130:18           losses 67:6        74:1,12,14,24
         132:9,10          locka 37:18             137:23 139:21    75:8,24 76:2,15
      limits 51:9          log 110:13,18           154:10           77:13 79:25
         55:17 100:17,18   logged 153:25         lost 26:1,9 63:11  81:22 84:7,19
         100:24 105:12     logic 109:5             63:23 64:5       85:6,18 86:3
         113:4 159:2,24    long 7:22 11:1          66:22,25 137:1   87:12,25 88:22
      lina 2:24 78:18         15:19 23:13,23     lot 19:5 37:25     89:4 90:14 91:2
         78:19 79:3           35:23 40:15,16       39:2 54:4 116:7  91:19,22 92:10
      lina's 79:2             40:21,22,23          122:22 123:9,20  92:17 93:8 94:3
      line 62:19 63:17        41:23 42:13        loud 6:9           94:15,21 96:14
         65:17,18,22,23       47:1 78:23         low 33:6,14        97:3,23 98:3
         67:17 173:6          110:23 111:1       lower 123:4,7      99:13 100:10,13
      list 43:9 56:8          121:24               129:18 130:25    101:21 104:11
      listed 44:15         look 27:1 28:20         131:10 134:13    105:10,15,18,24
         62:18 102:25         29:1,4,8,23        lucie 170:4        106:7,17,19
         103:9 147:17,18      50:18 54:11,20       171:3 172:4      107:3,15,23
      literally 75:4          55:16,19 65:25     luck 57:15,22      108:6,21 109:5
         88:2                 70:24 73:4           58:8 115:17      109:9,15 110:7
      little 14:4,4,5         75:11 89:12                           113:24 115:2
         129:19 131:6         101:6                                 116:2 117:3
                                    Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 198 of
                                      217

     [ma'am - minimum]                                                     Page 197

       121:14 141:15       135:2 146:16         marykay 1:23       medically 138:8
       142:4 155:14        151:12 162:7          170:5,15 171:14   medicare 165:7
       156:3,5,9,12,21     168:11                172:6,24          medicine 19:19
       157:4 158:6,20     making 36:16          matched 112:8       42:17
       159:4,13,25         41:16 43:12           113:8             medula 123:9
       160:13 161:3,9      52:5 65:21           math 17:25,25      meeting 48:20
       161:20 162:21       137:5                matter 20:15        48:22 49:23,24
       163:1              management             42:10 118:19       78:18
      made 25:12           167:13               mean 22:17         member 94:8
       41:15,17,21        managing 128:2         38:6,8,11 39:7    memorial 122:8
       56:22 59:16        mandatory              41:22 43:1        mention 84:15
       64:16,25 66:24      33:20                 46:20,21 63:2     mentioned
       92:25 95:20,22     manner 155:4           63:15 69:2         135:8
       96:6 104:18        map 129:21             74:20 75:18       met 73:15
       105:16 113:6       march 1:18             76:10,11 80:11    miami 59:6,7,14
       121:2 122:12        36:25 37:1,2,2        87:4 91:12         111:25 112:4
       125:10 149:10       170:8,10 171:9        101:24 108:12      113:15
       154:14              171:10 172:19         111:1 112:13      michael 21:21
      mahogany 9:8         173:4 174:3           115:19 116:22      76:19 154:20
      maintain 83:1       marie 126:18           120:11,12,13,16    155:3
       151:24             mark 12:17,18          120:21 121:9      middle 119:3
      maintained 83:6      81:23 90:2            130:11 132:16     military 2:17
       152:4              marked 3:17,22         134:19 135:20     million 86:14,15
      maintains            12:21 20:11           147:4 159:8        95:10 96:16
       151:22 152:18       36:22 79:10,14       means 22:19         97:5 100:19,24
      make 5:21 6:14       79:18,22 82:3        meat 141:23,25      101:7,22,25
       9:19 13:24 21:6     90:7 116:21          mechanics           102:1,5,10,16
       25:4,8 32:17       marking 79:8           13:17              147:5,6,7,9
       39:18 50:23        marriage 11:7,8       medicaid 165:7      149:17 152:19
       52:24 53:13         12:2                 medical 33:8        161:17
       58:16 64:11        married 10:11          41:8 42:18        mind 78:3
       65:1,3 75:5 89:4    10:13 11:14,16        88:14 129:4       mine 13:4 49:14
       89:6 99:25          11:19,22,24           135:1 144:21,24   minimum 20:2
       100:2,11 112:23    marrying 11:17         163:15 164:22      99:15 138:13
       118:7 128:19,25     11:20                                    161:21

                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 199 of
                                      217

     [minute - negligence]                                                 Page 198

      minute 48:14         92:5 134:25           88:15 90:20       multiple 55:18
      minutes 22:6         143:3,15 148:8        91:24 92:7          94:18 156:21
       29:8                158:16 166:25         95:16,24 96:7             n
      mischaracteri...     170:7 172:9           96:17 97:6
                                                                   n 3:1
       149:19 153:2,18     173:3,4 174:4,4       98:17 99:1,16
                                                                   name 5:10 10:3
      mischaracteri...     174:8,10,12           100:16 106:9
                                                                     26:24 27:4,5
       151:15             money 61:3             107:9,20 109:2
                                                                     28:14,23 30:2
      mischaracteri...     65:1,1,3,3,21         149:6 150:6
                                                                     46:24 79:2
       151:11              67:7 76:2,12,15       152:8,23 153:13
                                                                     111:11,17
      misheard 73:21       89:6 139:18,22        153:24 154:10
                                                                     121:21 122:15
      mislead 57:14        162:23 166:2,4        157:22 158:8
                                                                     145:12 164:15
      misleading           166:7                 159:1,23 160:15
                                                                   names 43:9
       138:17             month 23:24            161:11,22
                                                                     46:16,19,22
      misrepresenta...     24:18,20,25          motorists 51:25
                                                                   native 13:25
       98:16               25:14 27:9           move 16:12,15
                                                                   navas 2:22 4:10
      missed 26:8,20      months 43:21           17:16 22:9,11
                                                                     48:20 171:7
       61:20               43:25 105:22          22:13 54:7
                                                                   necessary
      missing 140:25       140:9                 57:24 60:17
                                                                     168:19
      mission 142:1       morgan 2:9             62:5,6 66:3
                                                                   need 6:18 42:6
      misspoke            morganakins....        84:23 87:17
                                                                     47:21 49:13
       135:17              2:12                  93:16 95:8
                                                                     56:3,12 78:9
      mistake 92:25       morning 5:8,9          107:1 108:16,17
                                                                     113:20 129:10
      misunderstan...      5:11                  109:12,13 115:4
                                                                     138:23 141:5
       32:18              motion 115:22          121:10 129:1,23
                                                                     164:19 166:11
      misunderstood        137:17                129:24,24 130:3
                                                                     166:21 167:18
       33:2               motor 155:3            130:3 159:15
                                                                   needed 52:9
      modifications       motorist 30:16        moved 15:20,20
                                                                     100:23 106:10
       25:4,9,12           31:17,22 32:21        16:9 17:12
                                                                     106:11 122:18
      modify 102:24        33:5,13 34:7,19       35:13,18 36:14
                                                                     163:3,7
      moment 84:3          35:1 45:11,19         37:17,23 59:18
                                                                   needs 9:17
      moments 34:9         45:25 46:5,10         123:22 128:21
                                                                     127:1,13 130:1
      monasterio 1:4       47:3,18 48:1,6       moves 128:25
                                                                     133:2
       1:15 3:4 5:2        50:5 52:8 84:17      mri 124:6,9,12
                                                                   negative 66:18
       9:12 10:5 21:21     85:21 86:4,9,20       125:1
                                                                   negligence
       29:22 50:3 79:6     86:25 87:21
                                                                     154:20
                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 200 of
                                      217

     [negotiations - old]                                                    Page 199

      negotiations          notes 80:12             88:6 93:10         139:15
        167:22                130:8 148:17          149:19 151:12    okay 5:12,24
      neither 150:3           172:12                151:14,18 153:2    6:2,5,11,16,19
      net 77:21,24          notice 83:7             153:17 154:2,21    6:23 9:12 20:10
      network 149:4           152:4                 155:6,20 162:1     21:15 22:2 26:7
      neurofit 127:24       novas 49:23           obligation 91:23     27:25 29:15
      neurologist           november 43:12          94:24 141:1        35:12 38:15
        133:24 134:9        number 39:8           obligations          46:8,20 49:17
      never 57:3 59:7         64:16 66:16           109:17 153:3       52:3 54:6 55:25
        68:9 86:23            114:5 139:9         observation          58:10 61:21
        105:25 140:19         167:5                 126:22             66:21 69:8
        154:24 156:5,9      numbers 65:20         observe 78:22        72:15 73:4,16
      new 25:24 40:18         69:1                observed 26:9        73:25 75:4
      nicer 26:13           nurse 136:11          obtain 72:21         76:22,23 81:21
      nicknames             nursing 19:19         obtained 48:7        85:14,16,24
        46:23                       o             occasion 69:5        86:13 87:10
      nine 90:11                                  occur 7:20           88:9 91:19
                            oath 3:7,7 56:22
      nod 6:10                                      113:13,18 114:2    96:14 97:14
                              56:25 57:2
      nohemy 2:23                                 occurred 11:5        98:7 107:15
                              59:17,23 170:1
        48:21 49:5                                  80:1 110:24        110:4,7 111:11
                              171:1
      nonanswer                                     149:3              121:2 126:13
                            ob 136:11
        22:12                                     offer 115:20         127:23 132:1
                            obamacare
      nonresponsive                               offered 54:3         136:20 137:11
                              165:9
        54:8 108:16                                 107:6 108:23       139:25 144:20
                            object 23:16
      normal 131:15                                 160:22             146:13,16
                              32:7,14 41:20
        132:6,7,10,13                             office 8:21 9:3,8    148:10 149:2,9
                              59:19 62:15
        157:2,4                                     42:11 68:3,4,6,9   149:22 150:9,14
                              68:21 69:3
      normally                                      68:10 111:14       151:17 152:22
                              73:17,18 93:9
        132:11 152:24                               128:10,13          157:20 158:20
                              96:4 100:2
      notary 170:6,16                             offset 65:19         161:20 163:25
                              113:16 137:13
        171:14                                    oh 17:4 28:20        164:25 165:11
                              156:17
      note 3:21 53:3                                55:14 61:18        169:3
                            objection 21:9
        174:10                                      66:2 71:20       olas 2:10
                              22:9 24:1 52:20
      noted 100:17                                  73:20 74:5       old 10:6 18:2,3
                              53:3 60:17 62:5
                                                    103:5 121:21       24:21
                              62:6 66:3 84:22
                                     Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 201 of
                                      217

     [omission - pat]                                                      Page 200

      omission 141:7      option 41:25           78:16,17 85:13    paramedics
      once 11:21          order 25:5,18          104:8,9 134:22     121:4,6,19
        18:11 36:14         28:7,12 39:4         134:23 169:5      pardon 143:11
        37:22 89:9          42:10 52:9          p2p 88:11          part 37:15,16
        121:17              57:24 106:11,12      152:11             64:21 116:19,20
      one's 106:24          128:23,23,24,24     paa 83:5 103:23     117:14 119:11
      ones 47:2 55:9        130:16 137:18        147:21 150:10      119:12 140:9
        97:10               161:24 163:4         150:12,14 152:2    147:13 160:14
      online 85:23,24       168:21 169:2        pack 38:8,18       particular
        85:25 86:3,23     ordering 174:15       packages 38:19      39:23 40:20
        87:4,15 89:21     orders 128:5           38:21              41:2,6 82:24
        95:22 97:11       orlando 10:16         packing 36:11       112:9
        101:24,24,25        10:21                36:12 37:20,22    parties 20:20
        102:9,12 113:1    outlines 83:23         38:2,4,7,8         30:10,13 31:24
        147:5,8,10        outside 121:7         page 3:3,10         172:15,16
        160:25            outstanding            12:25 13:3         174:15
      opa 37:18             144:24 145:1         90:11,12 160:25   partner 80:21
      operate 25:5          163:21,24 167:8      161:3 173:6        81:2 82:1 83:20
        81:4 122:22,24    overall 128:3         pages 12:24         84:15 87:1 97:7
      operated 128:5      overtime 64:22         172:10             99:14,22 100:1
      operating 45:4      owe 145:2,4           paid 64:23          107:16
        47:20 51:11       own 23:9,11            67:13 78:5,6      party 19:25
        67:3 72:22          25:2 27:9,11,15      145:6,8 163:16     20:1,14
        83:19 87:1 97:7     27:17 30:11          163:20,23 164:2   pass 28:11
        106:20 155:3        32:1 42:22           164:9,11,21,23    passenger 111:6
        156:14              70:11 93:12,21       167:25             111:12,17
      operation             108:13 115:15       paint 28:10        passengers 59:6
        125:21,21           133:13              painting 25:10      59:13,14 111:5
      opinion 24:12       owned 23:13            25:11              111:8
        155:7               24:16,24 30:22      pandemic 49:12     past 22:18
      opinions 94:11      owning 67:14          paragraph          pat 9:2 26:15
      opportunity                 p              82:24 83:23        36:5 42:4 49:18
        117:1 118:20                             100:14 107:11      50:20 56:14
                          p.a. 2:4
      opposed 6:9                               paramedic           57:20 82:5 85:7
                          p.m. 1:19 48:18
                                                 120:22             99:25 150:10
                            48:19 49:21,22
                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 202 of
                                      217

     [pat - position]                                                       Page 201

        151:13            periods 40:15         pick 85:11 89:6       27:13 39:14
      patrick 2:12          40:16,21,22,23        144:12              48:4,23 49:15
        5:10                41:6,23 42:13       picked 111:5,8        58:4 67:21 70:5
      pause 85:9          perjury 173:21        picking 111:6         74:9 77:6 79:2
      pay 43:10 44:9      permission              111:20              89:16 117:18
        56:9 155:17         76:24               pierce 9:20           124:7 129:20
        166:8             permit 41:24          pip 33:20             139:12 156:7
      payday 164:12       person 33:24,25       place 28:15           174:12
      paying 55:23          34:5 68:24            84:22 128:20      pllc 2:9
        68:9                73:15,19 156:18       130:19 133:16     plural 73:19
      payment 44:7        personal 88:12        placed 3:22 28:4    plus 130:20
        72:3                88:14 137:23          40:25 41:4        point 45:10
      payments 88:14        155:16,20           places 60:24          117:20 118:12
        146:17            personally 14:6         140:7               119:4 130:9
      pdahl 2:12            67:18               placing 42:22         133:20 146:11
      pelvis 135:19       phone 28:21,24        plaintiff 1:5 2:3     156:22
      penalties 173:21      29:5 101:9            3:10 12:21        poles 117:25
      pending 6:21          120:22,24 128:7       20:14,16 79:10    policies 102:25
        56:14 165:17      phrase 122:3            79:14,18,22         103:9,11,16,24
      people 15:12        phrased 156:14          82:3 90:7 99:23   policy 30:16
        25:19 33:6,15     physiatrist           plaintiff's 3:11      34:23 51:19
        41:12 46:13         134:1,5               12:19,20            88:12 89:1
        73:19,23 74:15    physical 37:21        plan 165:7,10         145:15,21 146:3
        74:21,24 81:25      38:24 39:2          planner 134:2,6       146:5,10 148:2
        85:25 121:3         40:13 127:23        planning 25:16        148:5 153:15,23
      percent 9:9,10        130:17,20             111:22 112:2        155:17 158:9
        74:25 132:12,13     134:17              plans 126:7           159:2
      perfect 29:18       physically 38:20      platform 1:21       political 19:6
      perform 125:22      physician 128:1         3:16 81:24        pool 166:2,4
      performed           physician's             82:20 88:23       pop 63:15
        125:21 128:15       128:9,11              140:7             portion 26:21
      period 41:2         physicians            please 4:2,13         76:18 119:16
        50:11 51:10         39:25 129:7           5:21 6:1,18,21      150:22 167:7
        58:24 60:3,8,14     133:19                11:18 17:6        position 36:9,13
                                                  20:13 26:19         37:14,15 40:20

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 203 of
                                      217

     [position - providing]                                                 Page 202

        40:21 154:12,13   prevent 118:16        proceeds 125:14     protect 153:24
        157:5             previous 31:10          145:9 167:14      protected 53:25
      posted 149:16       previously              168:1               100:16 101:14
        154:16              11:22 20:1,11       process 10:17         101:19
      potential 125:14      36:21 61:23           16:2 28:14,14     protecting
      potentially           64:17 124:6           40:17 49:11         101:13,18
        26:12 138:13,17   primary 152:18        procured 48:2         108:12 159:10
      pounds 39:6,8,9     prior 11:16           produce 61:16       protection 54:3
      practitioner          15:22 16:4          produced 61:8         69:10 88:14
        136:11              30:18 31:3            139:4,5 140:5       102:3
      precautions           68:15 86:22           140:11 142:6      protective 57:24
        125:4               89:18 107:15        professional          137:18
      predicate 154:4       109:15 124:1,5        19:15             provide 45:12
        155:21              124:12 140:6        proffer 115:15        83:2 147:22
      predicated          private 165:8         profit 1:7,8,10       149:5 151:25
        137:22 138:11     privately 78:3          67:24 72:9          154:9
        138:15            privilege 167:12      profits 80:15       provided 13:16
      predicating         probably 43:2         prognosis             45:16,18 46:4,9
        139:8               78:15 137:21          129:14              47:3,7,19 50:5
      premiums 70:13      problem 41:21         progress 123:11       50:14 83:19
      preparation           49:16 78:23         progressed            89:1 96:10,15
        7:14 8:11,14        105:1,2 124:3         130:9               96:17 104:15
        9:13              problematic           progressing           105:12 107:8
      prepare 7:4,6         65:16 77:23           132:18              113:3 149:15
        62:23 64:12       problems 64:13        progressive 1:9       164:20
      prepares 62:23        123:8,24              2:8 92:6 113:6    provider 41:11
        64:10             procedure               149:16 150:3      providers 40:7
      present 2:21 8:9      174:24,24             153:23 154:8,15     41:17 167:9
        8:24 20:15        procedures              160:3             provides 82:25
        39:19,22 43:12      129:10 136:14       proof 28:8            102:21
        43:24 129:17      proceeding 3:22       proper 93:22        providing 45:3
        166:12              20:1,2 23:6           115:22              72:17 73:10
      pressure 123:10     proceedings 3:3       properly 119:15       85:20 88:11
      pretty 138:24         4:1 12:4,7 20:7     property 86:16        91:16 110:5
        139:13 141:25       22:7 23:3             102:17 152:20       140:6

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 204 of
                                      217

     [province - recall]                                                    Page 203

      province 154:23       21:7,11,13            160:17 162:2,21   read 13:11 14:3
      provisions            23:20 26:19           163:19 166:10       14:7,21 15:7
        82:21               27:13 31:20           166:21              20:21 21:11,12
      public 170:6,16       32:8,15 34:16       questioned            26:21 83:16
        171:14              35:5 39:13 40:4       26:10               84:24 85:8
      pull 100:12           47:22 48:4          questioning           93:14 95:13,15
        122:2 151:18        52:21,23 53:2         57:25               97:4 103:1
      pulled 147:22         54:15,22 56:4       questions 13:5,9      109:22 145:15
      punishment            56:13,16,17           13:10,19 88:19      145:21 146:3,5
        29:12               57:8,18 58:12         88:24 93:20         146:10 147:5,7
      purchase 14:19        58:14,19 59:20        142:23 143:4        147:10 153:8
        24:25 26:23         60:25 61:17           148:11,18           162:18 168:20
        27:9 70:2,8         66:5,6 67:21          155:23 159:21       173:21 174:8
      purchased             68:22 69:20           163:15 166:6      reading 65:15
        25:13,21,21         70:5 73:13 77:5       168:15,17           92:25
        26:24               77:12 80:11         quick 79:2          ready 28:10
      pure 39:2             84:7,8 89:16          143:4             real 15:10 79:2
      purposes 8:19         90:14 91:2 92:2     quickly 156:4         86:1
        99:20 102:22        92:17,18,19,20      quoting 142:5       realize 60:4,15
      pursuant 166:4        92:21 93:10,17              r           really 26:3
        167:23              93:18,23 94:21                            39:14 65:13,23
                                                raise 4:2,14
      put 18:4 59:10        96:2 97:2 98:2                            78:2
                                                  48:24 88:24
        82:10 122:1,1       99:18 104:25                            realtime 1:24
                                                ramifications
        131:8               105:15 106:8,25                         realtor 14:25
                                                  138:2
      putting 19:8          108:19 109:19                           reason 99:4,5
                                                rasier 1:8 2:15
        77:11               110:16 111:4                              174:10
                                                  100:4,15 143:6
              q             113:17,21 115:8                         reasonable
                                                  143:17 146:17
                            116:12 117:18                             50:25 155:4
      qualification                             rates 43:10 56:9
                            119:19 124:7                              157:11 174:17
        155:10                                  rather 20:22
                            142:4 143:9,13                          reasonably
      question 5:13                               91:6 143:16
                            144:7,23 145:18                           156:15,18
        5:22 6:1,3,21,22                        rawlings 163:24
                            150:22 151:4,9                          reasons 156:22
        11:18 12:12                               164:6,22 167:23
                            153:9,12 155:2                          recall 7:23,24
        13:2,16,22                              ray 128:18,19
                            156:7 157:25                              45:10,14 50:17
        14:11 15:3,23                           rays 128:15
                            158:1 159:25                              51:15 61:5,7
        17:5 20:18 21:1
                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 205 of
                                      217

     [recall - representations]                                            Page 204

        68:2,7 72:13,13   reference 8:16        rejection 151:6    rent 14:15
        80:22 105:20      referenced            rejoined 49:23     repeat 11:18
        110:20,25           174:6               relate 14:8          17:5 26:19
        111:19,24 115:3   referred 102:21       related 83:1         27:13 31:20
        115:8 118:10      referring 70:21         151:24             39:13 48:4
        126:1 145:7         97:15 99:21         relative 172:14      67:20 70:4
        146:1 160:17      reflect 142:18          172:15             71:23 74:9
      receipt 174:17      reflected 165:3       relied 101:4         89:16 109:19
      receive 125:9       refusing 154:9          107:6,8 108:22     110:16 117:18
      received 44:7       regain 133:21           146:20 160:14      124:7 156:7
        97:4 141:10       regained 150:25         162:6,24 163:7   repeated 91:19
        167:3             regard 174:19         rely 15:10         repetition 12:12
      recently 36:19      regarding 13:2          153:22             23:19 40:4
      recognized            43:10 59:13         relying 98:1         47:22 54:15
        26:14               77:7 82:22            162:4              69:20 71:11
      record 6:15           89:14,23 109:17     remarks 173:6        73:22 92:1 96:1
        26:12 29:19         109:22 163:19       remember             98:20 103:19
        48:18 49:21,25    regardless 15:4         28:23 30:14        104:24 105:8
        62:9 78:4,9,11      41:16 55:15           34:15 36:20,25     113:20,21
        78:13,14,16         78:7 125:10           39:7,9 46:24       116:12 119:19
        85:13 99:21       registered 28:13        52:13 53:8,9,9     143:9,13 145:18
        104:8 134:21,22     146:15                53:11 82:9         150:21 153:9
        165:20,24 166:1   rehab 126:20,23         106:5 110:22     repetitive 6:14
        166:10,11           127:7                 111:9,10 114:8   rephrase 58:12
        172:12            rehash 161:4            114:9 118:6,21     58:13 119:23
      records 16:5        reject 150:5,18         118:22,25        reply 73:22
        107:5               152:7,12              124:14 136:18    report 172:8
      redirect 3:6        rejected 84:4           136:19,19        reported 1:23
        156:1               85:1 91:13,14         146:11,14        reporter 1:24
      reduce 83:5           91:20,24 92:8         150:10 158:1       3:8 26:18 172:1
        138:7 152:3         92:14,15,23         remote 1:13,21     representation
      reduction 64:6        94:25 98:6,8,12     remotely 6:8         104:18 105:16
      refer 72:18           98:18 99:2,8          170:7 171:8        160:14 163:6
        136:16              109:8 153:1,16      removed 121:15     representations
                            161:8                 121:17             104:12 113:1

                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 206 of
                                      217

     [representations - rights]                                              Page 205

        149:10            reserving             restrictions 41:1   rides 83:2 89:6
      representatives       168:16                42:23 43:2          89:9 112:12,16
        167:24            residency 17:20       restroom 133:4        144:12 151:24
      represented         resident 128:17       result 125:5        rideshare 144:5
        16:25             resolution              134:12 135:24     riding 124:15
      representing          125:15              resulted 135:5      right 4:2,14
        94:12             resolve 88:19         return 3:12,13        14:3 17:6 20:23
      request 50:25         167:8                 3:14,15 61:9,23     23:25 24:6
        103:24 104:5      resonance 125:4         63:11,16 64:4       27:17 29:7,22
      requested 26:21       128:17                65:15 66:13         42:23 43:17
        39:11 61:24       respect 14:11,12        68:20 69:14         47:6 48:24
        128:16 172:11       15:18 26:23           70:22,25 71:1       49:14 51:6
      require 15:12         28:17 31:6 36:8       75:24 79:8,12       52:18 55:2
        138:14              39:10 60:23           79:16,20 80:6       56:22 62:25
      required 37:21        125:13,18             138:14 140:11       63:4 64:12
        81:2 83:2 92:13     136:20 167:15         141:8 142:5,7       69:14,24 70:24
        92:22 93:6,12       168:7               returned 174:16       72:21 74:1,2,2,7
        93:13,22,22,25    respectfully          returns 61:14         74:12 75:9,24
        94:5,7,11           140:23                62:19,22 64:10      76:4 87:11 93:8
        100:18,24 101:6   responding 66:7         69:23,24 73:2       95:11 98:14
        107:7,21 108:5    response 57:1           79:7 80:10,15       102:14 106:25
        108:8,24 109:1      125:19 146:21         80:17               108:9 113:10
        109:7 146:20,25     157:25 159:21       reveals 168:4         116:25 117:4,7
        149:5 151:25        163:14              review 106:3          117:13,24 118:9
        157:23 158:10     responses 6:9           109:16 172:9        118:13,13,17
        161:24            responsibilities        174:7               126:17 129:25
      requirement           37:22               reviewed 8:12         130:4 131:19
        39:5 101:22       responsibility          54:25 97:4          132:2,4 135:13
        109:23 147:1        34:2 38:23          reviewing 81:17       139:14 140:18
      requirements          88:19               ribs 136:1,1,4        158:15 159:4,17
        38:24 39:3        responsible           rich 9:8              163:1,12 166:12
        160:8               38:20               ride 110:21           166:22 168:10
      requires 34:6       restart 96:23           112:18              168:12,16,16
      requiring 108:7     restate 97:2          rider 110:11        rights 102:23


                                   Veritext Legal Solutions
      800-726-7007                                                         305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 207 of
                                      217

     [rivera - settlement]                                                     Page 206

      rivera 2:22 4:7        satisfy 166:5         screw 51:1            127:20 128:10
        4:10 48:20           saw 84:25 87:4        se 74:19 75:21        129:4 134:5,9
        49:23 171:7            87:8,10 89:25       seatbelt 119:9        136:10 138:20
      rivero 10:4,4            96:9 126:13           119:15,24 120:4     139:1,2
        11:13,14               127:12,15 148:5     second 5:25         segregated
      rmr 1:23 170:5           156:5,9               57:6 69:5 78:11     166:8 167:8
        170:15 171:14        saying 57:3             85:10 93:9        send 82:5,11
        172:6,24               59:17 94:4            110:21,21         sensation
      roberts 2:4              100:1 109:4           148:16 157:12       131:11,14
      robertspa.com            133:16 146:2,5        164:16            sent 3:21 22:16
        2:6 174:1              146:9 162:4         seconds 85:12         126:21
      roig 2:16              says 17:11 51:19        118:20            separate 10:20
      roiglawyers.c...         56:8 57:10,11       section 84:13         10:21,23 72:21
        2:19                   62:18 66:16,22        102:18 151:10       72:24 73:1,2
      romer 11:23              72:16 73:4,7,12       151:15,22           80:16
      room 8:22,24             84:18,20 85:3,8       152:10            separated 10:25
      route 112:2,5            87:4 97:24,25       see 28:20 55:16       11:2,4 16:1
      routes 112:12            98:10 101:24,24       62:19 63:20       separating
      rule 5:19,25             101:25 102:9,16       80:12 82:6          10:18
        166:22 174:24          103:8 105:17          95:22 116:9,15    september
        174:25                 160:21 161:23         122:24 123:11       12:10,14 128:14
      rules 5:17               162:23                126:7 127:15,18     128:14 129:3,5
        174:18               scene 120:19            128:7,19,22         164:21
               s             schedule 37:9           129:2 148:2       serious 102:6,7
                               63:17,18 66:21        151:15 154:24     served 43:16
      safe 53:7,13
                               66:22,23 72:17        156:15,22 157:6   service 88:12
        101:16
                               138:25                157:19            services 72:9,16
      safely 115:3,10
                             scheduled             seeing 118:16         72:17 73:10
      safer 53:17,21
                               126:10                127:23 136:16       152:11
        54:4
                             school 18:16          seek 69:10          set 37:9 106:15
      safety 125:4
                               41:8 42:18            155:7               143:19 165:17
      salary 36:19
                             screen 12:18          seeking 81:25       setoff 78:8
      san 11:25 12:8
                               17:3 62:20 82:6     seen 86:23          settlement
      santa 86:1
                               90:17 102:14          90:15 125:24        76:18 77:14,16
      satisfied 163:21
                               151:19                126:14 127:11       125:10 145:9

                                      Veritext Legal Solutions
      800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 208 of
                                      217

     [settlement - specifically]                                              Page 207

        165:17 166:5         81:7,13 89:7        slowly 132:19       sources 64:15
        167:4,6,14           122:12 174:12       smaller 65:23         64:17 74:15
        168:1              signature 12:25       smells 9:8            76:5,12,14 80:1
      seven 43:21            13:3 170:14         smoothly 5:17         137:25
        90:4,5 148:20        171:13 172:23       sole 82:25          south 2:17
      several 34:9           173:23                151:23            southbound
        114:8,11 120:25    signed 56:19          solely 51:22          113:13,24
      severe 87:7            84:14 87:11,13      solutions 174:23      118:14
      sheet 3:8 173:1        87:22,24 88:5       somebody 78:24      southern 1:1
        173:2 174:11,13      89:9,10 93:5          87:5 92:19        spanish 1:17 4:5
      shift 37:9 38:5        95:22 103:15          130:20 133:16       4:5,8,12,12 5:21
      shifted 128:21         160:22 170:10       somewhat 15:16        13:19,21 15:5
      shoot 24:21            171:10 174:21       sorry 17:3,4,5        15:14 48:21
      shoulder 119:16      signing 88:22           21:24 22:1          49:1,1,7,7 50:22
        120:2                107:15                23:15 27:12,13      50:24 81:11
      shoulders 6:10       silence 77:7            27:20 31:20         171:7
      show 9:6 16:23       simply 52:22            39:13 42:5 48:9   speak 7:14 14:2
        20:10 36:21          68:23 91:2            49:18 58:3          151:5
        73:25 81:22          157:5                 61:18,19 63:15    speaking 7:13
        87:15 96:14        simultaneous            66:2 67:20          93:17
        97:3 131:3           57:21 58:2            68:11 69:15       spears 56:2
        153:8                139:10 140:1,15       70:4 73:17,18     special 121:23
      showing 69:24          166:19                74:3,8 83:14      specialized
        120:1              single 96:14            85:9,15 96:20       41:12
      shows 16:19            97:3 102:16           103:5 110:16      specific 83:3
        98:11,12 142:6     sir 50:1 58:7,9         112:7 113:16        113:25 117:14
      shrug 6:10             58:11                 134:18 139:11       152:1 162:6
      sic 20:11            sit 32:19 34:18         140:16 146:8      specifically
      side 72:6,15           40:15,22 41:1         164:14              13:15 20:12
        73:13 114:19         41:23 42:12,14      sought 81:1           34:13,15 37:20
        117:4,14 131:22      78:22               sound 113:10          38:4 45:24
        132:2,3,4          six 17:3 43:25        sounds 168:20         55:20 83:4,22
      sides 131:18         size 53:18            source 77:13          84:8 85:22
      sign 14:17 15:8      slightly 113:25         94:23               87:14,16,23,25
        62:24 63:3 81:3                                                88:7,10 90:21

                                    Veritext Legal Solutions
      800-726-7007                                                          305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 209 of
                                      217

     [specifically - sudden]                                                Page 208

        98:25 105:16,23     83:12 141:22          153:18 174:18       33:1 35:13
        107:19 108:22     starters 94:9         steering 118:8        36:23 39:16
        108:25 113:12     starting 18:10        stenographer          45:16 52:4 54:7
        119:14 151:6      state 16:15             3:21 4:2,13,20      56:17 60:18
        152:2 153:1,16      20:13,16 51:17        26:1,4 29:15        62:6,6 66:3
        160:4,9,11          51:17,20,20,22        48:23 50:1 58:3     70:20 71:23
      specify 59:11         51:22 100:17          78:19 79:1,4        72:8 73:10 75:7
        60:4,15 93:6        104:16,16             90:4 139:11         84:23 87:17
        95:18               105:12,13             140:2,16 168:21     89:19 90:10
      speculation           109:16 113:4,5        168:25              91:4,21 93:1,2
        121:11              149:12 152:13       stenographer's        95:8 97:24 98:1
      speed 116:2,5         160:16,21,22          3:21                101:4 106:18
      speeding 116:4        161:10,12,23        stenographic          107:17 108:16
      spend 18:24           162:5,23 170:3        172:12              108:17 109:12
        42:25 43:3,4        170:6,16 171:2      stenographica...      109:13 115:4
      spent 67:24           171:14 172:3          1:23 172:8          117:14 121:10
      spinal 41:13        stated 100:15         sticker 3:22          129:8 130:7
        134:12 135:4        104:14 105:11       stipulate 163:23      136:22 142:15
      spine 123:18,21       113:3 163:5,6       stipulation           159:15,20 167:5
      split 157:12          173:22                164:3             strikes 19:5,6
      spoke 7:11          statement 113:2       stipulations        struck 116:10
        121:3               113:6 152:6           20:20               116:17 118:24
      sport 27:19,23        162:25              stop 140:17         studied 18:18
        28:1              statements            strange 36:6          18:19
      st 170:4 171:3        56:25 57:1          streamline          study 42:17
        172:4               154:14 166:16         148:17            studying 18:24
      standard 120:4      states 1:1 16:6       street 9:20         stuff 94:18
      standing 139:13       17:13,14,16,21      strength 130:14     subject 103:9
        139:16,17           18:1,5,11 19:10       133:9               168:16
      stands 24:2,3         20:7 30:20,23       stretcher 121:24    subsequent
      start 24:22           151:22              stricken 62:8         127:5
        105:6 110:13      status 17:20          strike 7:17         subsidiary
      started 17:11,12      165:12                10:22 14:22         143:6,16
        18:9,19 53:22     statute 93:7,13         15:22 16:22       sudden 116:23
        54:10,13 80:20      94:6,7,12             20:18 22:10,12      117:2

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 210 of
                                      217

     [suddenly - testimony]                                                 Page 209

      suddenly              101:12,13           taken 1:17          taxes 61:1 62:1
        105:24              112:23 128:19         28:15 121:6         62:1 139:20
      sued 22:22,25         128:25 135:2          122:5,7 125:13    tear 67:10,11
      suffered 33:10        142:25 153:10         139:19            technologies 1:7
        154:19              168:25              talk 7:4 15:17        2:15 143:6
      sufficient 125:1    surgery 122:17          51:5 80:19          174:4
        155:17              122:19 125:23         165:19            tell 32:19 34:18
      suggest 17:8          126:21 128:20       talked 144:21         46:13,22 47:6,9
        86:24 105:10      surgical 129:10         150:2 161:6         47:13,15 52:18
        130:8               136:14              talking 6:25          59:24 61:21
      suggested           sustained               9:14 34:23 39:1     65:9,10 79:1
        104:14 111:3        123:17                50:4 51:21,22       91:23 92:7 93:1
        133:19 174:16     swear 4:4,15,19         55:11 79:6          94:24 95:3
      suggestion 77:7       48:25                 80:10 82:16         119:11,14
        84:15             swell 42:13             88:2 104:11         122:18 123:6
      suggests 96:15      switch 35:12            107:4 112:25        163:10
      suite 2:10,17       switching 15:16         123:1 134:17      telling 42:19,21
      sum 78:7 167:7      swore 59:23             135:1 138:5         78:3 94:5
      sums 125:9            77:1                  147:11 161:4        122:13,13
      supplement          sworn 4:11 5:3        tax 3:12,13,14        141:17
        141:3,5             49:6 57:4 170:8       3:15 61:8,14,22   ten 29:8 56:9
      supplemented          171:8                 62:19,22 63:10      74:16 124:20
        61:24                     t               63:16 64:4,10     terms 82:21
      supplementing                               65:15 66:13         103:10 125:9
                          t12 123:24
        141:6                                     68:19 69:14,23      161:9
                            135:10,10,11,11
      supplies 70:21                              69:24 70:22,24    terribly 42:14
                            135:12
      supposed 56:21                              71:1 72:22 73:2   test 25:22
                          t2 123:24
        56:25 57:2                                75:24 79:6,8,12   testified 5:4
                          tags 28:13
        108:8                                     79:16,20 80:6       143:25 146:3
                          take 6:18,22
      sure 5:21 6:14                              80:10,15,17       testimony 4:15
                            25:22 29:7
        20:25 21:6                                138:2,14,20,21      68:22,23 69:4
                            48:14 58:16
        31:21 32:17                               138:24 141:8        108:7 146:24
                            67:10 76:5
        64:11 75:5                                142:5,7             147:15 156:8
                            112:3,6 138:6
        78:20 86:13                             taxable 62:13         174:8,17
                            139:21 140:3
        89:4 100:2,11                             137:15

                                   Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 211 of
                                      217

     [tests - transcript]                                                      Page 210

      tests 122:21            162:15 165:16       time 5:16 6:17       today 6:25 7:5,7
      texas 11:25 12:5      things 6:25              7:25 8:3 9:9,10     34:18 56:25
        12:6,8 16:7,12        15:17 18:4,17          16:6 27:8 35:17     140:18 154:18
        16:16,18,21,24        33:11 38:1,6,14        37:14,15,16       toes 129:25
        17:9,12,13            41:19 42:20,21         39:22 40:16,16      130:3,3
        19:12 20:3,8          70:15 121:7            40:21,22,23       together 18:5
        36:1,13 44:24         122:16 128:6,24        41:2,6,23 42:13     58:22
        45:2,13,19 46:1       129:22 136:10          42:15,25 43:3,4   told 13:21 40:7
        46:5,10,12 47:4       137:16 141:18          45:10 47:1          46:8 47:2,12
        47:20 48:3,7          142:2                  53:10 58:4,24       53:6,12 55:9
        50:7,12,16          think 7:25 17:6          60:3 64:21,22       91:9 92:13,23
        51:12,17,23           21:2 24:1,6,12         64:23 69:9          95:10 99:7
        52:1,7 54:13,20       26:1,20 29:11          70:16 71:6,8        112:6 122:9,20
        55:17,24 57:4         43:1 65:14,16          83:7 87:1 88:22     122:25 123:8,17
        59:5,8,9,12,12        76:16 78:1             103:22,23           129:13 140:24
        64:21 71:5            89:21 94:16            110:14 111:7,18     149:11 151:10
        106:1,3,22            99:22 100:5            118:2,4,7 119:4   tongue 13:25
        136:10 144:17         105:1,2 111:3          121:14 123:1        24:14
      thank 4:20              115:4 138:12,17        125:24 126:5      took 112:5
        26:15 29:6            139:13,15,16           127:19 129:3,16   tools 121:23
        49:17 79:4 90:6       141:7,19,25            132:15 133:20     top 64:22
        93:14 104:7           146:21 162:7,9         138:22 139:12       108:13
        148:11,13 169:3       163:13,19,21           140:4,9 141:2     topic 7:2
      thanks 9:5              166:11,13              142:23 143:25     total 70:12
        29:18 51:7          thinks 93:25             144:3,10 146:4    totally 40:1
      therapist             third 30:10,13           152:4 157:5       touch 136:2
        127:24 128:2          31:24 69:9             162:2,12,17       towards 166:7
      therapy 128:6         thought 35:4          times 11:16,19       tps 17:22,23
        128:23                91:8 92:24             94:18 114:8,11    traffic 114:14
      thin 121:24             100:5 119:4            162:11              116:6 118:1,18
      thing 6:20 21:4         121:9               timing 18:4          trail 2:17
        38:7 41:22          thousand 167:3        title 36:10          training 2:24
        51:18,18 64:19      three 42:15           tnc 107:4              18:13 19:18
        75:19 118:25          55:11 130:21           109:15,17,21      transcript
        121:25 134:16                                                    162:19 168:22

                                     Veritext Legal Solutions
      800-726-7007                                                           305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 212 of
                                      217

     [transcript - um]                                                     Page 211

        172:10,11 173:2     173:22                 u                143:16 144:17
        174:6,20          truly 4:11 49:6   u 18:25                 144:18,19
      transcript's        trust 166:16      uber 1:7 2:15           146:15 149:4,10
        79:7                167:14           22:14,23 34:22         149:16,17 150:3
      transcripts         truth 59:24        35:22 50:10,10         150:4,4,17
        174:14            try 7:1 14:8       50:15,15 51:11         151:22 152:7,12
      transfer 28:12        20:23 64:11,12   51:12 52:6,6           153:23,24 154:1
      transfusion           66:10 122:2      53:15,16,17            154:8,14,14,16
        122:15              143:4            54:1,11,20,20          154:16 159:9,11
      translate 50:22     trying 6:13 18:4   54:23 55:2,3,5,7       159:14 160:14
        81:19               24:5 34:15 65:2  55:12,13,16,20         160:20,24,25
      translated            65:5,13,15       55:20,21,21,22         161:13,25 173:3
        13:10 15:11         77:22 94:1       55:23,23 56:10         174:4
        167:18              100:6 131:3,7,8  56:10 57:3,11        uber's 53:15
      translates 50:24      155:7,8 162:5    57:11 58:21,22         145:16,22 148:7
      translating 5:20      164:1,3 168:11   59:5,6,6,9,11,13     uc 18:20
        5:22 15:13        tuesday 1:18       59:18,24,24          ui 147:1
      transportation        168:25           60:2,3,6,7,7,10      uim 50:14,21
        149:4             turned 84:5        60:10,10 72:18         147:1,1,22
      transporting          85:1             80:3,3,20,21           148:3 149:11
        110:11 111:7      two 30:24 31:2     81:1,8 82:1,17         150:18,24
      travel 126:5          31:3,3,5,11      82:17 83:19            152:12
      treated 120:18        42:15 54:13      85:20 86:6,7,8       ultimate 112:4
      treatment 41:12       55:6,6 58:24     87:1 89:2,13,18        129:14 155:9
        135:1 144:22        60:8,15 105:22   92:6 96:18 97:7      um 50:14,21
      trial 3:18            114:20 116:15    99:14,14,22,24         76:20 77:8
      tried 120:24          127:21 137:15    100:4,14,15            100:23 101:7
      trier 155:9           140:9            101:6 104:14           104:14 105:11
      troubleshooting     type 23:11         105:11,17,18           106:22 107:17
        38:9                27:11,17 30:5    106:4,21 108:11        108:8 113:3
      truck 71:19,25        52:15 72:19      108:12,13              147:22 148:3
      trucks 38:10,17       87:6 100:3       109:10 110:5,6         149:11 150:18
        38:21               121:24 126:18    110:11 111:5           150:24 152:12
      true 4:16 21:25     types 83:23 84:9   112:10,11,18           157:22
        56:21 172:11        88:25 130:21     113:1,2 143:6
                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 213 of
                                      217

     [unable - using]                                                      Page 212

      unable 104:20        153:13,24 154:9       153:22 158:15       160:15 161:11
       139:23,23           157:22 158:7          159:3,18 160:1      161:22
      under 30:16          159:1,23 160:15       160:2 165:4       united 1:1 16:6
       45:16 55:19         161:11,22             167:17,21 168:8     17:13,14,16,21
       56:22,25 57:2      underlying            understood 6:4       18:1,5,11 19:10
       59:17,23 72:16      139:2                 16:3 21:6 56:20     20:7 30:20,23
       83:22 88:25        underneath             90:23 157:21      university 18:16
       102:17 107:21       122:1                 159:18,22           18:18,20
       108:12 126:22      undersigned            160:13            unnecessarily
       133:23 153:3        171:6                unemployable         6:14
       158:9 159:20       understand 6:1         40:1,8            unqualified
       161:24 166:21       7:24 13:14 15:9      uniform 143:22       154:22
       173:21 174:18       15:14 21:13          uninsured          unreasonable
      undergo 125:1        22:1,2 28:8,16        30:15 31:12,16      157:11
       129:10 136:13       32:4,6,11,12          31:22 32:5,21     unreasonably
      undergone            35:11 56:2            33:5,13 34:7,19     156:15
       124:6,9,12          60:21 62:16           35:1 45:11,16     unspecifically
      underinsured         63:13 67:8            45:18,25 46:4,9     90:22
       30:15 31:12,16      68:11 70:23           47:3,18 48:1,6    unsupported
       31:22 32:5,21       75:3 77:5 88:11       50:5,23 51:9,25     137:21
       33:5,13 34:7,19     93:4 99:5,18,25       52:8 84:16        unusual 29:12
       35:1 45:18,25       108:25 121:4          85:20 86:4,9,20   updated 3:16
       46:4,9 47:3,18      126:13 132:2,23       86:25 87:20       use 29:9 52:5
       48:1,6 50:5,23      135:2,14 144:6        88:3,15 90:20       70:18 80:21
       51:9,25 52:8        146:8,23 147:15       91:23 92:7          81:1 89:5
       84:16 85:21         148:7 154:13          95:16,23 96:7       121:22 130:9,22
       86:20,25 87:20     understanding          96:16 97:6          130:23 133:3,8
       88:4,15 90:20       28:6 34:14            98:17 99:1,16       144:15
       91:23 92:7          51:16 90:24           100:16 106:9      used 25:24,25
       95:16,23 96:7       91:3,5,8 103:17       107:9,20 109:1      69:1 70:10,15
       96:16 97:6          107:6,8,17,18         149:5 150:5         72:9 143:7,17
       98:17 99:1,16       108:23 109:25         152:7,23 153:13     144:17 174:20
       100:16 107:9,20     146:24 147:2          153:23 154:9      using 50:6 51:11
       109:2 149:6         149:3,9,14            157:22 158:7        54:10,19 80:20
       150:5 152:8,23      152:22 153:12         159:1,20,23         81:18 82:17

                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 214 of
                                      217

     [using - wondering]                                                    Page 213

        130:24 140:8         18:14,19,21         want 6:14 7:3      wear 67:10,11
        143:20 144:4         19:6 20:8            13:14,25 21:6      119:25 143:22
      usually 89:5         veresa 2:19            21:14 24:8        wearing 119:9
        159:23               142:24               25:18 29:4         119:15,22,24
      utilize 81:25        verified 101:5         46:19 50:22       web 160:25
      utilized 72:6          101:11               58:12 66:10        161:3
      utilizing 50:10      verify 63:6            69:11 75:5        website 86:7,8
        52:10 55:18          100:22,23            80:19 84:22        105:17,19,23
        96:18                101:21 103:25        99:25 100:2,11     146:4 149:16
               v             174:9                112:23 132:1,1     154:14,16
                           veritext 174:14        135:2 147:2       websites 8:15
      v 173:3 174:4
                             174:23               161:4 165:24      wedding 164:18
      vadams 2:19
                           veritext.com          wanted 16:14       week 37:11
      varied 37:13
                             174:14               16:15,16 75:25     126:25 168:24
      varies 37:24
                           versus 21:21           78:22 140:21,25   weeks 127:21
      various 82:21
                             160:10 165:7         165:12            went 13:17
      vary 38:2
                           view 9:2              wants 42:7          14:18 17:13,13
      varying 100:17
                           vs 1:6                watching 78:24      17:14 39:16
        104:15 105:12
                                   w             way 6:7 17:15       45:23 54:24
        113:4 149:12
                                                  20:19 23:8 51:6    86:6 89:21
        160:16,21 161:9    w 65:17 71:9
                                                  54:4 58:13 75:7    95:22 105:22
        161:23 162:5,23      140:5 142:17,18
                                                  77:6,12 94:17     when's 36:24
      vehicle 25:9         wages 62:2
                                                  111:4 115:6       wife 46:25
        30:11 32:1           66:15 73:5
                                                  117:15 123:24     wilfredo 10:14
        34:22 45:5           137:1,24
                                                  123:24 131:19     witness 4:18 7:9
        67:10,11 80:3      waist 119:3
                                                  131:21 132:5,6     20:22 57:7,9,17
        83:4 117:17,24       120:9,9 131:13
                                                  132:8,22 135:12    58:14 104:20
        118:17,24 121:7    wait 69:15
                                                  139:5,21 155:2     120:1 137:14
        152:1 155:3          123:10
                                                  156:13,23          141:20 154:22
        156:5,9,19         wake 119:2,6
                                                  166:22 168:10      155:8,10 162:13
        157:6              walk 123:14
                                                 ways 138:2          167:11 168:3
      vehicles 30:19         134:20 137:17
                                                 we've 29:12         173:23 174:20
        31:13 116:16,20      139:24
                                                  48:11 76:20       wondering
        118:11,13          walker 130:10
                                                  100:13 141:21      68:16
      venezuela 17:19        130:19,22
                                                  150:2
        18:1,6,7,11,12
                                    Veritext Legal Solutions
      800-726-7007                                                        305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 215 of
                                      217

     [words - zoom]                                                        Page 214

      words 6:9 14:8      wrapping 136:9          126:4 137:5,6
       87:20 88:3         write 72:6,10           142:5
       90:19 138:19         173:2               years 18:2,3,24
      work 36:8 37:9      writeoffs 65:5          19:1 35:25 53:5
       38:24 40:19          65:22                 55:18 56:9 60:8
       46:18 59:17        writing 48:9,10         60:15 74:16
       60:2 64:21           65:4 138:1            124:20 137:1
       72:19 78:22,24     written 6:15          yeller 24:21
       120:4 132:1          13:6                yep 29:17
       139:24 144:8,9     wrong 59:10                    z
       168:5                65:14 122:9
                                                zero 76:5
      worked 35:21          151:3
                                                  132:17
       36:11,24,25        wrote 13:20
                                                zoom 1:21,23
       37:4 38:11           58:5 59:11
                                                  2:1 48:22 172:9
       43:20 53:5 57:3      62:12
       60:6,7,8,11,14             x
       60:25 64:22
                          x 3:1 128:15,18
       143:24
                            128:19
      working 35:23
       36:1,12,17 37:8            y
       37:11,18 43:23     yeah 32:13
       43:25 51:23          48:16 49:18
       53:22 54:1           59:4 77:1 78:1
       58:21,23 64:18       78:10 83:25
       71:5,6 73:16         93:2 98:21
       76:11 80:2           103:5,5 115:18
       129:1 140:9          120:13 121:24
       144:3,16 149:6       145:3 150:12
       159:14               164:7
      works 9:10          year 11:3 21:25
       57:11 120:5          22:5 23:14
      worried 105:25        24:17 58:24
      worries 165:14        61:1 67:15 71:8
      worry 24:4            72:4 74:1,3
                            124:15,17 126:3

                                   Veritext Legal Solutions
      800-726-7007                                                       305-376-8800
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 216 of
                                      217


                         Federal Rules of Civil Procedure

                                         Rule 30



            (e) Review By the Witness; Changes.

            (1) Review; Statement of Changes. On request by the

            deponent or a party before the deposition is

            completed, the deponent must be allowed 30 days

            after being notified by the officer that the

            transcript or recording is available in which:

            (A) to review the transcript or recording; and

            (B) if there are changes in form or substance, to

            sign a statement listing the changes and the

            reasons for making them.

            (2) Changes Indicated in the Officer's Certificate.

            The officer must note in the certificate prescribed

            by Rule 30(f)(1) whether a review was requested

            and, if so, must attach any changes the deponent

            makes during the 30-day period.




            DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

            ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

            THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

            2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

            OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 0:23-cv-61354-DMM Document 30-3 Entered on FLSD Docket 01/25/2024 Page 217 of
                                      217
                       VERITEXT LEGAL SOLUTIONS
             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the
       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
       exhibits, if any, are true, correct and complete
       documents as submitted by the court reporter and/or
       attorneys in relation to this deposition and that
       the documents were processed in accordance with
       our litigation support and production standards.

       Veritext Legal Solutions is committed to maintaining
       the confidentiality of client and witness information,
       in accordance with the regulations promulgated under
       the Health Insurance Portability and Accountability
       Act (HIPAA), as amended with respect to protected
       health information and the Gramm-Leach-Bliley Act, as
       amended, with respect to Personally Identifiable
       Information (PII). Physical transcripts and exhibits
       are managed under strict facility and personnel access
       controls. Electronic files of documents are stored
       in encrypted form and are transmitted in an encrypted
       fashion to authenticated parties who are permitted to
       access the material. Our data is hosted in a Tier 4
       SSAE 16 certified facility.

       Veritext Legal Solutions complies with all federal and
       State regulations with respect to the provision of
       court reporting services, and maintains its neutrality
       and independence regardless of relationship or the
       financial outcome of any litigation. Veritext requires
       adherence to the foregoing professional and ethical
       standards from all of its subcontractors in their
       independent contractor agreements.

       Inquiries about Veritext Legal Solutions'
       confidentiality and security policies and practices
       should be directed to Veritext's Client Services
       Associates indicated on the cover of this document or
       at www.veritext.com.
